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                    Case No(s). 22-15514, 22-16349
__________________________________________________________________

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT


                           United States of America,

                               Plaintiff-Appellee,

                                       v.

                                 Ilija Matusko

                              Claimant-Appellant,

                                       v.

                            Ross William Ulbricht,

                                  Respondent,

      Approximately 69,370 Bitcoin (Btc), Bitcoin Gold (Btg) Bitcion Sv
                       (Bsv) and Bitcoin Cash (Bch),

                                  Defendant.


                On Appeal from the United States District Court
                    for the Northern District of California
                            No. 3:20-cv-07811-RS
                            Hon. Richard Seeborg


          CLAIMANT-APPELLANT’S EXCERPTS OF RECORD
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Because owners typically petition for the forfeited property itself, property should not be sold before
a remission decision is issued if there is a pending owner petition. However, if the property is sold
before remission is granted, an owner shall receive the proceeds of the sale, less any costs incurred
by the government if the owner’s petition is granted. The ruling official may waive these costs. See
28 C.F.R. § 9.7(a)(3).

      B. Lienholders

Lienholders may qualify for remission only if they can also demonstrate that they are innocent as
defined by 18 U.S.C. § 983(d)(2)(A) or (3)(A). See 28 C.F.R. § 9.5(a)(1). If remission is granted to
an innocent lienholder, the lienholder may receive: (1) the property itself, or (2) a payment up to the
lienholder’s net equity, less the expenses and costs incident to the forfeiture and sale of the property.
See 28 C.F.R. § 9.7(b)(2)(ii). If the lienholder opts to claim the property itself, the lienholder must
pay the United States the costs and expenses incident to the forfeiture and any value of the property
exceeding the lienholder’s net equity. See 28 C.F.R. § 9.7(b)(2)(i). If the lienholder agrees to the
sale of the property, the lienholder may receive the amount up to their net equity, less the costs and
expenses incident to the forfeiture and sale of the property. See 28 C.F.R. § 9.7(b)(2)(ii). The ruling
official, at their discretion, may waive costs and expenses incident to the forfeiture. See 28 C.F.R.
§ 9.7(b)(2)(i) & (ii).

A general creditor holding an unsecured debt may not be granted remission or mitigation unless it
otherwise qualifies as an owner, lienholder, or victim. See 28 C.F.R. § 9.6(a).

A creditor holding a judgment against the owner of the forfeited property will only be recognized as a
lienholder if:

      (1) the judgment was duly recorded before the seizure of the property for forfeiture;

      (2) under applicable state or local law, the judgment constitutes a valid lien on the property that
          attached to it before the seizure of the property for forfeiture; and

      (3) the petitioner had no knowledge of the commission of any act giving rise to the forfeiture at
          the time that the judgment became a lien on the forfeited property.

See 28 C.F.R. § 9.6(f)(1). A judgment creditor’s lien must be registered in the district where the
property is located if the judgment was obtained outside the district. See 28 C.F.R. § 9.6(f)(3).

      C. Mitigation

Mitigation is an alternative remedy for owners and lienholders. See 28 C.F.R. § 9.5(b). The ruling
official may mitigate a forfeiture where an owner or lienholder has not met the minimum conditions
for remission but the ruling official finds that some relief should be granted to avoid extreme hardship,
mitigation will promote the interests of justice, and mitigation will not diminish the deterrent effect
of the law. See 28 C.F.R. § 9.5(b)(1)(i). The ruling official may also grant mitigation to an owner or
lienholder who has met the minimum conditions of remission but where the overall circumstances do
not warrant complete relief. See 28 C.F.R. § 9.5(b)(1)(ii).

Non-innocent owners may qualify for mitigation in some cases. See 28 C.F.R. § 9.5(b)(2). The
ruling official may grant mitigation to an owner or lienholder involved in the offense underlying



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the forfeiture when certain mitigating factors exist (such as the lack of a prior record or evidence
of similar criminal conduct); if the violation does not include drug distribution, manufacturing, or
importation; the fact that the violator has taken steps like drug treatment to prevent further criminal
conduct; the fact that the violation was minimal and not part of a larger criminal scheme; the fact
that the violator cooperated with law enforcement investigations relating to the criminal conduct
underlying the forfeiture; or the fact that complete forfeiture of an asset is not necessary to achieve
the legitimate purposes of forfeiture.

        D. Procedure for notice and processing petitions

In administrative forfeiture cases, the agency must notify potential owners and lienholders of the
opportunity to file petitions for remission or mitigation of forfeiture.2 See 28 C.F.R. § 9.3(a). In
judicial cases, the USAO must notify potential owners and lienholders of the opportunity to file
petitions for remission or mitigation of forfeiture. See 28 C.F.R. § 9.4(a). Petitioners who have filed
a petition in an administrative forfeiture case are not required to refile a petition for remission or
mitigation if the USAO institutes judicial forfeiture proceedings.

Once a seizing agency or the USAO receives a petition for remission or mitigation, the seizing agency
must conduct an investigation of the petition and issue a decision in administrative forfeitures, or
a report and recommendation in judicial forfeitures. For judicial forfeiture, the USAO then must
prepare its own recommendation on the petition and send the petition, report, and recommendations
to MLARS, along with any necessary supporting documentation. Although the USAO and seizing
agency must provide their recommendations as to the grant or denial of a petition for remission
for judicially forfeited assets, the final determination rests with MLARS. MLARS will notify the
petitioner of its decision. Petitions are decided based on written documentation. There is no right to a
hearing on the petition. See 28 C.F.R. § 9.4(g). Unsuccessful petitioners are entitled to one request for
reconsideration, which is reviewed and decided by a different ruling official.

        E. Priority of payments

If the seizing agency and the USAO receive multiple petitions, innocent owners have first priority,
followed by lienholders, federal financial institution regulatory agencies not constituting owners or
lienholders, and victims. See 28 C.F.R. § 9.9(a). All pending petitions for remission or mitigation
must be ruled on before any official use or equitable sharing of forfeited proceeds occurs.

        F. Cultural property

When the U.S. government forfeits cultural property that has been removed from a foreign country or
tribal authorities, the government often seeks to return the property to its country of origin. A foreign
government may submit a petition for remission for forfeited cultural property if it can demonstrate
a valid, good faith, legally cognizable ownership interest in the forfeited cultural property. In
many cases, cultural property is stolen from a government institution like a museum, and a foreign
government can easily demonstrate that it was the titled owner of the property. In other cases,

2
    For any asset identified within the public notices of forfeiture, forfeiture.gov’s petition information page has updated
    public-facing forms and petition filing FAQs. For any asset seized by Bureau of Alcohol, Tobacco, Firearms and
    Explosives (ATF), Drug Enforcement Administration (DEA), Federal Bureau of Investigation (FBI), USAO, or United
    States Postal Inspection Service (USPIS) that is identified within the public notices of forfeiture, a petition may also be
    filed on forfeiture.gov.


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cultural property may be returned to its country of origin even if the foreign government was not the
titled owner. This is usually accomplished by recognizing foreign laws that establish governmental
ownership of cultural property. If agencies and USAOs want to use this alternate theory of ownership,
they should determine whether an appropriate cultural patrimony law exists before planning to return
forfeited cultural property to a foreign government.3 Agencies and USAOs should coordinate any
communications about petitions for remission with a foreign governmental representative with either
the Department’s Office of International Affairs (OIA) or the seizing agency attaché. See Justice
Manual § 9-13.540.

In judicial cases involving forfeitures pursuant to 19 U.S.C. § 2609 (Convention on Cultural Property
Implementation Act (CPIA)), the government must first offer to return forfeited property to countries
who are parties to CPIA. In these cases, MLARS will conduct a summary review of the case and
issue a concurrence letter. USAOs should submit CPIA requests to MLARS just as they would submit
typical remission petitions.

II.    Qui Tam Actions: Payment of Relator’s Share

       A. Overview of the False Claims Act (FCA)

The False Claims Act (FCA) imposes civil liability on any person who submits a false or fraudulent
claim to the government. See 31 U.S.C. §§ 3729–3733. An action may be filed by the Attorney
General or a private person on behalf of the government. See § 3730(a)–(b). An action filed by a
private person is known as a qui tam suit, and the private party filing the action is referred to as the
relator. The government can intervene in and take over the litigation of a qui tam suit or permit the
relator to pursue the qui tam suit on their own. See § 3730(b)(4). If the qui tam suit is successful,
the government recovers the judgment and pays part of it to the relator. See § 3730(d). The relator’s
share of any recovery depends in part on whether the government intervenes in the action. See
§ 3730(d)(1)–(2).

FCA permits the relator to object to a settlement of the relator’s claim. See 31 U.S.C. § 3730(c)(2)(B).
However, the government may settle notwithstanding a relator’s objection if the court determines
after a hearing that the settlement is “fair, adequate, and reasonable.” Id.

In addition, FCA provides that in qui tam suits the government “may elect to pursue its claim through
any alternate remedy available to the Government, including any administrative proceeding to
determine a civil money penalty.” See 31 U.S.C. § 3730(c)(5). FCA further provides that “the person
initiating the action shall have the same rights in such proceeding as such person would have if the
action had continued under this section.” Id.

The purpose of this “alternate remedy” provision is to provide the government with maximum
flexibility to choose the best forum for pursuing its fraud claims against the defendant. See
S. Rep. 99-345, 99th Cong., 2d Sess. 27, reprinted in 1986 U.S.C.C.A.N 5266, 5292. Thus, the
alternate remedy provision authorizes the United States to stay the relator’s FCA action and choose
instead to pursue its fraud claims against the defendant through an alternative proceeding, in lieu
of the relator’s action under the FCA. See S. Rep. 99-345, 99th Cong., 2d Sess. 27. (“While the
Government will have the opportunity to elect its remedy, it will not have an opportunity for dual
recovery on the same claim or claims.”) To ensure that the relator is not prejudiced if the government

3
    Information about applicable cultural patrimony laws can be found in the UNESCO Database of Cultural Heritage Laws.


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pursues an alternate remedy, the relator is granted the same rights in the alternative proceeding that
the relator would have had in the civil action under FCA, including the right to participate in the
proceedings, to object to any settlement of the proceeding, and to receive a share of any recovery as
described in Section II.D in this chapter. See 31 U.S.C. § 3730(c)(5).

     B. Forfeiture proceedings as alternate remedies

The Department’s view is that a forfeiture proceeding does not qualify under FCA as an alternate
remedy giving rise to a relator share because the alternate remedy provision encompasses only those
proceedings that are properly viewed as a substitute for the relator’s civil claims under FCA. Thus,
the alternate remedy provision is limited to alternative proceedings to redress the submission of false
or fraudulent claims and does not extend to forfeiture or other criminal proceedings that do not serve
as a substitute for such claims.

Several courts have considered the question of whether a criminal proceeding qualifies as an alternate
remedy under FCA and concluded it does not. In United States v. Lustman, No. 4:05-CR-40082,
2006 WL 1207145, *3 (S.D. Ill. May 4, 2006), the Court rejected the relators’ motion to intervene in,
and obtain a share of the proceeds of, a criminal proceeding instituted against one of the defendants
named in their qui tam action. As part of that criminal proceeding, the defendant was ordered to pay
restitution. Id. at *1. The Court concluded that the alternate remedy provision did not encompass
criminal proceedings. Id. at *3. The Court also concluded that the relators’ motion was moot because
the restitution paid by the defendant had already been disbursed. Id.

Similarly, in United States ex rel. Oehm v. Nat’l Air Cargo, Inc., No. 1:05-CV-00242, 1 (W.D.N.Y.
Feb. 15, 2008), the government executed a global settlement with the defendant that resolved the
FCA claims as well as separate criminal and civil forfeiture proceedings. The Court rejected the
relator’s request for a share of the global settlement attributable to the criminal and civil forfeiture
proceedings, reasoning that “the existence of an ‘alternate remedy’ can be found only if the
government has not pursued the [FCA] claims instituted by the relator.” Id. at 7–8.

In United States ex rel. Babalola v. Sharma, 746 F.3d 157, 158 (5th Cir. 2014), two relators filed
suit against their former employers, alleging that the defendants defrauded the government by filing
tens of millions of dollars in fraudulent Medicare and Medicaid claims. However, the relators did
not file their qui tam action until after the government’s prosecution and during the pendency of the
defendants’ direct criminal appeal. Id. at 159. The district court held, and the appellate court affirmed,
that because there was no qui tam action pending at the time the government pursued criminal
charges, the criminal charges could not be deemed an alternate remedy under FCA. Id. at 161–162.

However, in United States v. Bisig, No. 1:00-CV-00335, 2005 WL 3532554, *4 (S.D. Ind.
Dec. 21, 2005), the district court found that a criminal forfeiture proceeding constituted an alternate
remedy under the FCA. In this case, the government sought to freeze the defendants’ assets, and
then subsequently filed an indictment against the defendants, which included a criminal forfeiture
allegation. Id. at *1–2. One of the defendants named in the indictment was also named in a qui tam
suit, which the government declined to take over. Id. The relator in the qui tam suit argued that
the criminal forfeiture proceeding constituted an alternate remedy to its FCA action, and the Court
agreed. Id. at *2. The Court noted that the relator was the first to uncover the fraud, the government
had stayed the relator’s case pending a resolution of the criminal proceeding, and the government’s
forfeiture action would leave the defendant without any assets. Id. at *4. The Court concluded on


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these facts that the government “had made an actual monetary recovery by the relator in the qui tam
action either impossible or futile” and thus “in effect, elected to pursue its claim through an alternate
remedy under [31 U.S.C.] § 3730(c)(5).” Id. The Court held that the alternate proceeding in that
case, however, was just the criminal forfeiture proceeding, and thus the relator’s right to participate
as a party was limited to that proceeding, and not the entire criminal prosecution. Id. at *6. The
Court agreed that allowing a relator to participate in criminal proceedings generally “would be an
undesirable result.” Id.

Thus, following the reasoning in Bisig, some courts may be inclined to find an alternate remedy
where a criminal proceeding will recover most or all of a qui tam defendant’s assets, particularly
if the government also stayed the relator’s qui tam suit in favor of the criminal case. Under such
circumstances, the courts may conclude, as the Bisig court did, that the government deprived
the relator of any meaningful opportunity to pursue the qui tam suit, and therefore the criminal
proceeding was effectively a substitute for that suit. Accordingly, in such circumstances (i.e. where
the criminal proceeding will render the defendant without assets to satisfy an FCA judgment, and
particularly where the government has stayed the qui tam case to pursue the criminal case), it may be
appropriate to consider a negotiated resolution of the alternate remedy issue, provided that other bases
to challenge the relator’s entitlement to a share do not exist.4

In all events, if a relator seeks to intervene or file a claim in any forfeiture proceeding, the prosecutor
must immediately consult government counsel on the FCA action or the Director of the Department’s
Commercial Litigation Branch, Fraud Section, Civil Division.

        C. Source of relator’s right to recover

To the extent that a relator is awarded a share of any forfeiture proceeds under FCA’s alternate remedy
provision, the relator’s entitlement to the proceeds arises strictly out of FCA and does not constitute a
claim of ownership or interest in the specific property forfeited. Consequently, a qui tam relator does
not qualify as a third party entitled to relief pursuant to 21 U.S.C. § 853(n) or 18 U.S.C. § 983(d).
See United States v. Bisig, No. 1:00-CV-00335, 2005 WL 3532554, *6–7 (S.D. Ind. Dec. 21, 2005)
(granting relator’s motions to intervene and for adjudication of relator’s interest in forfeited property
despite the fact that relator does not qualify for relief under 21 U.S.C. § 853(n) because relator has a
valid claim under FCA). Likewise, the qui tam relator is not a victim or third party generally entitled
to recovery pursuant to the regulations governing petitions for remission. See 28 C.F.R. § 9.4(b)
(providing that only petitioners as defined in 28 C.F.R. § 9.2(o) or attorneys and guardians on their
behalf may file a petition for remission) and 28 C.F.R. § 9.2 (defining petitioner to include an owner,
a lienholder, or a victim as defined in other subparts of 28 C.F.R. § 9.2).




4
    The following issues may constitute bases to challenge the relator’s entitlement to a share of the judgment:
    (1) the validity of the qui tam action; (2) the relator’s allegations are based on a “public disclosure” and the relator does
    not qualify as an original source of those allegations; or (3) jurisdictional and non-jurisdictional reasons (for example,
    where a relator is not the first to file or has failed adequately to plead a FCA claim) why a relator has failed to file a valid
    action. See 31 U.S.C. § 3730(e)(4); Department briefs filed in United States ex rel. Hefner v. Hackensack Med. Ctr.,
    495 F.3d 103 (3d Cir. 2007), and United States ex rel. Bledsoe v. Cmty. Health Sys., Inc., 342 F.3d 634 (6th Cir. 2003).
    Moreover, even where a relator’s action is proper, the relator may be entitled only to a reduced share. See 31 U.S.C.
    § 3730(d)(1) & (3).


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        D. Relator’s share is a percentage of the net forfeiture recovery

If a court orders—or the Commercial Litigation Branch decides—that the forfeiture constitutes an
alternate proceeding and the relator is entitled to a share of the recovery, then the relator must be
awarded a percentage of the net forfeiture recovery.5 The exact percentage share to be received by the
relator should be determined in FCA action by agreement of the parties or by adjudication.6 While
it is preferable for this determination to be made prior to the final disposition of the forfeited assets,
this may not always occur. In fact, where FCA action will be litigated after the forfeiture proceeding,
it is unlikely that the relator’s share will be determined prior to the final disposition of the forfeited
assets. In such instances, the relator might request that up to 25% of the total forfeiture recovery be
escrowed in case such funds are later needed to satisfy the relator’s share.7 Because the proceeds of
the forfeiture will be deposited into the Assets Forfeiture Fund (AFF), an escrow is not necessary
and prosecutors should oppose the request.8 Determining the dollar value of the relator’s share is
more complicated. In the context of a forfeiture, “the proceeds of the action” would be the amount
of money available for deposit into the AFF—i.e. the net recovery, which can be defined as the value
of the forfeited property less the value of any valid claims and the costs associated with the seizure,
forfeiture, and disposal of the property. Consequently, the dollar value of the relator’s share cannot be
determined until all claims and expenses are paid and the amount available for deposit into the AFF is
fixed.9

The dollar value of the relator’s share is calculated in the same fashion when the forfeiture action is
resolved by settlement. Where possible, the United States should obtain the relator’s agreement to the
forfeiture settlement. Pursuant to the statute, however, the United States may settle the action with the
defendant notwithstanding the objection of the relator “if the court determines, after a hearing, that
the proposed settlement is fair, adequate, and reasonable under all the circumstances.” See 31 U.S.C.
§ 3730(c)(2)(B).



5
    Under the FCA, the percentage of the proceeds that the relator is entitled to recover varies depending on whether the
    United States intervenes in the relator’s action, as well as other factors. See 31 U.S.C. § 3730(d)(1) & (2). Assuming that
    the relator is not otherwise barred from claiming a share of the proceeds, determination of the relator’s share will involve
    two related inquiries: first, the “percentage” of the proceeds of the action to be awarded to the relator, and second, the
    value of those “proceeds.” Section 3730(c)(5) makes these inquiries applicable to a proceeding qualifying as an alternate
    remedy. The Civil Division has issued guidelines governing the determination of relator share percentages. The Fraud
    Section or government counsel in the FCA action—not forfeiture counsel—is responsible for determining or litigating the
    relator’s share issue.
6
    Where the issue of the relator’s share is addressed may well depend on the forum in which the relator chooses to pursue
    it; however, the government should advocate for the determination to be made in FCA action whenever such litigation
    remains viable.
7
    Relators have made similar requests regarding the escrow of funds paid toward restitution and criminal fines. Where
    the restitution is payable to governmental victims, the government may consider such requests, particularly where the
    FCA action will not be completed. However, prosecutors should always oppose requests for an escrow of funds due to
    individual victims or for criminal fines.
8
    Until the relator’s share is determined, the Department will not know the amount of funds that will remain in the
    AFF. Therefore, final decision on any petition for remission or mitigation should be deferred until the relator’s share
    is determined, unless the total value of all petitions for remission or mitigation is less than 75% of the net forfeiture
    recovery.
9
    On request of the relator, the United States may provide the total expenses incurred in connection with a forfeiture action.
    In the Department’s view, relators have no right to challenge forfeiture expenses or intervene in property management
    issues, and therefore, are not entitled to a detailed itemization of forfeiture expenses, even if the forfeiture action is
    determined to be an alternate remedy.


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      E. Procedure for paying relator’s share

Because the relator’s share is mandated by Congress, it is a necessary expense incident to the
forfeiture of the property as provided for in 28 U.S.C. § 524(c)(1)(A).The government should obtain
an order in the FCA action that reflects the percentage share of the net recovery to be paid to the
relator and should forward a copy of the order to the U.S. Marshals Service (USMS), directing the
USMS to pay the relator’s share.

The Department of the Treasury (Treasury) Forfeiture Program takes a similar approach on the legal
theories supporting a relator’s share as a necessary expense incident to the forfeiture of the property
pursuant to 31 U.S.C. § 9705(a)(1)(A). Payment is coordinated through the seizing agency and the
Treasury Executive Office for Asset Forfeiture (TEOAF) and is usually processed using a Form 7
refund package if the funds are already in the Treasury Forfeiture Fund (TFF). However, please
contact the seizing agency counsel or TEOAF Legal Counsel for assistance.




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                                     Chapter 14:
                   Forfeiture and Compensation for Victims of Crime

I.       Overview
Forfeiture is a critical tool in the recovery of illicit gains arising from financial crimes such as fraud,
embezzlement, and theft. Returning forfeited assets to victims through the remission and restoration
processes is one of the primary goals of the Department of Justice’s (Department) Asset Forfeiture
Program.1 See Chapter 13 of this Manual. Remission and restoration authority exists for virtually
all offenses for which the government obtains a related administrative declaration of forfeiture,
or civil or criminal forfeiture order.2 See 18 U.S.C. § 981(e)(6) (civil forfeiture), and 21 U.S.C.
§ 853(i)(1) (while § 853(i) governs the procedures for disposing of property criminally forfeited
under the drug abuse prevention and control laws, those procedures are incorporated by reference
in 18 U.S.C. § 982(b)(1), which extends those procedures to most other criminal offenses). There
are three primary means to pay victims—restitution, remission, and restoration. Restitution refers to
the process of determining victim losses for purposes of sentencing and paying victims in criminal
cases, often, but not always, through collections from defendants and via the Federal Debt Collections
Procedures Act. Remission is a process whereby, in a civil or criminal forfeiture case, the Department
solicits, considers, and rules on petitions for payment. The petitions can be submitted by, among other
petitioners, victims. The federal regulations governing the remission of civil or criminal forfeiture are
found at 28 C.F.R. Part 9.

Restoration is a hybrid process available in both civil and criminal forfeiture cases that are closely
related to a criminal prosecution in which a court has issued a restitution order identifying victims
and restitution losses for which a defendant is liable. The restoration procedure of the Department’s
Criminal Division enables the Attorney General to transfer forfeited funds to a court for satisfaction
of a criminal restitution order, provided that all victims named in the order otherwise qualify for
remission under the applicable regulations.

Remission, restoration, and criminal restitution all serve to compensate victims through related but
distinct mechanisms. Remission and restoration are discretionary procedures for victim recovery
from forfeitures and are available to persons who have incurred pecuniary losses from the offense
underlying the forfeiture or from a related offense. Restitution is an equitable remedy intended
to make crime victims whole and prevent unjust enrichment to the perpetrator. In many cases,
restoration—the use of forfeited funds to pay restitution—is desirable, because the defendant may be
left without assets to satisfy their restitution obligation following forfeiture.




1
     See The Attorney General’s Guidelines on the Asset Forfeiture Program (July 2018) (AG Guidelines), Sec. II.
2
     Funds shared with the United States by a foreign government that have not been forfeited under U.S. law may not be
     eligible to be used for victim remission or restoration via the Money Laundering and Asset Recovery Section (MLARS).
     However, depending upon the circumstances of the case, it may be possible to employ other mechanisms for using such
     shared funds to make victims whole. If U.S. prosecutors or investigators assisted in a foreign case involving victims that
     resulted in a foreign forfeiture, they should also contact MLARS for guidance on potential alternative mechanisms and
     submission of a sharing request to that country. See also Chap. 8, Sec. XIII in this Manual.



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The Department of the Treasury Forfeiture Fund (TFF) has a similar procedure for remission and
restoration.3 Please consult the Guidelines for Treasury Forfeiture Fund Agencies on Refunds
Pursuant to Court Orders, Petitions for Remission, or Restoration Requests (Treasury Blue Book).4

II.     Returning Forfeited Assets to Victims

        A. Remission

For administrative forfeitures, the seizing agency should provide notice to all parties believed to be
victims. The notice should advise victims of the right to file a petition for remission under 28 C.F.R.
Part 9. For judicial forfeitures, the U.S. Attorney’s Office (USAO) should send such notice to all
potential victims who did not submit a petition for remission following any administrative notice or
who will not be included in a restitution order and related restoration request.

Once assets have been judicially forfeited, the authority to distribute them to owners, lienholders, and
victims rests solely with the Attorney General. See 28 C.F.R. § 9. The Attorney General delegated
the authority to decide petitions for remission in judicial cases to the Chief of the Money Laundering
and Asset Recovery Section (MLARS). See 28 C.F.R. § 9.1(b)(2). In administrative forfeitures, the
authority to decide petitions for remission or mitigation rests with the seizing agency.5 Questions
regarding administrative forfeiture policies and procedures should be directed to the seizing agency.

Whether a victim may receive remission is governed by regulation. See 28 C.F.R. § 9.8. MLARS
decides petitions based on written documentation; there is no right to a hearing on the petition. See
28 C.F.R. § 9.4(g). Unsuccessful petitioners are entitled to one request for reconsideration, which
is reviewed and decided by a different ruling official within MLARS. See § 9.4(k)(3). Judicial
review of a denial of remission is not available.6 Although the USAO and seizing agency must
provide recommendations as to the allowance or denial of a judicial petition for remission, the
final determination rests with MLARS. USAOs or seizing agencies must take care not to make
representations to the court or potential victims as to whether remission will be granted.

When petitions have been filed for both administratively and judicially forfeited assets in the same
case, the seizing agency must coordinate with MLARS and the forfeiture Assistant U.S. Attorney
(AUSA) assigned to the case to ensure consistency in rulings.

Many forfeiture cases begin administratively and become judicial after a party files a claim
challenging the agency’s administrative forfeiture. Often the party files both a claim and petition.
MLARS must eventually adjudicate the petition in a judicial forfeiture, but only after the claim is


3
    TFF member agencies include the Internal Revenue Service-Criminal Investigation (IRS-CI), U.S. Immigration and
    Customs Enforcement-Homeland Security Investigations (ICE-HSI), U.S. Customs and Border Protection (CBP), U.S.
    Secret Service (USSS), and U.S. Coast Guard (USCG).
4
    Download a copy of Treasury Blue Book from.treasury.gov.
5
    See 19 C.F.R. §§ 171 and 172.2; 26 C.F.R. § 403, Subpart D; 28 C.F.R. § 9.1(b)(1).
6
    See LKQ Corp. & Keystone Auto. Indus., Inc. v. DHS, 369 F. Supp. 3d 577 (D. Del. 2019) (court lacked subject matter
    jurisdiction under Administrative Procedures Act to review decisions by CBP on petitions for remission because
    remission statutes provide CBP with wide discretion to make a determination on remission or mitigation; such decisions
    are unreviewable absent allegations of statutory or procedural violations); United States v. Betancourt-Vega, No. 3:12–
    CR–314, 2013 WL 6697811, *4 (N.D. Tex. Dec. 19, 2013) (because what claimant filed was a remission petition and
    not a claim under 18 U.S.C. § 983(a)(2), court’s review is limited to ensuring that DEA acted in accordance with proper
    procedures in exercising its discretion); Laconia Sav. Bank v. United States, 116 F. Supp. 2d 248, 256 (D.N.H. 2000)
    (when claimant chooses to file remission petition instead of filing claim, court is without jurisdiction to review the denial
    of the petition on the merits or consider any constitutional claims even if denial was an abuse of discretion).

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resolved. However, the petitioner need not submit a second petition. The seizing agency should
forward the petition to the USAO, which will submit to MLARS.7

             A.1 Standards for victims—28 C.F.R. Part 9

The factual basis and legal theory underlying the forfeiture will determine who qualifies as a victim.
A “victim” for purposes of remission is “a person who has incurred a pecuniary loss as a direct
result of the commission of the offense underlying a forfeiture.” 28 C.F.R. § 9.2 (emphasis added).8
Corporations, federal agencies, and other governmental entities may also qualify as victims under the
regulations.

Victims may also recover losses caused by a related offense. See 28 C.F.R. § 9.8(a)(1). Related
offense means: “(1) Any predicate offense charged in a federal Racketeer Influenced and Corrupt
Organizations Act (RICO) count for which forfeiture was ordered; or (2) An offense committed as
part of the same scheme or design, or pursuant to the same conspiracy, as was involved in the offense
for which forfeiture was ordered.” See 28 C.F.R. § 9.2. In general, the ruling official will consider all
the crimes discussed in the charging documents or civil complaint as “related offenses” for purposes
of victim compensation.

             A.2 Qualification to file

A victim may be granted remission of the forfeiture of property if the victim satisfactorily
demonstrates that:
        (1) a pecuniary loss of a specific amount has been directly caused by the criminal offense, or related
        offense, that was the underlying basis for the forfeiture, and the loss is supported by documentary
        evidence including invoices and receipts; (2) the pecuniary loss is the direct result of the illegal acts
        and is not the result of otherwise lawful acts that were committed in the course of a criminal offense;
        (3) the victim did not knowingly contribute to, participate in, benefit from, or act in a willfully blind
        manner towards the commission of the offense, or related offense, that was the underlying basis for
        the forfeiture; (4) the victim has not in fact been compensated for the wrongful loss of the property
        by the perpetrator or others; and (5) the victim does not have recourse reasonably available to other
        assets from which to obtain compensation for the wrongful loss of the property.

28 C.F.R. § 9.8(b).

        “The amount of the pecuniary loss suffered by a victim for which remission may be granted is
        limited to the fair market value of the property of which the victim was deprived as of the date of
        the occurrence of the loss.”

28 C.F.R. § 9.8(c). The term “fair market value” is not defined in 28 C.F.R. Part 9. When the loss is
property other than money, the date of the victim’s loss and the fair market value of the property on
that date must be decided to determine the victim’s recoverable loss.

A victim’s pecuniary loss must be supported by documentary evidence. Secondary losses to the
principal loss, such as “interest foregone or for collateral expenses incurred to recover lost property


7
    See also Chap. 13, Sec. I.A. n.1. in this Manual.
8
    A person is “an individual, partnership, corporation, joint business enterprise, estate, or other legal entity capable of
    owning property.” See 28 C.F.R. § 9.2.


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or to seek other recompense,” or attorneys’ fees or other investigative expenses, are not eligible for
remission. See 28 C.F.R. § 9.8(c).

Losses are also ineligible for remission if they result from property damage or physical injuries,
or from a tort associated with illegal activity that formed the basis for the forfeiture, unless the tort
constitutes the illegal activity itself. See 28 C.F.R. § 9.8(d). However, specific, documented pecuniary
losses like medical and counseling bills in child exploitation cases may be eligible. Victims who
“knowingly contribute to, participate in, benefit from, or act in a willfully blind manner towards the
commission of the offense, or related offense that was the underlying basis for the forfeiture” are also
ineligible for remission. See 28 C.F.R. § 9.8(b)(3). However, forced or unknowing participation in a
crime, as in cases involving victims of human trafficking and forced labor, or cases in which elderly
fraud victims lose money yet also unwittingly serve as “money mules”—that is, persons who transfer
money acquired illegally—will not preclude victims from compensation under this provision.

Victims need not show that their specific funds are among the funds that have been forfeited to
establish eligibility for remission.

Petitions should be made sworn under penalty of perjury. Petitioners should also submit any
supporting documentation that the government does not already have to support their petitions and
claims of qualifying pecuniary losses.

             A.3 Priority in multiple-victim remission cases

Priority in the distribution of forfeited assets is given to valid owners, lienholders, federal financial
regulatory agencies,9 and victims (in that order), who in turn have priority over official use requests
and equitable sharing requests. Victim recovery is limited to the net proceeds of all assets in the
case or related cases. In cases involving more than one victim, the ruling official will generally grant
remission on a pro rata basis where the amount to be distributed is less than the value of the victims’
losses. Additional exceptions are permitted only in rare situations, such as when a pro rata distribution
would result in extreme hardship to a victim or when a victim has better evidence of loss than other
victims. See 28 C.F.R. § 9.8(f). However, the tracing of a particular victim’s funds into a forfeited
account does not give that victim priority over the victims whose funds cannot be traced.

             A.4 Claims administrators

MLARS may opt to hire a trustee or claims administrator in large, multiple-victim cases to assist in
notifying potential victims of the opportunity to seek remission, processing the petitions, and making
decision recommendations. See 28 C.F.R. § 9.9(c). MLARS will coordinate with the USAO and lead
seizing agency, as necessary, during the selection process. In addition, if a trustee has been appointed
in parallel regulatory or bankruptcy actions, MLARS may approve transferring funds for distribution
to the trustee for ultimate payment to the identified victim pool.

USAOs and agencies interested in using the services of a trustee or claims administrator to support
the remission and restoration processes should consult early with MLARS. MLARS awarded a

9
    A federal financial regulatory agency is generally entitled to priority of distribution over non-owner victims for losses
    and expenses incurred in its capacity as receiver of a failed institution. See 28 C.F.R. § 9.8(h). This priority applies only
    for reimbursement of the Federal Deposit Insurance Corporation (FDIC)’s payments to claimants and creditors of the
    institution or reimbursement of insurance fund losses under 18 U.S.C § 981(e)(3), and for fraud losses associated with the
    sale of assets held in receivership pursuant to § 981(e)(7).


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national claims administration support contract that simplifies procurement actions and streamlines
petition review and payment distribution in victim cases where highly experienced and expert firms
are required to handle the volume of petitioners. Costs of an administration contract are deducted
from the forfeited funds prior to any distribution.

              A.5 Additional grounds for denial of remission to victims

Remission to victims may be denied: (1) if determination of the pecuniary loss to be paid to
individual victims is too difficult; (2) if the amount to be paid to victims is small compared to the
expense incurred by the government in deciding the victims’ claims; or (3) if the total number of
victims is large and the amount available for payment to victims is so small as to make granting
payments to victims impractical. See 28 C.F.R. § 9.8(e).

              A.6 Timeliness

Victims should file petitions for forfeited assets within the time period detailed in the notice.10
However, when a victim fails to submit a timely petition, MLARS may allow exceptions for good
cause based on the particular circumstances of the case. Victims may file claims in the Department’s
Asset Forfeiture Program Online Claims & Petitions portal up to 60 days after the date of forfeiture;
after that date, they must submit paper forms.11

              A.7 Remission decisions

Deciding officials will send remission decisions to the victims along with instructions for obtaining
payment. Victims must provide their own Social Security numbers (SSN) for purposes of the Treasury
Offset Program (TOP), although they may choose to use their attorney’s bank account for payment.
MLARS, Treasury Executive Office for Asset Forfeiture (TEOAF), and the seizing agency do not
have insight into whether an offset will occur. However, victims can call (800) 304-3107 for the
Department of Treasury (Treasury) Bureau of the Fiscal Service’s TOP interactive voice response
system to determine whether an offset will occur. Because of unknown Treasury offsets and case
expenses, MLARS refrains from quoting specific payment amounts to victims in their remission grant
letter.

If the deciding official grants remission, it will notify both the forfeiture unit and the financial
litigation unit at the USAO. It is the USAO’s responsibility to record payment information for
purposes of capturing any restitution “credit” to the defendant in remission cases and to coordinate
with the local Financial Deputy Clerk of Court to ensure that the court is aware of the credit.

         B. Restoration

Because forfeited assets are property of the government, courts and defendants lack authority to use
them to satisfy a defendant’s criminal debts, including fines or restitution obligations. See United
States v. Trotter, 912 F.2d 964, 965–966 (8th Cir. 1990). However, in many cases, defendants are left
with little or no property after the forfeiture is completed. Thus, under the restoration procedures,
the Department may forfeit property and transfer the proceeds to the court in satisfaction of the
defendant’s order of restitution.

10
     If direct notice is provided, it can be sent by the USAO, seizing agency, or claims administrator, as appropriate.
11
     Victims should visit forfeiture.gov’s petition information page for updated public-facing forms and FAQs.


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Restoration simplifies and accelerates the return of forfeited property to victims. Restoration is an
alternative to petitions for remission in cases where both forfeiture and restitution have been ordered
and is designed to accommodate victims and the courts to the furthest extent possible while still
meeting the statutory and regulatory requirements for remission. Victims will not need to file petitions
for remission, and the process of returning funds to victims typically will be faster. The forfeiture will
be completed so that costs can be recovered and third party rights extinguished. Proceeds from civil,
criminal, and administrative12 forfeitures can be handled together and applied to restitution. Assets
will be distributed primarily as they would have been under the remission regulations. The restoration
procedure permits victims to obtain compensation from the forfeited assets in accordance with the
court’s restitution order without having to file petitions for remission with the government and await
decisions on them. These procedures apply where:

      (1) both restitution to compensate victims and a related forfeiture (either civil, criminal, or
          administrative) have been ordered;

      (2) the victims and amounts listed in the restitution order essentially conform to the victims and
          amounts that would have been paid through the remission process; and

      (3) other property is not available to fully satisfy the order of restitution.

However, under no circumstances should the criminal AUSA make representations to a defendant
or the court that forfeited funds will be used to satisfy restitution through the restoration process.
However, the AUSA may represent in a plea agreement that the USAO will seek MLARS’ approval to
have forfeited funds applied to restitution, as appropriate under applicable regulations.

           B.1 How the restoration process works

Restoration requires both a court order of restitution and an order (or declaration) of forfeiture.
Because restoration decisions must be approved by the Chief of MLARS (as delegated by the
Attorney General), the USAO or court may not unilaterally direct forfeited assets to be applied to
restitution, or decrease restitution orders by the value of forfeited assets.13 However, when requested
by the USAO, MLARS may undertake a preliminary review of the expected restitution and forfeiture,
so that prosecutors may advise the court of the government’s intended distribution of the property.

To request restoration, the USAO must send the Chief of MLARS a copy of the judgment in a
criminal case containing the order of restitution and a copy of the forfeiture order, along with
a written request signed by the U.S. Attorney, or a designee, that includes the representations
outlined in Section II.B.2 below. If the restitution order is sealed, the USAO must submit the
underlying list containing victim names and restitution amounts to MLARS. Once the Chief
of MLARS has approved the request for restoration, MLARS notifies both the USAO and the
custodian of the property. The custodian then transfers the net proceeds of the forfeiture to the clerk
of court for distribution pursuant to the order of restitution. MLARS will not accept or approve


12
   In administrative forfeitures involving TFF member agencies, the USAO must obtain the written concurrence of the local
   or headquarters TFF seizing agency before MLARS may approve restoration of forfeited funds for purposes of criminal
   restitution. See Treasury Blue Book, Sec. VI.B.1.b. TEOAF policy does not permit the release of administratively forfeited
   funds to crime victims without the prior approval of the TFF seizing agency. See Treasury Blue Book, Sec. VI.B.1.b.ii.
13
   The Attorney General’s restoration authority has been delegated to the Chief of MLARS pursuant to Attorney General
   Order No. 2088-97 (June 14, 1997).


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restoration requests for assets that have been disposed of for over five years unless there are unique
circumstances surrounding the delay.14

Restoration is appropriate only when the distribution pursuant to the restitution order is essentially the
same as the distribution that would be obtained through the remission process. Prosecutors who plan
to request restoration must work with the seizing agency, probation officer, and the court to ensure
that the court’s restitution order lists the names of all victims and the amount of restitution due to
each. Updated payment addresses must also be provided to the court so that the funds are paid out to
victims.

Restitution is generally available for a much broader range of harms than may be satisfied through
remission, which is allowed only for pecuniary losses caused by the offense underlying the forfeiture
or a related offense. Thus, restoration may not be used where a significant portion of the losses
covered by the restitution order relate to bodily harm, property damage, future expenses, and
collateral expenses like legal, accounting, or security expenditures incurred in trying to correct the
harm caused by the crime. Moreover, 28 C.F.R. § 9.8(c) limits the victim’s loss to the fair market
value of the property of which the victim was deprived, as of the date of the loss. No allowance is
made for interest forgone, lost profits, or collateral expenses incurred to recover lost property or to
seek other recompense.

If the restitution order is not amenable to the restoration process, MLARS will advise the USAO, and
the USAO may have to collect remission petitions to distribute forfeited funds to victims through the
remission process. In some instances, a USAO may be able to use an existing victim impact statement
as a substitute for a petition for remission, or a “hybrid” approach may be warranted. See Section II.F
in this chapter.

           B.2 Representations

Restoration is designed to achieve results that are consistent with the results of the application of the
remission standards for forfeited assets at 28 C.F.R. § 9.8. Therefore, the U.S. Attorney, or a designee,
must inform MLARS, in writing and accompanied by a signature, as part of the request for restoration
that:

       (1) All known victims have been properly notified of the restitution proceedings and are
           properly accounted for in the restitution order. This representation is intended to ensure
           that no victims have been left out of the restitution order and that all are treated fairly in the
           order. This is also to ensure that the restitution order reflects the proper priority of payment
           to victims, if applicable.15




14
   Treasury has issued a similar policy to not accept or approve restoration requests for assets that have been disposed of for
   over five years unless there are unique circumstances surrounding the delay.
15
   See Sec. II.B.3 in this chapter.


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      (2) To the best of the U.S. Attorney’s, or designee’s, knowledge and belief after
           consultation with the seizing agency, the losses described in the restitution order
           have been verified, comport with the remission requirements, and reflect all sources
           of compensation received by the victims, including returns on investments, interest
           payments, insurance proceeds, refunds, settlement payments, lawsuit awards, and
           any other sources of compensation for their losses. This is to avoid double recovery by
           victims who may already have been compensated for part of their losses.

      (3) To the best of the U.S. Attorney’s, or designee’s, knowledge and belief after
           consultation with the seizing agency, reasonable efforts to locate additional assets
           establish that the victims do not have recourse reasonably available to obtain
           compensation for their losses from other assets, including those owned or controlled
           by the defendants. This is to ensure that restoration does not confer an undue benefit on
           the defendant.

      (4) There is no evidence to suggest that any of the victims knowingly contributed to,
           participated in, benefitted from, or acted in a willfully blind manner, toward the
           commission of the offenses underlying the forfeiture or a related offense. This is to
           prevent the return of forfeited property to those who essentially took part in the conduct that
           led to the forfeiture.

The USAO must also ensure that the time for filing an appeal challenging either the restitution order
or the forfeiture has passed or all relevant appeals have been adjudicated before submitting the
restoration request to MLARS.

Because restitution and forfeiture are mandatory and independent parts of a criminal sentence, the
forfeited assets may not be used to satisfy the restitution order if other assets are available for that
purpose. Typical examples of this situation might involve corporations that have extensive holdings
that are not subject to forfeiture, or individuals who have property that exceeds the amount subject to
forfeiture. The statutes governing restitution permit the government to enforce the restitution order as
a final judgment against almost all of the defendant’s property, not just facilitating property or fraud
proceeds that may be subject to forfeiture. Asset forfeiture coordinators should coordinate with the
financial litigation coordinators in their offices on the best approach to return all available assets to
victims.

           B.3 Payment

To restore assets to the victims listed in the restitution order, MLARS will notify the USAO and
property custodian. The custodian will then transfer the net forfeited proceeds of all assets in the
case or related cases to the clerk of court for distribution pursuant to the restitution order, which
should reflect proper priority of payment. Payments will be made only in accordance with the court’s
restitution order. If the forfeited assets are not sufficient to fully satisfy the order, payment will be
made by the court as directed in the order. Federal government entities are compensated only after all
non-federal agencies are compensated in full. See 18 U.S.C. § 3664(i); see also Section II.D in this
chapter. Insurance companies must also be prioritized after direct victims. See 18 U.S.C. § 3664(j).




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         C. Preservation of assets for victims

To ensure that forfeited assets are made available for victims, the USAO and seizing agency must
enter remission petitions in the Consolidated Asset Tracking System (CATS) immediately upon
receipt. In addition, the USAO must place a restitution “hold” on the distribution of seized assets in
CATS when a restoration request is anticipated. If assets are transferred for official use or equitable
sharing prior to victim compensation, the transfer may be reversed at the discretion of the Chief of
MLARS or the Director of TEOAF (for seizures by TFF member agencies) to make the property
available for remission or restoration.

Because CATS is not the TFF’s system of record, the USAO must request that the TFF preserve
the asset in cases involving TFF agencies where restitution may be ordered or where remission or
restoration may occur. To ensure the preservation of the forfeited property in judicial cases involving
TFF agencies, the USAO must also timely notify and send a copy of the restoration request to the
TFF seizing agency. See Treasury Blue Book, Sec. VI.B.1.16

         D. Special considerations for federal government victims

A federal government agency may qualify as a victim entitled to receive compensation through
the restoration and remission procedures. A federal government agency victim, like other types of
victims, must demonstrate that it suffered a pecuniary loss of a specific amount as a direct result of
the commission of the offense, or related offense, underlying the forfeiture. See 28 C.F.R. §§ 9.2 and
9.8(b). Federal agencies are not required to submit detailed documentation of loss when an acceptable
estimation of loss is provided.

Federal government agencies often suffer pecuniary losses as a result of crimes involving taxpayer-
funded programs like Medicare or Medicaid healthcare, Supplemental Nutrition Assistance Program
(SNAP) benefits, and U.S. Department of Housing and Urban Development (HUD) insured loans. In
some cases, the federal investigating agency is also a victim of the offense that it is investigating. For
instance, the Internal Revenue Service-Criminal Investigations (IRS-CI) may investigate and seize
assets in a tax return scheme in which the IRS unknowingly paid tax refunds based on fraudulent tax
returns. In these cases, the agency must ensure that the division of the agency providing the petition
report and recommendation is separate from the petitioning division. For example, in an IRS-CI
investigation involving a tax return scheme, IRS-CI could provide the remission petition report and
recommendation, while a different IRS division submits the petition.

The act of forfeiting the seized assets and depositing the proceeds into the Assets Forfeiture Fund
(AFF) or TFF does not mean that the seizing agency has received victim compensation. Rather, the
victim agency should either: (1) be included in the restitution order, with a specified pecuniary loss
amount, for restoration request purposes;17 or (2) file a petition for remission requesting compensation
for its losses from the proceeds of the forfeited assets.




16
     Download Treasury Blue Book from treasury.gov.
17
     If restoration is used pursuant to 18 U.S.C. § 3664(i) federal agencies will not receive compensation until all non-federal
     victims are compensated in full.
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         E. Special considerations for victims of human trafficking crimes

On May 29, 2015, the Justice for Victims of Trafficking Act (JVTA) was enacted.18 JVTA directs
the Attorney General to pay victim restitution orders in cases where a forfeiture occurs pursuant
to 18 U.S.C. § 1594. See § 1594(f)(1). Accordingly, MLARS processes requests from USAOs in
accordance with this statutory language regardless of whether the victims’ losses are considered
“pecuniary” as defined by the relevant remission regulations. If no restitution order exists in cases
where a forfeiture occurs pursuant to § 1594, MLARS will consider petitions for remission that
include a claim of lost wages (based on minimum wage) as the victim’s pecuniary loss, along with
any other losses permitted by 28 C.F.R. Part 9.

However, 18 U.S.C. § 1594 does not allow for innocent owner or lienholder priority in remission
cases. See § 1594(f)(2). Therefore, the USAO must resolve all outstanding innocent owner and
lienholder claims through the judicial forfeiture process rather than the remission process.

         F. Hybrid remission and restoration review

MLARS will process a restoration request together with petitions for remission in appropriate cases
where a hybrid decision would be an efficient and just mechanism for compensating the victims. For
example, the USAO may discover after the entry of a restitution order that, despite its due diligence,
additional victims exist who were inadvertently omitted from the restitution order. In such a situation,
it may be burdensome to require the victims in the existing restitution order to seek remission.
MLARS may determine that a hybrid restoration and remission decision is appropriate in light of inter
alia the number of victims listed in the existing restitution order, the number of victims omitted from
the restitution order, the reasons why victims were omitted from the restitution order, and the amount
of net proceeds available for distribution from the forfeited assets. However, this hybrid process is
not suitable when a restitution order includes those who do not qualify as victims under the remission
regulations.

         G. Termination of forfeiture and direct payment of assets to victims

If forfeiture tools and resources are used to seize an asset, the forfeiture process should be followed
to completion. Termination of forfeiture is appropriate only in extremely limited circumstances and
only if no final order of forfeiture has been entered. In these limited situations, it may be appropriate
for the USAO to move to dismiss the forfeiture proceeding and request the court to direct the property
be turned over directly as restitution pursuant to 18 U.S.C. § 3663A(b)(1)(A), or be transferred to
the clerk of court to be paid to the victim. However, the USAO may not unilaterally direct a seizing
agency or property custodian to send funds that have been seized for forfeiture but not forfeited to
the clerk for restitution, absent a court order or agreement with the person from whom the funds were
seized. See Chapter 1, Section I.E in this Manual. If that person has an outstanding restitution order in
the TOP system when the funds are returned, the funds may be automatically offset and applied to the
restitution order through that process.

Termination of forfeiture may be more appropriate than remission or restoration when the victim
is entitled to restitution for non-pecuniary harm or other collateral costs that are not compensable
under the remission regulations. In addition, termination of forfeiture may be appropriate in multiple-

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     Justice for Victims of Trafficking Act of 2015, Pub. L. 114-22, May 29, 2015, 129 Stat. 227.


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victim fraud cases arising in jurisdictions with unfavorable caselaw concerning constructive trusts.
See Section III in this chapter. If payment is to be made to the victim through the clerk of court, the
property subject to forfeiture must be liquid, as the clerk cannot liquidate real or personal property.
For example, the default method of sale to execute a restitution judgment is a sale by the U.S.
Marshals Service (USMS) at the courthouse. See 28 U.S.C. § 3203(g)(1)(A)(i).

      H. Comparison of judicial remission and restoration

 Remission                                                  Restoration
There is no need for a criminal conviction or               A criminal conviction, an order of restitution, and a
restitution order. Only a forfeiture of assets related to   criminal, civil, or administrative forfeiture which is
the victim’s loss is required.                              related to the victim’s loss are all required.
The USAO, in cooperation with the investigative             The USAO works with the investigative agency and
agency or a claims administrator, may send notice           probation office to identify victims and determine their
to all known victims of the offense underlying the          losses to ensure inclusion in the restitution order.
forfeiture.
The victim must file a petition in order to receive         The victim is not required to file a petition but may
compensation.                                               be required to submit information to the investigative
                                                            agency or probation office prior to sentencing.
The USAO requests the investigative agency to               The USAO submits a restoration request, including
prepare a report and recommendation. The USAO               the four required representations, to MLARS. See
makes a recommendation and forwards the petition            Section II.B.3 in this chapter.
package to MLARS.
MLARS decides petitions for remission of judicially         The Attorney General, through MLARS, reviews the
forfeited assets. Seizing agencies decide petitions for     restoration request and may restore forfeited property
remission of administratively forfeited assets.             to victims identified in the restitution order.
The custodian of the forfeited asset distributes the net    The custodian of the forfeited asset transfers the net
proceeds directly to victims.                               proceeds directly to the Clerk of Court.




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III. Constructive Trusts in Multiple-Victim Fraud Cases
While courts generally agree that fraud victims do not retain legal title in money paid voluntarily
into a fraud scheme, some courts have recognized constructive trusts in favor of victims. Under this
equitable remedy, the perpetrator of the fraud holds title to the victim’s funds in trust for the benefit
of the victim. A constructive trust generally requires a victim to trace their money to the seized funds,
which may warrant extensive discovery and evidentiary hearings. This legal theory is troublesome
in forfeiture cases involving multiple victims because it can transform the forfeiture case into a
cumbersome liquidation proceeding in which all victims compete against each other and against the
government for the seized funds. The government should generally oppose a claim of constructive
trust in such cases so that the Attorney General can return the funds to the victims through the orderly
remission or restoration process. However, government attorneys should consult the caselaw in their
circuit and state in responding to constructive trust claims in their districts.

In United States v. $4,224,958.57 (Boylan), 392 F.3d 1002, 1003–1005 (9th Cir. 2004), the Ninth
Circuit held that victims of a large, fraudulent investment scheme established a sufficient legal interest
in the seized proceeds through a constructive trust to confer on them standing to contest the forfeiture.
Under this holding, government attorneys litigating forfeiture cases may be required to identify all
potential victims of the fraud, notify them of the forfeiture action, and afford them an opportunity to
file claims in the judicial proceeding. Id. Following Boylan, some judicial circuits have recognized
that the forfeiture statutes do not preclude, as a matter of law, the imposition of a constructive trust.
See Willis Mgmt. (Vermont), Ltd. v. United States, 652 F.3d 236, 238 (2d Cir. 2011).

Thus, in litigating forfeiture cases in circuits that recognize constructive trusts, government attorneys
may elect to oppose victims’ individual claims of constructive trust on the merits, and further argue
that recognition of the trust would result in unfair priority to the claimant, contrary to the equitable
principles underlying the trust. The courts should also be advised that forfeiture will enable all victims
to have the opportunity to recover the funds on the pro rata basis through the Attorney General’s
remission authority. See 28 C.F.R. §§ 9.8(a)(1) and (f).




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                                          Chapter 15:
                          Federal Official Use and Equitable Sharing

I.       Federal Official Use

         A. Overview

Federal retention, or “official use,” means a law enforcement agency’s use of forfeited assets in the
direct performance of law enforcement activities. The transfer of “unique” assets, such as property of
cultural or historical significance, to non-component federal agencies is also considered official use.

According to The Attorney General’s Guidelines on the Asset Forfeiture Program (July 2018) (AG
Guidelines),1 Sec. V.F., “the Attorney General has the authority to retain or transfer property for
official use to any federal agency. No seized property shall be placed into official use until a final
determination of forfeiture has been made and the request to place the property into official use has
been approved by the appropriate official.”

Agencies must request specific assets for official use.2 Federal agencies may not put into official
use any cash or proceeds from the sale of forfeited property. The requests need not specify the
exact intended use of the assets, but all official use must be for law enforcement purposes. This
allows agencies to use forfeited property for operations, training, and other functions, including
administrative and other mission support activities.

         B. Official use designations by the federal seizing agency

The head of the federal seizing agency, or designated headquarters official, decides whether to put
assets seized by the agency into its own official use. Once an asset designated by the federal seizing
agency for official use has been administratively or judicially forfeited and all third-party interests,
including victim compensation, have been resolved, the seizing agency has 30 calendar days to
inform the U.S. Marshals Service (USMS) of its final decision to place or decline to place the asset
into official use. At the discretion of the USMS, a one-time extension of 15 calendar days may be
granted. Requests for extensions must be made in writing to the USMS. Absent a response from the
seizing agency within the initial 30 calendar days (or a time extension that has expired), or following
a negative response within the specified time period, the USMS is authorized and directed to take the
necessary steps to dispose of the asset in the usual manner, according to law and regulations.

In any instance where the property requested for federal official use is valued at over $50,000, the
seizing agency and the USMS must provide the Money Laundering and Asset Recovery Section
(MLARS) with advance notice and an opportunity to review the request.

         C. Official use requests by other federal agencies

If the lead federal seizing agency decides not to put the asset into its own official use, then any other
Department of Justice (Department) investigative agency that participated in the case, Department

1
     See AG Guidelines.
2
     See Chap. 4, Sec. V.A. in this Manual regarding the authorities and guidelines for placing real property into official use.



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components, or non-seizing federal agencies, in that order, may request to put the asset into its own
official use. These agencies may seek the transfer of property for official use only if the property is not
required for victim compensation or for equitable sharing with a foreign, tribal, state, or local agency.3

Where one Department agency requests an asset for official use that was seized by another
Department agency, the requesting agency must follow the official use request process of the seizing
agency and the USMS (e.g. if the U.S. Department of Agriculture (USDA) wants to place a vehicle
into official use that was seized by the Federal Bureau of Investigation (FBI)). If more than one
Department component seeks to retain the same forfeited property for official use, MLARS will
determine which agency may place the property into official use. All requests, other than those for
retention by the lead federal seizing agency, must be submitted to the USMS. Agencies that are not
members of either the Department or the Department of the Treasury (Treasury) forfeiture programs
must request items for official use through the agencies and the USMS. No federal contribution form
(FCF) is required, and the decision to transfer is made via the official use approval process, not the
equitable sharing approval process.4

        D. Internal guidelines

Each agency is required to maintain internal guidelines governing official use requests. The internal
guidelines shall:

    • prohibit the placement into official use of any seized property before (1) the entry of a
      final determination of forfeiture, (2) resolution of all third-party interests, including victim
      compensation, and (3) the appropriate approval of the request to place the property into official
      use;

    • require all seized property be recorded and tracked in an official inventory of seized property
      without regard to its intended disposition;

    • require a written justification detailing the reasons why the forfeited property was placed into
      official use, and require retaining these justifications for three years;

    • require a specific supervisory-level official be responsible and accountable for the decision to
      place each item of forfeited property into official use and for ensuring appropriate official use of
      such property following its transfer;

    • require the property placed into official use be identified and tracked in an accountable property
      system; and

    • state that the property may not be transferred or retained if it is primarily for purposes of trade
      or sale, or home-to-work transportation, or other uses not expressly authorized for property
      acquired through the expenditure of appropriated funds. There must be an intention to place the
      property into official use for two years.

3
    Requests for official use from tribal, state, and local law enforcement agencies are included as part of equitable sharing
    decisions as outlined in Sec. III.D in this chapter. Because these requests are part of equitable sharing, state, local, and
    tribal agencies may request forfeited assets only when they directly participated in the case leading to forfeiture. See also
    Guide to Equitable Sharing for State, Local, and Tribal Law Enforcement Agencies (July 2018), Sec. V.C.
4
    For assets seized by a Treasury Forfeiture Fund (TFF) member agency, see Treasury Executive Office of Asset Forfeiture
    (TEOAF) Directive 6: Transfer of Forfeited Property and Retention for Official Use, July 29, 2016.


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        E. Payment of liens on personal property placed into federal official use

Liens on personal property placed into official use by Department seizing agencies and the USMS
may be paid from the Assets Forfeiture Fund (AFF) provided that:

      • there remains sufficient funding from the agency’s AFF allocation for payment of such liens;

      • the agency intends to place the property into official use for at least two years, except when
        the property is a vehicle requested for use in an undercover capacity. In the case of a vehicle
        requested for use in an undercover capacity, the head of the seizing agency may decide to
        exchange the undercover vehicle for a similar vehicle(s) for use in an undercover capacity.
        No cash or remuneration of any kind may be received as part of any such exchange. All such
        exchanges shall be reported to the Chief of MLARS within 90 days after the end of each fiscal
        year;

      • the total amount to be paid from the AFF amounts to less than one-third the appraised value of
        the property; and

      • the total amount to be paid from the AFF is less than $25,000.

Seizing agencies must submit requests for exceptions to this policy in writing to the Chief of
MLARS.

II.     Equitable Sharing
Federal law authorizes the Attorney General to share federally forfeited property with participating
tribal, state, and local law enforcement agencies.5 See 21 U.S.C. §§ 881(e)(1)(A) and (3); 18 U.S.C. §
981(e)(2); 31 U.S.C. § 9705(a)(1)(G) and (b)(4). Through equitable sharing, any tribal, state, or local
law enforcement agency that directly participates in a law enforcement effort that results in a federal
forfeiture may either request to put tangible forfeited property into official use or an equitable share of
the net proceeds of the forfeiture. The exercise of this authority is discretionary. The Attorney General
is not required to share property in any case.

Equitable sharing and official use requests will be granted only if forfeited property6 or net proceeds7
from the sale of forfeited property remain after all approved claims, petitions for remission, and
restoration requests have been processed and paid. In addition, international sharing must be reviewed
and approved prior to payment of domestic sharing.8




5
    For more details and related publications on equitable sharing, please refer to MLARS Equitable Sharing Program page.
    The Treasury Forfeiture Fund (TFF) administers a substantially similar equitable sharing program.
6
    Unlike other types of forfeited property, federally forfeited firearms and ammunition may not be sold. While forfeited
    firearms and ammunition may be put into federal official use, they may not be shared with tribal, state, or local agencies.
    See Chap. 5, Sec. IV.C in this Manual. Also, gift cards and other types of stored value cards seized by a Treasury member
    agency cannot be placed into official use or transferred to another federal agency. See TEOAF Directive 6: Transfer of
    Forfeited Property and Retention for Official Use, July 29, 2016.
7
    In any case with underwater asset(s) (i.e. where the asset expenses are greater than income), the deciding official must
    offset the negative value of the underwater asset(s) against any asset(s) with a net income prior to distribution of any
    approved sharing.
8
    See Chap. 8, Sec. XIII in this Manual.

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III. Processing Applications for Equitable Sharing

        A. Eligible participants

Any tribal, state, or local law enforcement agency that is a participant in the Equitable Sharing
Program (Program) and directly participates in an investigation or prosecution resulting in a federal
forfeiture may request an equitable share of the net proceeds of the forfeiture. To receive shared
funds, the agency must comply with the Program guidelines and reporting requirements. See the
Guide to Equitable Sharing for State, Local, and Tribal Law Enforcement Agencies (July 2018)
(Guide), Sec. II.

MLARS determines the eligibility of a tribal, state, or local law enforcement agency to participate
in the Program. MLARS will assess any request according to criteria outlined in the Guide and any
subsequent updates to the Guide. See Secs. III and VII. No agency will be accepted into the Program
until MLARS’ determination is complete.

        B. Compliance

To participate in the Program, tribal, state, and local law enforcement agencies must first submit, and
annually resubmit, an Equitable Sharing Agreement and Certification form (ESAC form) signed by
both the head of the law enforcement agency and the head of the governing body having budgetary
authority over the law enforcement agency. By signing the ESAC form, the signatories agree to be
bound by, and comply with, the federal statutes and Department policies—including policies on the
appropriate law enforcement purposes and functions of forfeiture—governing the Program. See Guide
Sec. VII.A.

Any breach of the ESAC form by a tribal, state, or local law enforcement agency may render it non-
compliant or ineligible to receive equitable sharing payments. Participation may be barred on either a
temporary or permanent basis, and in some cases, an agency’s pending equitable sharing distributions
may be permanently extinguished where a requesting agency has failed timely to submit an ESAC
form or UFMS Vendor Request Form (ACH form) or has failed to meet any other requirements as set
forth in the Guide. See Sec. VII. While federal investigative agencies and U.S. Attorneys (USAOs)
have no affirmative obligation to monitor an agency’s eligibility, they are obliged promptly to report
to MLARS any information that might affect an agency’s eligibility to participate in the Program.

        C. Equitable sharing allocations

Equitable shares allocated to a law enforcement agency must bear a reasonable relationship to the
agency’s direct participation in the law enforcement effort resulting in the forfeiture. As a general rule,
the recommended equitable sharing allocation should be based on a comparison of the workhours and
qualitative contributions of each and every federal, tribal, state, and local law enforcement agency
that participated in the law enforcement effort resulting in the forfeiture.9 Qualitative factors that the
decision maker may consider when determining a sharing percentage are outlined in Sec. IV.A. of the
Guide.


9
    When a state forfeiture relates to a federal criminal prosecution, federal equitable sharing decisions should account for
    both state and federal forfeitures in the investigation. Consequently, federal agencies and USAOs should collectively
    review state and federal forfeitures stemming from a single investigation before making federal equitable sharing
    recommendations and decisions.

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Equitable sharing percentages may also be awarded based on an agency’s participation in a task force
that has previously adopted a task force sharing arrangement consistent with Department policy. In
these cases, all agencies participating in the task force must sign a memorandum of understanding
(MOU) reflecting the task force sharing arrangement before any seizures may be made pursuant to
the MOU. These MOUs should be updated periodically to reflect material changes in the agencies
constituting the task force or in any agency’s contribution to forfeitures credited to the task force.
However, an MOU only governs the total contribution of the task force agencies. It may not bind
Department agencies or non-task force agencies to a particular share. For further information
regarding the calculation of the sharing percentage, see Guide Sec. IV.B.

Funds collected to satisfy a forfeiture money judgment are not eligible for equitable sharing where
no collection efforts were expended by the participants in the underlying investigation. For example,
if a Deputy U.S. Marshal (DUSM), U.S. Attorney’s Office (USAO) employee, or other federal
agency locates funds in satisfaction of a money judgment, those funds cannot be shared unless the
tribal, state, or local agency assisted in the collection effort. Funds located and applied to the money
judgment at the time the money judgment is entered could be eligible for sharing.

         D. Submission of requests for official use or equitable sharing

A tribal, state, or local law enforcement agency participating in the Program may request official use
or an equitable share of forfeited property by submitting an equitable sharing request form (Form
DAG-71) through the Department’s Equitable Sharing Portal (eShare Portal). A separate Form
DAG-71 must be completed by the requesting agency for each asset to be shared. An agency may
not file a Form DAG-71 on behalf of another agency. For more information about the procedures for
submitting a Form DAG-71, consult Sec. IV of the Guide.

Federal agencies are not eligible to receive equitable sharing funds. Federal law enforcement agencies
that participated in the forfeiture must follow agency policy to submit a FCF to the lead or processing
federal agency to record participation or, where applicable, request a fund-to-fund transfer (e.g. a
transfer from the AFF to the Treasury Forfeiture Fund (TFF) or vice versa) for the assistance they
provided.10 A federal investigative agency shall not complete a FCF for another federal agency.

         E. Final decision maker

              E.1 Investigative agency

If assets are administratively forfeited and the total appraised value of all items forfeited under a
single Declaration of Administrative Forfeiture is less than $1 million, the head of the investigative
agency, or designated agency headquarters official, decides the appropriate equitable share as to each
asset and requesting agency.

              E.2 U.S. Attorney

If the assets are judicially forfeited and the total appraised value of all of the assets forfeited in a
single judicial forfeiture order is less than $1 million, the U.S. Attorney decides the appropriate
equitable share as to each asset and requesting agency.


10
     See Sec. V in this chapter for additional information on the FCF.

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              E.3 Deputy Attorney General (DAG)

Regardless of whether assets are administratively or judicially forfeited, the Deputy Attorney General
(DAG), or a designee, decides the final equitable share as to each asset and requesting agency in:

         (1) All cases in which the total appraised value of all of the assets forfeited under a single
             declaration of administrative forfeiture or judicial forfeiture order is $1 million or more.
             Assets forfeited under a single declaration of administrative forfeiture or judicial forfeiture
             order cannot be separated so that only the individual assets having a value greater than $1
             million are submitted to the decision maker for sharing decisions;

         (2) Cases involving the equitable transfer of real property;11 or

         (3) Cases involving the transfer of tangible items.

The appropriate decision maker with delegated decision-making authority from the DAG is generally
determined by the value of the assets to be shared, as set forth below.

                    E.3.a     Assets valued between $1 and $5 million

The DAG delegated to the Chief of MLARS the authority to decide equitable sharing requests for
judicially or administratively forfeited assets in which (1) the property to be shared is valued between
$1 million and $5 million and (2) MLARS, the seizing agency, and the USAO agree on the sharing
allocations. If the seizing agency, the USAO, and MLARS do not agree on the sharing allocations, the
DAG must make the final decision.

                    E.3.b     Assets valued over $5 million

The DAG delegated to the Assistant Attorney General for the Criminal Division (AAG) authority to
decide equitable sharing requests for judicially or administratively forfeited assets in which: (1) the
property is valued in excess of $5 million and (2) the seizing agency, the USAO, and MLARS agree
on the sharing allocations. If the seizing agency, the USAO, and MLARS do not agree on the sharing
allocations, the DAG must make the final decision.

                    E.3.c     Transfer of tangible property

Regardless of the asset value, all transfers of tangible items to a state or local law enforcement agency
require approval from MLARS. The state or local law enforcement agency must intend to use the
property for law enforcement purposes and must specify the exact intended use of the requested
asset(s). Should MLARS approve such a transfer, the recipient agency will be required to pay any
expenses and the federal share. See Guide Sec. V.C.1.




11
     The transfer of real property to a tribal, state, or local law enforcement agency for official use is contingent upon the
     agency’s demonstration of a compelling law enforcement need for the property. The recipient agency must sign an MOU
     before the transfer will be approved. See Guide Sec. V.C.2. All sharing requests involving the transfer of real property
     must be submitted to MLARS for processing, regardless of the value of the real property.

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         F. Communication with the requesting agency

Until the final decision maker has rendered a decision, federal personnel and contractors involved
in making, processing, or deciding an equitable sharing request must not represent the projected
outcome of sharing requests.

         G. Reimbursement of federal costs and expenses

Tribal, state, and local law enforcement agencies that receive real property or tangible personal
property must reimburse the AFF for any liens, accrued expenses,12 costs of sharing with other
agencies, and the “federal share,” which is at least 20% but often more.13 The requesting agency
must pay within 30 calendar days of notification of the total expenses. If the requesting agency has
no pending sharing requests or is unable or unwilling to pay the balance within 30 calendar days, the
property must be sold and an equitable share will be distributed to the agency in lieu of transfer.

Payment of the costs and expenses or the federal share may not be waived, except in cases of extreme
hardship where the requesting agency lacks sufficient funds from previous equitable sharing or other
available funds to pay the total costs and expenses. The decision to waive the federal share and
expenses rests with MLARS. The requesting agency must demonstrate in writing that it is unable to
pay the total reimbursement, that the payment of such reimbursement would result in an immediate
and extreme financial hardship to the requesting agency, and that the benefit of receiving the property
outweighs the receipt of the agency’s otherwise applicable equitable share. MLARS does not issue
waivers except in unique circumstances (such as for property that would have otherwise been
destroyed). In those cases, MLARS will consider the agency’s submission and whether it is fiscally
advantageous to transfer the property, as opposed to liquidating the property and transferring the
proceeds, when determining whether to waive expenses.

IV. Equitable Sharing Payments
The USMS makes equitable sharing payments only after final approval of the sharing appears on the
applicable reports generated by the Consolidated Asset Tracking System (CATS). Payments will not
happen unless all information required to authorize the payment has been entered in CATS by the
investigative agency, the USAO, and MLARS, and the recipient agency complies with all reporting
requirements.

The USMS electronically transfers all equitable sharing payments to tribal, state, and local law
enforcement agencies. To electronically receive equitable sharing payments, a tribal, state, or local
law enforcement agency must submit a completed ACH form to the USMS at AFD.ACHFORMS@
usdoj.gov.14 Note that approved sharing of less than $500 will not be processed.



12
     “Accrued expenses” includes reimbursement of the cost of contractor expenses that are allocated by the federal agency to
     the forfeited asset.
13
     The federal share is the amount retained in the AFF that represents the percentage corresponding to the federal
     participation in the law enforcement effort. If a tribal, state, or local agency opts to take an asset for official use as opposed
     to receiving the net proceeds, the agency must pay the value of the federal share that would have been retained had the
     asset been sold. In these instances, the federal share is based on the current appraised value of the asset. In no case shall
     the federal share be less than 20% of the appraised value of the asset.
14
     The ACH form is available on MLARS Equitable Sharing Program page. Contact the Treasury Executive Office of Asset
     Forfeiture (TEOAF) or the USPIS for information about payments from these agencies.

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Chapter 15: Federal Official Use and Equitable Sharing



All equitable sharing payments are subject to certain offsets under the Debt Collection Improvement
Act of 1996 (DCIA), through which Treasury and other disbursing officials must offset federal
payments to collect delinquent non-tax debts owed to the United States or state governments, and the
Taxpayer Relief Act of 1997, which provides for the continuous levy of federal non-tax payments
to collect delinquent tax debts. The Treasury Offset Program (TOP) collects Taxpayer Identification
Numbers (TIN) and banking account information for the payee on any such offset payment.15

V.       Federal Contribution Form (FCF)
Each federal agency must complete the FCF to fully capture federal participation in the law
enforcement effort leading to forfeiture, and when appropriate, must request a transfer of funds from
one forfeiture fund (the AFF, TFF or U.S. Postal Inspection Service (USPIS) Forfeiture Fund16) to
the fund of the recipient agency. Any forfeited funds or proceeds from the sale or other disposition of
forfeited property may be transferred directly only to the appropriate forfeiture fund of the requesting
agency, not to the requesting agency itself.

When federal agencies from the same forfeiture program participate in a joint investigation, no
fund-to-fund monetary transfers occur. In these cases, the FCF serves the important function of
documenting the participation of each federal agency and also provides necessary information to the
sharing decision-maker who must evaluate the overall workhour and qualitative contributions of all
participating federal, tribal, state, and local agencies when determining sharing percentages for “cash/
proceeds” decisions.

When an AFF investigative agency participates in an investigation resulting in the seizure of property
processed for forfeiture by another federal investigative agency, it can record the seizure in CATS
by creating a “referral asset.” A referral asset is another method for capturing statistics on seizures to
document participation in an investigation.

An FCF may only be completed by the federal agencies listed in the chart below.




15
     On occasion, a delinquent debt giving rise to an offset may be attributable to another agency in the same governmental
     jurisdiction as the requesting agency. Agencies whose funds have been offset should review Guide Sec. V.E. for
     information relevant to seeking repayment of the offset funds from the responsible city, county, or state agency.
16
     The USPIS has the authority to directly receive asset forfeiture proceeds, expend funds, and manage its own asset
     forfeiture fund. See 39 C.F.R. §§ 2003 and 2601.

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                                                                     Chapter 15: Federal Official Use and Equitable Sharing



 NCIC/ORI CODE                  Agency
 CBPAMO000                      Customs and Border Protection- Air Operations (CBP-AO)
 CBPOBP000                      Customs and Border Protection- Border Patrol (CBP)
 CBPOFO000                      Customs and Border Protection- Field Operations (CBP-FO)
 DCATF0000                      Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF)
 DCDOS0000                      Department of State
 DCICE0000                      Immigration and Customs Enforcement (ICE)
 DCIS                           Defense Criminal Investigative Service (DCIS)
 DEA                            Drug Enforcement Administration (DEA)
 FBI                            Federal Bureau of Investigation (FBI)
 IRS                            Internal Revenue Service (IRS)
 MDFDA03T0                      Food and Drug Administration (FDA)
 TTB                            Tax and Trade Bureau (TTB)
 USCG                           U.S. Coast Guard (USCG)
 USDAIG                         U.S. Department of Agriculture, Office of Inspector General (USDA-OIG)
 USMS                           U.S. Marshals Service (USMS)
 USPS00000                      U.S. Postal Service (USPS)
 USSS                           U.S. Secret Service (USSS)

When a TFF agency becomes involved in an ongoing joint investigation involving an AFF agency
and tribal, state, or local law enforcement agencies, and an existing MOU governs sharing between
the AFF agency and the participating tribal, state, and local law enforcement agencies, the sharing
percentages agreed on in the MOU must be reduced to include a transfer to the TFF in recognition of
the Treasury agency’s participation. When a federal agency is invited to join an ongoing investigation,
the agency must immediately notify the lead agency and the USAO of its involvement. Any issues
that cannot be resolved through communication between case agents should be submitted to the
appropriate special agent-in-charge (SAC) for the involved agencies. Agency headquarters will not
become involved in the resolution of issues unless the SAC from either of the participating agencies
requests assistance. Prompt and accurate communication about sharing matters is important and
should occur in the first instance at the field level.

The deadline for agencies to submit FCFs is 45 days after forfeiture. Agencies may submit FCFs for
intra-fund joint investigations (i.e. from one Department seizing agency to another) electronically
through the eShare Portal.17

VI. Reverse Sharing
The Department investigative agencies participating in an investigation resulting in the seizure
of property that is processed for forfeiture by a tribal, state, or local law enforcement agency or
foreign jurisdiction should create a “referral asset” in CATS to document their participation in the
investigation. If any proceeds are received from the state, local, or tribal law enforcement agency or
foreign jurisdiction through “reverse sharing,” the agency’s share will be deposited into the AFF.




17
     Agencies should continue to submit hard copies of the FCF to Treasury and Department of Homeland Security (DHS)
     agencies.

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Chapter 15: Federal Official Use and Equitable Sharing



VII. International Sharing of Forfeited Assets
Department policy applicable to international sharing, as well as the forfeiture of assets located
overseas, is in Chapter 8, Section XIII of this Manual. The Department encourages international asset
sharing with countries that facilitate the forfeiture of assets under U.S. law. International sharing,
which requires both Department of Justice and Department of State’s approval and concurrence
by Department of the Treasury, must be either approved or pre-approved before any domestic
equitable sharing can take place. The percentage granted to a foreign country often depends upon
international sharing agreements or factors that differ significantly from the “workhour and qualitative
contribution” standard used in determining domestic sharing.

Funds shared with the United States by the foreign government that have not been forfeited
under U.S. law may not be eligible for domestic equitable sharing. These funds would be eligible
for domestic equitable sharing only if they are forfeited under U.S. law.18 Nevertheless, if U.S.
prosecutors or investigators assisted in a foreign case that resulted in a foreign forfeiture, they are
encouraged to contact MLARS to determine if it might be appropriate to submit a sharing request
to that country, as the funds still may be deposited into the AFF and be applied for Asset Forfeiture
Program purposes. All requests to foreign countries for asset sharing must be submitted by MLARS
in coordination with the Department’s Office of International Affairs (OIA).




18
     See also Chap. 8, Sec. XIII in this Manual.


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                                Appendix A:
        Approval, Consultation, and Notification Requirements Chart


 Adoption (State/Local Seizures)
 Direct Adoption               Approval           AFPM Chap. 3.V.A                MLARS must authorize direct adoption by U.S. Attorney
 by U.S. Attorney                                                                 for firearms, ammunition, explosives, and any asset
                                                                                  that does not meet the minimum net equity and value
                                                                                  thresholds in AFPM Chap. 1.I.B.1
 Direct Adoption               Approval           AFPM Chap. 3.V.A                U.S. Attorney may authorize direct adoption of assets
 by U.S. Attorney                                                                 that meet the applicable net equity and value thresholds
                                                                                  and property associated with child pornography

 Direct Referral               Approval           AFPM Chap. 3.V.B                MLARS must authorize direct referral by U.S. Attorney
 of Assets Other                                                                  for real property
 than Real
 Property by U.S.
 Attorney
 Direct Referral               Approval           AFPM Chap. 3.V.B                U.S. Attorney may authorize direct referral of any asset
 by U.S. Attorney                                                                 other than real property



Attorneys’ Fees
EAJA Awards                 Approval                AFPM Chap. 12.II.B;          MLARS must give approval to use funds to pay EAJA
                                                    JM § 9-117.220               awards arising from third party petitioners in criminal
                                                                                 forfeiture actions.

Exempt Fees                 Approval                AFPM Chap. 11.IX,            AAG must give approval to enter into a formal or informal,
from Forfeiture                                     Chap. 12.IV;                 written or oral agreement to exempt from forfeiture an
                                                    JM §§ 9-113.600,             asset transferred to an attorney as fees for legal services,
                                                    9-120.116                    including those restrained as substitute assets.

Proceedings                 Approval                AFPM Chap. 12.IV;            AAG must give approval for any action to institute a
Against Fees                                        JM § 9-120.112               criminal or civil forfeiture proceeding against an asset
                                                                                 transferred to an attorney as a fee for legal services.

Business Entities
Facilitating                Approval                AFPM Chap. 1.I.D.5,          U.S. Attorney must provide written authorization before
Property                                            Chap. 5.III.D.1.b            the USAO: (1) seizes or files a civil forfeiture complaint
                                                                                 against an ongoing business based on a facilitation
                                                                                 theory or (2) extends 60-day deadline to file civil forfeiture
                                                                                 complaint against an ongoing business based on a
                                                                                 facilitation theory.




AAG         Assistant Attorney General                                    JM             Justice Manual

AFF         Assets Forfeiture Fund                                        MLARS          Money Laundering and Asset Recovery Section

AFMS        Justice Management Division, Asset Forfeiture Management Staff OIA           Office of International Affairs

AFPM        Asset Forfeiture Policy Manual (2021)                         SADF           Seized Assets Deposit Fund

AG          Attorney General                                              TFF            Department of the Treasury Forfeiture Fund

DAG         Deputy Attorney General                                       Treasury       Department of the Treasury

Department Department of Justice                                          USAO           U.S. Attorney’s Office

EAJA        Equal Access to Justice Act                                   USMS           U.S. Marshals Office

EOUSA       Executive Office for U.S. Attorneys                           USVSST Fund United States Victims of State Sponsored Terrorism Fund

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Approval, Consultation, and Notification Requirements Chart : Civil Forfeiture Complaint



Business Entities
Facilitating                Approval                AFPM Chap. 5.III.D.1.b       MLARS Chief must provide written authorization before
Property                                                                         the Criminal Division or other Department component not
                                                                                 partnering with the USAO may extend 60-day deadline to
                                                                                 file civil forfeiture complaint against an ongoing business
                                                                                 based on a facilitation theory.

Losses or                   Notify                  AFPM Chap. 9.IV              USAO, USMS, or investigative agency must notify MLARS
Liabilities,                                                                     and AFMS when they learn that a restrained or seized
Post-Seizure                                                                     business will lose money, has liabilities, or has insufficient
                                                                                 equity.

Net Losses,                 Approval                AFPM Chap. 1.I.D.1           MLARS must give approval, in coordination with AFMS
Planning for                                        and 1.I.D.4,                 and USMS, if the restraint, seizure, or forfeiture of
Seizure and                                         Chap. 9.IV                   a business could create a deficit to the AFF for that
Restraint                                                                        business.

Prior to                    Consult                 AFPM Chap. 1.I.D.4,          USAO must consult MLARS and USMS prior to filing
Instituting                                         Chap. 4.III.C,               indictment, information, or complaint in any forfeiture
Forfeiture                                          Chap. 9.II;                  action against, seeking the seizure of, or moving to
Proceedings                                         JM §§ 9-105.330,             restrain an ongoing business.
                                                    9-111.124
                                                                                 JM § 9-105.330 requires consultation with MLARS prior
                                                                                 to seeking forfeiture of a business on the theory that it
                                                                                 facilitated money laundering. JM 9-111.124 says that
                                                                                 USAO must consult MLARS prior to initiating a forfeiture
                                                                                 action against, or seeing the seizure of, or moving to
                                                                                 restrain an operating business. MLARS will coordinate
                                                                                 with EOUSA to update JM.

Civil Forfeiture Complaint
Facilitating                Approval                AFPM Chap. 5.III.D           U.S. Attorney must provide written authorization before
Property                                                                         USAO files any civil forfeiture complaint based on a
                                                                                 theory that the property facilitated or concealed underlying
                                                                                 criminal activity.

Facilitating                Approval                AFPM Chap. 5.III.D           MLARS Chief must provide written authorization before
Property                                                                         the Criminal Division or other Department component
                                                                                 not partnering with the USAO files any civil forfeiture
                                                                                 complaint based on a theory that the property facilitated or
                                                                                 concealed underlying criminal activity.

Correspondent Accounts
Restraining                 Approval                AFPM Chap. 8.IX;             MLARS must give approval before serving a restraining
Order or Warrant                                    AAG Chertoff                 order, seizure warrant, or warrant of arrest on a
                                                    Memorandum;                  correspondent bank account under 18 U.S.C. § 981(k)
                                                    USA Patriot Act, § 319,      (MLARS Chief will get concurrence from OIA director).
                                                    codified at 18 U.S.C.
                                                    § 981(k)




AAG         Assistant Attorney General                                    JM             Justice Manual

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AFPM        Asset Forfeiture Policy Manual (2021)                         SADF           Seized Assets Deposit Fund

AG          Attorney General                                              TFF            Department of the Treasury Forfeiture Fund

DAG         Deputy Attorney General                                       Treasury       Department of the Treasury

Department Department of Justice                                          USAO           U.S. Attorney’s Office

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EOUSA       Executive Office for U.S. Attorneys                           USVSST Fund United States Victims of State Sponsored Terrorism Fund

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                                                      Approval, Consultation, and Notification Requirements Chart : International Forfeiture



Correspondent Accounts
Subpoena or                 Approval                AAG Chertoff                 MLARS must give approval before AAG can issue
Summons                                             Memorandum;                  summonses or subpoenas to foreign banks that maintain
                                                    AG order delegating          correspondent accounts in the United States to get
                                                    authority to AAG;            records (MLARS Chief will get approval from OIA as well).
                                                    USA Patriot Act, § 319,
                                                    codified at 31 U.S.C.
                                                    § 5318(k)

Equitable Sharing
Assets Valued               Approval                AFPM Chap.                   MLARS Chief has authority to rule on equitable sharing
$1 to $5 Million                                    15.III.E.3.a                 requests for judicially and administratively forfeited assets
                                                                                 in which: (1) the property to be shared is valued between
                                                                                 $1 and $5 million and (2) MLARS, seizing agency, and
                                                                                 USAO agree on the sharing.

Assets Valued               Approval                AFPM Chap.                   AAG has the authority to rule on equitable sharing
Over $5 Million                                     15.III.E.3.b                 requests if: (1) the property is over $5 million and (2)
                                                                                 MLARS, seizing agency, and USAO all agree on the
                                                                                 sharing.

International               Approval                AFPM Chap. 8.XIII,           Secretary of State and AG approval required before
Sharing                                             Chap. 15.VIII;               forfeited assets can be shared internationally. In cases
                                                    JM § 9-116.400               involving the AFF, (1) AAG approves uncontested
                                                                                 international sharing proposals over $5 million and
                                                                                 (2) MLARS Chief approves uncontested international
                                                                                 equitable sharing proposals for $5 million or less.

Multi-District /            Approval                AFPM Chap.                   DAG must approve equitable sharing in cases involving:
Real Property                                       15.III.E.3.b                 (1) multiple districts, (2) real property transfers to a state
Transfer /                                          JM § 9-116.210               or local agency for law enforcement related use, or (3)
Disagreement                                                                     disagreement among USAO, MLARS, and seizing agency
                                                                                 on the sharing, regardless of the property value.

                                                                                 JM § 9-116.210 says that DAG must approve equitable
                                                                                 sharing in cases involving: (1) $1 million or more in
                                                                                 forfeited assets, (2) multi-district cases, or (3) cases
                                                                                 involving real property transfers to a state or local agency
                                                                                 for law enforcement related use. MLARS is coordinating
                                                                                 with EOUSA to update JM.


Transfer of                 Approval                AFPM Chap.                   MLARS must approve equitable sharing in cases involving
Tangible Items                                      15.III.E.3.c                 the transfer of tangible items.

International Forfeiture
Businesses                  Consult                 AFPM Chap. 8.IV               MLARS must be consulted before the United States asks
Located Abroad                                                                    a foreign government to restrain or seize an ongoing
                                                                                  business or its assets, or appoint a guardian, or similar
                                                                                  fiduciary for the same.


AAG         Assistant Attorney General                                    JM             Justice Manual

AFF         Assets Forfeiture Fund                                        MLARS          Money Laundering and Asset Recovery Section

AFMS        Justice Management Division, Asset Forfeiture Management Staff OIA           Office of International Affairs

AFPM        Asset Forfeiture Policy Manual (2021)                         SADF           Seized Assets Deposit Fund

AG          Attorney General                                              TFF            Department of the Treasury Forfeiture Fund

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Department Department of Justice                                          USAO           U.S. Attorney’s Office

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EOUSA       Executive Office for U.S. Attorneys                           USVSST Fund United States Victims of State Sponsored Terrorism Fund

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Approval, Consultation, and Notification Requirements Chart : Net Equity Thresholds



International Forfeiture
Civil Forfeiture            Consult                 AFPM Chap. 8.VIII;            OIA (which will consult with MLARS) must be notified
                                                    JM § 9-13.526                 before filing an in rem forfeiture action based on
                                                                                  28 U.S.C. § 1355(b)(2).
Enforcement/                Consult                 JM § 9-13.526                 OIA (which will consult with MLARS) must be consulted
Recognition                                                                       before taking steps to present to a foreign government,
in Foreign                                                                        for enforcement or recognition, any civil or criminal
Jurisdiction                                                                      forfeiture order entered in the United States for property
                                                                                  located within the foreign jurisdiction.
Enforcement                 Approval                AFPM Chap. 8.XII.B            MLARS must authorize: (1) foreign forfeiture or
of Foreign                                                                        confiscation judgments under 28 U.S.C. § 2467(b)(2)
Judgments and                                                                     where the amount is $5 million or less; and (2) all foreign
Restraining                                                                       forfeiture restraining orders under § 2467(d)(3)(B)(ii).
Orders
Repatriation                Consult                 AFPM Chap. 8.VI               MLARS and OIA must be consulted when seeking
                                                                                  repatriation of forfeitable assets located abroad.

Net Equity Thresholds
Decrease                    Approval                AFPM Chap. 1.I.D.1;          Supervisory-level approval, in writing, from the USAO
Thresholds                                          JM § 9-111.120               (for judicial forfeitures) or seizing agency (for
                                                                                 administrative forfeitures) required for any downward
                                                                                 departure from the seizing thresholds. Reason for waiver
                                                                                 must be explained in the case file.

Increase                    Consult                 AFPM Chap. 1.I.D.1,          USAO (which will consult seizing agencies affected by the
Thresholds                                          Chap. 3.I n.2;               change) may institute higher district-wide thresholds for
                                                    JM § 9-111.120               judicial forfeitures.


Official Use
Property Value              Notify                  AFPM Chap. 15.I.B            Seizing agency and/or USMS must notify MLARS where
$50,000 or More                                                                  property requested for official use is valued at over
                                                                                 $50,000.

Asset Seized by             Decision                AFPM Chap. 15.I.B            Head of the seizing agency, or a designated
Its Own Agency                                                                   headquarters official, decides whether to put assets
                                                                                 seized by the agency into its own official use.

Requests by                 Approval                AFPM Chap. 15.I.C            Lead federal seizing agency approves requests for
Other Federal                                                                    official use by other federal agencies. If more than one
Agencies                                                                         Department component seeks to retain the same forfeited
                                                                                 property for official use, MLARS will determine which
                                                                                 agency may place the property into official use.




AAG         Assistant Attorney General                                    JM             Justice Manual

AFF         Assets Forfeiture Fund                                        MLARS          Money Laundering and Asset Recovery Section

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AFPM        Asset Forfeiture Policy Manual (2021)                         SADF           Seized Assets Deposit Fund

AG          Attorney General                                              TFF            Department of the Treasury Forfeiture Fund

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Department Department of Justice                                          USAO           U.S. Attorney’s Office

EAJA        Equal Access to Justice Act                                   USMS           U.S. Marshals Office

EOUSA       Executive Office for U.S. Attorneys                           USVSST Fund United States Victims of State Sponsored Terrorism Fund

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                                          Approval, Consultation, and Notification Requirements Chart : Plea Agreements or Settlements



Official Use
Payment                     Approval                AFPM Chap. 15.I.E            MLARS Chief must approve requests for exceptions for
of Liens on                                                                      payment of liens on personal property placed into official
Personal                                                                         use from the AFF.
Property Placed
into Official Use

Plea Agreements or Settlements
Interlocutory               Consult                 AFPM Chap. 2.V.B.3,          Consultation with MLARS is required prior to seeking an
Sale of                                             Chap. 11.VIII.D n.17         order for the interlocutory sale of cryptocurrency.
Cryptocurrency

Administrative              Consult                 AFPM Chap. 5.II.E,           Seizing agency must be consulted before entering into
Forfeiture,                                         Chap. 11.I.B.4;              plea agreements or settlements returning property that is
Return of                                           JM § 9-113.103               the subject of administrative forfeiture proceedings. USAO
Property                                                                         should not agree to return property that is the subject of
                                                                                 a pending administrative forfeiture proceeding, unless
                                                                                 (1) seizing agency agrees to suspend administrative
                                                                                 forfeiture or (2) MLARS approves the decision to return
                                                                                 the property.

Administrative              Approval                AFPM Chap. 5.II.E,           Seizing agency must be consulted before entering into
Forfeiture,                                         Chap. 11.I.B.4;              plea agreements or settlements returning property that is
Return of                                           JM § 9-113.104               the subject of administrative forfeiture proceedings. USAO
Property                                                                         should not agree to return property that is the subject of
                                                                                 a pending administrative forfeiture proceeding, unless
                                                                                 (1) seizing agency agrees to suspend administrative
                                                                                 forfeiture or (2) MLARS approves the decision to return
                                                                                 the property.

Administrative              Consult                 AFPM Chap. 11.III.C;         Seizing agency headquarters must be consulted where
Forfeiture Used                                     JM § 9-113.300               an administrative forfeiture is necessary to effectuate an
to Effectuate                                                                    agreement.
Agreement
                                                                                 JM § 9-113.300 requires consultation with the seizing
                                                                                 agency headquarters where an administrative forfeiture
                                                                                 is necessary to effectuate a settlement. MLARS will
                                                                                 coordinate with EOUSA to update JM.

Deferred                    Approval                AFPM Chap. 11.I.A            TEOAF counsel and TFF seizing agency must be
Prosecution                                                                      consulted for additional guidance on plea agreements or
Agreement                                                                        settlements involving DPAs or NPAs.
(DPA) or
Non-Prosecution
Agreement
(NPA)

Management or               Consult                 AFPM Chap. 9.II,             USAO or seizing agency (in administrative forfeitures)
Disposition                                         Chap. 10.I.D,                should consult USMS before taking any property
                                                    Chap. 11.I.B.2               management or disposition actions.




AAG         Assistant Attorney General                                    JM             Justice Manual

AFF         Assets Forfeiture Fund                                        MLARS          Money Laundering and Asset Recovery Section

AFMS        Justice Management Division, Asset Forfeiture Management Staff OIA           Office of International Affairs

AFPM        Asset Forfeiture Policy Manual (2021)                         SADF           Seized Assets Deposit Fund

AG          Attorney General                                              TFF            Department of the Treasury Forfeiture Fund

DAG         Deputy Attorney General                                       Treasury       Department of the Treasury

Department Department of Justice                                          USAO           U.S. Attorney’s Office

EAJA        Equal Access to Justice Act                                   USMS           U.S. Marshals Office

EOUSA       Executive Office for U.S. Attorneys                           USVSST Fund United States Victims of State Sponsored Terrorism Fund

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Approval, Consultation, and Notification Requirements Chart : Planning for Seizure/Restraint



Plea Agreements or Settlements
Negotiations                Consult                 AFPM Chap. 11.I.B.2;         USMS and seizing agency must be consulted during
                                                    JM § 9-113.103               settlement negotiation where appropriate. When a
                                                                                 settlement involves complex assets, complex terms, or a
                                                                                 risk of loss to the government, prosecutors should consult
                                                                                 USMS.

Settlement Over             Approval                AFPM Chap. 11.II;            DAG must approve settlements where the amount to
$2 Million and                                      JM § 9-113.200               be released exceeds $2 million and 15% of the amount
15% of Amount                                                                    involved.
Involved

Settlement over             Approval                AFPM Chap. 11.II;            MLARS Chief has authority to approve a forfeiture
$1 Million but                                      JM § 9-113.200               settlement over $1 million, unless the amount to be
under $2 Million                                                                 released exceeds 15% of the amount involved and is
and 15% of                                                                       greater than $2 million.
Amount Involved

Settlement                  Approval                AFPM Chap. 11.II;            U.S. Attorney may approve any settlement in a criminal
under $1 Million                                    JM § 9-113.200               or civil forfeiture claim if (1) the amount involved is less
or between                                                                       than $1 million, regardless of the amount to be released
$1 and $5 Million                                                                or (2) the amount involved is between $1 and $5 million,
if Released                                                                      if the amount to be released does not exceed 15% of the
Amount Under                                                                     original claim.
15% of Original
Claim

Taxes                       Notify                  AFPM Chap. 11.I.B.9          USAO should notify appropriate agency (like IRS) prior
                                                                                 to any settlement that will release assets to claimant/
                                                                                 defendant known (or likely to have) other outstanding
                                                                                 obligations to the United States (like taxes).

Unsecured                   Approval                AFPM Chap. 11.I.B.7;         USAO must obtain approval from MLARS (which will
Partial Payment                                     JM § 9-113.107               consult USMS) prior to any settlement that provides for
                                                                                 unsecured partial payment.

Unsecured                   Consult                 AFPM Chap. 11.I.B.7;         USAO must obtain approval from MLARS (which will
Partial Payment                                     JM § 9-113.107               consult USMS) prior to any settlement that provides for
                                                                                 unsecured partial payment.

Planning for Seizure/Restraint
Loss or                     Consult                 AFPM Chap. 1.I.D.1           USAO must consult USMS and seizing agency (in
Liabilities                                         and 1.I.D.3.b;               judicial forfeitures) before seizing assets with potential
                                                    JM § 9-111.123               liabilities.
                                                                                 Seizing agency must consult USMS (in administrative
                                                                                 forfeitures) in forfeiture of non-routine assets.

Management or               Consult                 AFPM Chap. 9.II,             USAO should consult USMS before submitting or filing
Disposition                                         Chap. 10.I.D                 any proposed court orders to restrain, seize, or impose
                                                                                 property or financial managment obligations on property in
                                                                                 USMS custody.



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DAG         Deputy Attorney General                                       Treasury       Department of the Treasury

Department Department of Justice                                          USAO           U.S. Attorney’s Office

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                                                               Approval, Consultation, and Notification Requirements Chart : Real Property



Planning for Seizure/Restraint
Planning                    Consult                 AFPM Chap. 1.I.A–D;          USMS must be consulted as part of the planning process
Discussions                                         JM § 9-111.110               prior to seizure/restraint and forfeiture of complex assets.


Third Party                 Approval                AFPM Chap. 1.I.B             USAO must give approval prior to the release of sensitive
Contractors                                                                      law enforcement information to third party contractors for
                                                                                 the purpose of pre-seizure planning.

Real Property
Contaminated                Consult                 AFPM Chap. 4.I.E;            Seizing agency, USMS, MLARS, and AFMS must be
Real Property                                       JM § 9-111.400               consulted prior to seizure of contaminated real property.
                                                                                 (JM says USAO should exercise its discretion.)

Liens or                    Approval                AFPM Chap. 10.III.A;         MLARS must approve any requests for payment of liens
Mortgages                                           JM § 9-113.800               and mortgages in excess of sale proceeds.

Net Loss,                   Consult                 AFPM Chap. 1.I.D.1,          Consultation between MLARS, AFMS, and participating
Planning for                                        Chap. 4.I.A–B                agencies (USAO, seizing agency, USMS) is required if
Seizure and                                                                      the restraint, seizure, or forfeiture of real property could
Restraint                                                                        create a deficit to the AFF for that property.

Net Loss,                   Notify                  AFPM Chap. 1.I.D.3.b.1,      If USAO decides to continue with forfeiture, it must (1)
Pre-Seizure                                         Chap. 4.I.B.2                notify MLARS and AFMS and (2) obtain approval in
                                                                                 writing from supervisory-level official at USAO.

Net Loss,                   Approval                AFPM Chap. 1.I.D.3.b.1,      If USAO decides to continue with forfeiture, it must (1)
Pre-Seizure                                         Chap. 4.I.B.2                notify MLARS and AFMS, and (2) obtain approval in
                                                                                 writing from supervisory-level official at USAO.

Transfer:                   Approval                AFPM                         AAG must approve real property transfers to state or
Equitable                                           Chap. 15.III.E.3 n.11,       local agencies for official use in fulfilling a compelling law
Sharing                                             Chap. 4.V.A                  enforcement need.

Transfer:                   Approval                AFPM Chap. 4.V.D             DAG must approve a real property transfer to a federal
Federal Purpose                                                                  agency for use in fulfilling a law enforcement need, or for
                                                                                 serving a significant and continuing federal purpose.

Transfer:                   Approval                AFPM Chap. 4.V.C             AG must approve real property transfers to state or local
Operation                                                                        governmental agencies, or its transferees, for use in the
Goodwill                                                                         Operation Goodwill Program.

Transfer:                   Approval                AFPM Chap. 4.V.E             DAG must approve real property transfers to a state for
Recreational,                                                                    use as a recreational or historic site, or for the preservation
Historic                                                                         of natural conditions.
Preservation
purpose

Transfer:                   Approval                AFPM Chap. 4.V.B;            DAG must approve real property transfers to state or local
Weed and Seed                                       JM § 9-116.500               agencies for further transfer to other government agencies
                                                                                 or non-profit agencies for use in Weed and Seed Program.



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Approval, Consultation, and Notification Requirements Chart : Remission or Restoration



Real Property
Facilitating                Approval                AFPM Chap. 5.III.D.1.c       U.S. Attorney must provide written authorization before
Property                                                                         USAO files a civil forfeiture complaint against personal
                                                                                 residences based on a facilitation theory. MLARS Chief
                                                                                 must provide written authorization before the Criminal
                                                                                 Division or other Department component not partnering
                                                                                 with the USAO files a civil forfeiture complaint against
                                                                                 personal residences based on a facilitation theory.

Property                    Consult                 AFPM Chap. 4.I               When USAO identifies real property for forfeiture that is
Located in                                                                       located in a different district, the USAO should consult with
Another District                                                                 the USAO district where the property is located to discuss
                                                                                 any state-specific issues relating to the forfeiture.

Property                    Notify                  AFPM Chap. 11.I.B.6          To settle a forfeiture action involving property located in
Located in                                                                       another district, the USAO handling the forfeiture must
Another District                                                                 notify and coordinate with USMS in the district where the
                                                                                 property is located.

Valuation                   Consult                 AFPM Chap. 4.I.B             Federal seizing agency and USAO are required to consult
                                                                                 USMS to discuss valuation products, lien information,
                                                                                 occupancy issues, and other factors that may impact
                                                                                 seizure and forfeiture decisions.

Remission or Restoration
Remission                   Approval                AFPM Chap. 13.I,             MLARS must approve (in judicial forfeitures) petitions
or Mitigation                                       Chap. 14.II.A                for remission or mitigation.
Petitions                                                                        Seizing agency must approve (in administrative
                                                                                 forfeitures) petitions for remission or mitigation.

Restoration                 Approval                AFPM Chap. 14.II.B.1         MLARS must approve requests for restoration.
Requests


Seized Cash Management
Exceptions to               Approval                AFPM Chap. 2.VI;             MLARS must give approval for exceptions to the policy
Prompt Deposit                                      JM § 9-111.600               requiring prompt deposit of any seized cash into the
                                                                                 SADF, unless the seized cash is less than $5,000.




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                                                      Approval, Consultation, and Notification Requirements Chart : Trustees and Monitors



Structuring
Seizure                     Approval                AFPM Chap. 2.VII.A           If no criminal charges have been filed, U.S. Attorney
                                                                                 must provide written authorization before the USAO seeks
                                                                                 a warrant to seize structured funds where no probable
                                                                                 cause that the structured funds were generated by
                                                                                 unlawful activity or that the structured funds were intended
                                                                                 for use in, or to conceal or promote, ongoing or anticipated
                                                                                 unlawful activity.

Seizure                     Approval                AFPM Chap. 2.VII.A           If no criminal charges have been filed, MLARS Chief must
                                                                                 provide written authorization before the Criminal Division
                                                                                 or other Department component not partnering with the
                                                                                 USAO seeks a warrant to seize structured funds where no
                                                                                 probable cause that the structured funds were generated
                                                                                 by unlawful activity or that the structured funds were
                                                                                 intended for use in, or to conceal or promote, ongoing or
                                                                                 anticipated unlawful activity.

                                                                                 The basis for linking the structured funds to additional
                                                                                 unlawful activity must receive appropriate supervisory
                                                                                 approval and be memorialized in the prosecutor’s records.

150-day deadline            Approval                AFPM Chap. 2.VII.C           U.S. Attorney must provide written authorization before
                                                                                 the USAO may extend the 150-day deadline by 60 days to
                                                                                 file criminal charges or a civil complaint against the asset.

150-day deadline            Approval                AFPM Chap. 2.VII.C           MLARS Chief must provide written authorization before
                                                                                 the Criminal Division or other Department component
                                                                                 not partnering with the USAO may extend the 150-day
                                                                                 deadline by 60 days to file criminal charges or a civil
                                                                                 complaint against the asset.

Terrorism
State Sponsor of               Consult              AFPM Chap. 1.I.D.5,          Consult with MLARS as early as possible in any forfeiture
Terrorism                                           Chap. 10.III.D.6             case involving a state sponsor of terrorism that may
                                                                                 require deposits to the USVSST Fund.

Trustees and Monitors
Appointment                    Consult              AFPM Chap. 9.I.C             USAO must consult with MLARS before seeking
                                                                                 appointment of a trustee, monitor, or similar fiduciary in
                                                                                 any forfeiture case.




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11                                UNITED STATES DISTRICT COURT
12                              NORTHERN DISTRICT OF CALIFORNIA
13                                    SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                   )   CASE NO. CV 20-7811 RS
                                                 )
16           Plaintiff,                          )   REPLY IN SUPPORT OF MOTION TO STRIKE
                                                 )   THE CLAIMS OF CLAIMANTS BATTLE
17       v.                                      )   BORN INVESTMENTS COMPANY, LLC,
                                                 )   FIRST 100, LLC AND 1ST ONE HUNDRED
18   Approximately 69,370 Bitcoin (BTC), Bitcoin )   HOLDINGS, LLC
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )
19   Cash (BCH) seized from                      )   Hearing Date:   September 9, 2021
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx )            Time:           1:30 p.m.
20                                               )   Court:          Hon. Richard Seeborg
                                                 )
             Defendant.                          )
21
     First 100, LLC, 1st One Hundred Holdings,   )
22   LLC, and Battle Born Investments            )
     Company, LLC,                               )
23                                               )
             Claimants.                          )
24                                               )

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 1 I.       INTRODUCTION

 2          Claimants Battle Born Investments Company, LLC; First 100, LLC; and 1st One Hundred

 3 Holdings, LLC (collectively and hereinafter, “Claimants”) come no closer to making a colorable claim

 4 in their opposition brief than they did in their verified claims or meet and confer discussions with

 5 government counsel. In plain terms, Claimants argue that they are entitled to special treatment with

 6 respect to lateness. As to standing, they make argumentative leaps amounting to nothing more than

 7 speculative assertions of ownership undermined by the very nature of the Defendant Property as illicit

 8 proceeds from a darknet marketplace.

 9          Claimants provide no valid justification for their late filing. In fact, their rationale for asking the

10 Court to give them a pass further militate in favor of dismissing their claims at this juncture. Claimants

11 plainly admit that they did not know what the filing deadline was or even that it existed. To overcome

12 this deficiency, they double down on their mea culpa, which actually has the effect of revealing the

13 extent of their negligence in pursuing their claims. There may be situations where a late filing should be

14 excused. This is not one of them.

15          Claimants also fail to demonstrate standing. Their arguments have evolved radically over a short

16 period of time yet continue to miss the mark. Their claims are based on their purchase of the bankruptcy

17 estate of Raymond Ngan, but there is no evidence that Ngan ever possessed, let alone legally owned, the

18 bitcoin at issue. As an alternate theory, Claimants have argued that 13 different individuals purportedly
19 associated with Ngan may be Individual X. Each of those guesses has been wrong, and there is no

20 indication that those associations—such as being in the same city at the same time as Ngan—would

21 make property stolen by another person the property of Ngan’s bankruptcy estate.

22          The reasoning for this confusing line of argument is readily apparent—Claimants’ attempt to

23 discredit the government’s conclusion regarding the source of the Defendant Property as originating in

24 Silk Road is the only real avenue they have to overcome their lack of standing. According to the data

25 preserved in Silk Road’s servers, seized by the government in the prosecution of Ross Ulbricht and Silk

26 Road in 2013, the Defendant Property in this case originated from the same addresses used by Silk Road

27 users to purchase drugs and other illicit goods and services. In other words, before they were stolen and

28 moved to 1BAD and 1BBq, the seized 69,370 bitcoins (“BTC”) were located in wallets that were

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 1 subsequently seized and forfeited by the government in Ulbricht’s criminal prosecution. This is

 2 confirmed by blockchain analysis and Ulbricht’s own admission that the Defendant Property consists of

 3 proceeds traceable to criminal activity related to Silk Road, including narcotics trafficking and money

 4 laundering. Claimants accordingly have no basis for their claims, and the Court should strike them now.

 5          Finally, to avoid unnecessary and protracted litigation, and to the extent that revealing Individual

 6 X’s identity in a safe manner would assist the Court in evaluating the claims, the government is willing

 7 to disclose the identity of Individual X to the Court, ex parte, and in camera. 1

 8 II.      ARGUMENT

 9          A.      Claimants Fail to Provide a Legitimate Reason to Justify Their Untimely Claims

10          Claimants admit that they missed the deadline to file their claims because they did not know

11 what the deadline was or even that a deadline existed. Yet, they advance two main arguments to

12 counteract this insurmountable hurdle, both of which militate in favor of striking their claims.

13          First, Claimants argue that they were entitled to direct notice, and demand an opportunity to

14 conduct discovery to ascertain what steps the government took to identify them as potential claimants. 2

15 Ngan is one of dozens of individuals who have claimed ownership of 1HQ3 without having the private

16 key to access or move the funds in the Bitcoin address. 3 All Claimants have connecting Ngan to 1HQ3

17
           1
             There are real safety concerns for keeping the identity of Individual X confidential, including
18 threats Individual X received from Ulbricht.
19          2
              Claimants also blame the government for not mentioning the deadline until the meet and confer
     on May 24, 2021. See Opp’n at 19 (“It was not until two months later, during a virtual meeting to
20   discuss the claims on May 24, 2021, that the Government first mentioned that the claims were late.”).
     Claimants insist on representing the nature of those discussions as settlement discussions. But as Jeffrey
21   Nicholas states in his declaration, Claimants’ counsel undertook a “process of compiling supporting
     documentation and preparing a memo outlining [their] position.” Dkt. No 98-1 ⁋ 5. A discussion of that
22   compilation and the basis of their claims so that the government could better understand the claims was
     precisely the reason for the meeting on May 24. There was nothing to settle because at no point have
23   Claimants articulated a claim sufficiently valid to warrant any type of settlement.
24          3
              Because Bitcoin was designed to cut out intermediaries, holding the private key is critical.
     Indeed, there is a reason for the phrase “not your keys, not your bitcoin,” because it “exemplifies the
25   importance of actually possessing the private key to a Bitcoin address to establish true ownership.”
     Haynie Decl., Dkt. No. 90-1 ⁋ 17. Claimants dismiss this reality by arguing that Bitcoin “lacks the
26   traditional means of establishing ownership, or even possession . . . .” Opp’n at 8. But if Ngan was the
     true owner of 1HQ3, there is no reasonable explanation why other parties would have also had the
27   private key to that address. If that was the case, the 69,370 BTC would not have lasted in 1HQ3 for a
     second—much less seven years. And if Individual X stole or illegitimately moved the bitcoin in 1HQ3
28   from Ngan—something not borne out by publicly available information on the blockchain—Ngan would
     have reported it to law enforcement. But Ngan did no such thing, because that did not occur.
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 1 is a screenshot of 1HQ3 from a publicly available website that Ngan sent in a text message to a private

 2 party. This screenshot, which could be generated by anybody, is insufficient to establish ownership,

 3 possession, or control. How this would trigger a direct notice requirement is incomprehensible.

 4          According to Claimants, nothing in the record “suggests that the Government undertook an

 5 investigation concerning the identity of other persons or identities who may have an ownership interest

 6 in the 1HQ3 wallet.” See Opposition Brief (“Opp’n”), Dkt. No. 98 at 13. This is simply incorrect. There

 7 is ample evidence of the investigation memorialized in each of the declarations submitted by Special

 8 Agent (SA) Haynie in this action. Moreover, the extent of the government’s investigation into one of the

 9 most sophisticated online criminal marketplaces and subsequent prosecution of its owner cannot be

10 overstated. When the government seized the Silk Road website in 2013, it preserved its servers, which

11 contain the entire transaction history and users of the website. This includes a history of the transactions

12 resulting in 70,411.46 BTC withdrawn from Silk Road on May 6, 2012 which, based on blockchain

13 tracing, ended up in 1HQ3. The subsequent investigation of Silk Road’s assets—including 1HQ3—

14 revealed no connection whatsoever to Ngan or Claimants. Indeed, through its extensive investigation,

15 the government found no other individual who would have a claim to the proceeds of Silk Road other

16 than Ross Ulbricht. Claimants’ argument that the government failed to conduct a proper investigation is

17 smoke and mirrors, and nothing more than an attempt to conduct irrelevant discovery in this case.

18          Second, in simple terms, Claimants are asking for special treatment. Blaming the government for

19 not providing direct notice is seemingly designed to circumvent Claimants’ negligence in not pursuing

20 timely claims despite—by their own admission—knowing about the 1HQ3 wallet’s existence since at

21 least 2019. See Opp’n at 11-12 (stating that Battle Born planned to compel Ngan to turn over the

22 contents of 1HQ3 during an evidentiary hearing in the Bankruptcy Action in December 2019).

23 Claimants argue that the value of the asset at issue must factor into the Court’s evaluation of whether it

24 should exercise its discretion to allow an untimely claim to proceed. Insofar as this case is concerned,

25 the government wholeheartedly agrees. The value of the Defendant Property underscores Claimants’

26 negligence in failing to make a timely claim. Given the sheer value of the Defendant Property—the

27 seizure of 69,370 BTC from 1HQ3 is the largest seizure of cryptocurrency in the history of the

28 Department of Justice and appears to be the most valuable asset ever seized under the Civil Asset

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 1 Forfeiture Reform Act—combined with their knowledge of their purported right to claim this asset,

 2 Claimants’ failure to file timely claims is inexcusable. Claimants only needed to occasionally track the

 3 1HQ3 wallet through the public blockchain, yet they failed to do even that with an asset valued in the

 4 billions of dollars.

 5          There is no justification for a party who has spared no expense in hiring an army of lawyers and

 6 investigators not to file a claim for such a valuable asset on time. The Court does have the discretion to

 7 allow an untimely claim to proceed despite a failure to comply with the pleading requirements. But this

 8 case demonstrates precisely why courts have established a framework to guide courts in determining

 9 whether they should exercise that discretion. None of the factors adopted by the Ninth Circuit militate in

10 favor of that exercise of discretion here. Saying “mea culpa, we missed the deadline, but give us a

11 chance because it is a lot of money” does not cut it. The government is not aware of any cases or law

12 that confer special rights to a wealthy party so that it can become richer. Under Claimants’ argument, a

13 Claimant of modest means who makes a claim for an asset of lower value should not get a pass.

14          Notably, of the numerous lawyers working for Claimants, one bankruptcy attorney—Ryan

15 Andersen—reportedly “reviewed the docket entries in the forfeiture action on PACER” on January 29,

16 2021, the day after Jay Bloom reportedly received a text message from his business partner with a link

17 to an article about the government’s seizure. Opp’n at 13-14. By his own admission, Andersen did not

18 review the limited entries on the docket. See Dkt. No. 98-5 ⁋ 10 (“I did not see anything on the docket
19 report to indicate a deadline for claimants to file a claim for the seized Bitcoins. As of January 29, 2021,

20 the docket contained five entries entitled ‘certificate of service’ and I did not believe that a proof of

21 service form would provide information relevant to the Claimants’ claims.”). This attempted

22 justification is astounding. On January 29, 2021—the day Andersen reportedly reviewed the docket—

23 there were only 46 docket entries in this matter. Several potential claimants had appeared in the case,

24 which was patently clear on the face of the docket. Docket Entry No. 46, the last entry on the day

25 Andersen reviewed the docket, is an Order granting Ross Ulbricht’s request for an extension of time to

26 file a claim, a description that was clearly stated in the minute entry. In fact, when Andersen reviewed

27 the docket, the phrase “extension of time to file” appeared in four separate docket minute entries. That

28 Andersen tries to hide behind the purported obscurity of certificates of service without bothering to open

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 1 a single one of them and choosing to overlook the fact that multiple claimants had filed motions to

 2 extend the time to file their claims is simply inexcusable, particularly when evaluating a potential

 3 recovery worth $2 billion dollars. Had Andersen taken a few minutes to look at the docket entries he

 4 would have seen that Dkt. No. 25, a three-page document titled “Declaration of Publication” filed on

 5 January 6, 2021, contained an attachment on page three stating that “[a]ny person claiming a legal

 6 interest in the Defendant Property must file a verified Claim with the court within 60 days from the first

 7 day of publication (November 27, 2020) of this Notice on this official government internet web site . . .

 8 .” Dkt. No. 25 at 3. Andersen further tries to justify his oversight by stating that his practice “specializes

 9 in bankruptcy matters and [he does] not have specific expertise in civil forfeiture.” Dkt. No. 98-5 ⁋ 10.

10 But no specialty is necessary, much less required, for any lawyer to open a document on PACER and

11 understand the meaning of a simple phrase setting out the framework for a filing deadline.

12          To further underscore Claimants’ negligence, it is difficult to comprehend how, having the

13 bitcoin deposit address of 1HQ3 available to them as early as December 2019, and “data scientists,

14 forensic experts, private investigators, and attorneys [hired since 2017] to assist Claimants in tracking

15 down [] Ngan’s assets . . . to enforce a [$2 billion dollar] judgment against him, and to track down the

16 assets . . .” nobody bothered to keep track of 1HQ3 on the publicly available blockchain. Had they done

17 so even on a semi-regular basis, they would have seen that one of the most valuable bitcoin addresses

18 moved its funds on November 3, 2020, something that was widely reported by multiple global news
19 outlets. 4 Indeed, unrelated parties started commenting on the movement of the 1HQ3 funds in social

20 media minutes after it occurred and before news outlets picked up the story a day later. It is

21 incomprehensible that while uninterested parties were tracking 1HQ3, Claimants did not. Even more

22 astonishing is Claimants’ failure to file their claims for nearly seven weeks after learning of the pending

23 action, as well as their failure to file a motion to extend the time to file a claim when discovering their

24 claims were late on May 24, 2021. Opp’n at 14; Dkt. No. 90-2 ¶¶ 7-8.

25          Because Claimants have not presented an adequate excuse to their late filing, the Court should

26

27          4
              There are monitoring services designed to send alerts when a bitcoin address sends or receives
     bitcoin. One such service is https://cryptocurrencyalerting.com/, which was established in 2018.
28

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 1 dismiss their claims on this basis alone. Allowing their claims to proceed “would subvert the strict time

 2 limits established by Supplemental G(5) and encourage claimants to litigate every untimely filing in a

 3 forfeiture case.” United States v. $25,790, 2010 WL 2671754, *4 (D. Md. July 2, 2010). If the Court lets

 4 these Claimants, who failed to file a timely claim despite having significant resources at their disposal,

 5 and whose justification amounts to nothing more than “we didn’t know but we are sorry,” then

 6 anyone—literally anyone—can come forward to make a claim for the seized Silk Road proceeds,

 7 making an unmanageable avalanche of claims a real possibility.

 8          B.      Claimants’ Statement of Facts is Riddled with Inaccuracies and Unsupported
                    Assumptions about Ngan’s Possession of 1HQ3
 9

10          At the outset of Claimants’ involvement in this matter, they appeared to be quite convinced that

11 Ngan was Individual X or somebody associated with Individual X and structured their claims on that

12 assumption. Having now realized that Ngan is not Individual X, they have shifted their argument to

13 alleging Ngan’s “association” with Individual X, no matter how removed. This is evident in their recent

14 “discovery” of “a possible connection between Mr. Ngan and an individual that may be the

15 Government’s Individual X—Nikita Kislitsin.” Opp’n at 30. Claimants attempt to draw a connection

16 based on the fact that Kislitsin, who was associated with foreign hacking efforts unrelated to this case,

17 “listed Las Vegas as his location on Twitter at roughly the same time Mr. Ngan lived there.” Id. Nikita

18 Kislitsin is not Individual X and the connection drawn between Ngan and Kislitsin is nothing short of a
19 stretch. See Haynie Decl. ⁋ 4. The Court should not entertain Claimants’ endless guesswork.

20          As a preliminary matter, it is important to recognize that if the $2 billion judgment was against

21 Ngan, that Ngan was the one who declared bankruptcy, and that Claimants purchased the assets of the

22 bankruptcy estate which included the property interests of Ngan, then the claims should be limited to the

23 property of Ngan and not his associates. To be clear, the government denies that Individual X is even

24 associated with Ngan, but points this out to illustrate the legal impossibility of Claimants’ assertions that

25 Ngan’s associates may yield a claim to the Defendant Property. Ngan may have had access to

26 cryptocurrency, but that certainly did not include 1HQ3. Even assuming Ngan was prepared to sell

27 Bitcoin, none of the documents Claimants provide even mention 1HQ3 or the specific figure of 69,370

28 BTC except for the screenshot from the blockchain explorer and sent in a text message with no

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 1 additional explanation. See Declaration of Jacky Lee, Dkt. No 98-2 Exhibits 1-6, 9-11. Indeed,

 2 depending on the document, Ngan was supposed to sell more than 69,370 BTC. See id., Ex. 1

 3 (“1,000,000 BTC”); Ex. 2 (“100,000 BTC”); Ex. 3 (“in excess of 100,000 Bitcoins”); Ex. 9 (“3 million

 4 BTC”). The numbers simply do not add up.

 5          Claimants further argue that Ngan “would not have realized any profit unless he actually had

 6 possession of the Bitcoin and was able to deposit it into the law firm’s escrow account, from where it

 7 could be transferred to the buyer.” Opp’n 26. There are numerous reasons why someone would claim to

 8 have assets they did not have. Indeed, that is the hallmark of criminal activity involving fraud—to lure

 9 potential victims by gaining their trust, secure loans without real access to collateral, provide a false

10 sense of legitimacy, etc. The same question can be posed to Jay Bloom—what did Ngan have to gain by

11 offering to invest $160 million in his businesses ventures if he did not have the money? He likely did

12 not have the money, which is why he filed for bankruptcy and disappeared. The same thing happened

13 with the bitcoin “sale”—none of those transactions came to fruition and when Ngan was set to appear in

14 court, he vanished.

15          Despite all of this and recognizing that a mere screenshot might not be enough, Claimants

16 attempt—based on an inaccurate reading of the government’s complaint—to convince the Court that

17 Ngan really did own the Bitcoin in 1HQ3. Specifically, Claimants argue that one of Ngan’s associates

18 “deleted fifty-four files from Mr. Ngan’s devices—a number corresponding to the number of wallets
19 that originally held the Bitcoin that was transferred into the 1HQ3 wallet at issue in this action.” Opp’n

20 at 10-11 (emphasis added). Nowhere has the government ever claimed that the contents of 1HQ3 came

21 from 54 different wallets. What the government has said is that law enforcement officers “observed 54

22 transactions that were sent from Bitcoin addresses controlled by Silk Road.” Dkt. No. 8 ⁋ 15. Not 54

23 Bitcoin addresses or 54 Bitcoin wallets—54 transactions. This is, at best, a misreading of the

24 government’s statements, and betrays a deep misunderstanding of how Bitcoin works. 5 Claimants’

25
          5
            Although people often use them interchangeably, there is a significant distinction between a
26 cryptocurrency wallet and an address. A wallet is a collection of private keys and corresponding
   addresses. Haynie Decl. ¶ 22. It is typically under the control of a single private individual or service. Id.
27 An address is a digital destination used to send and receive cryptocurrency funds. Id. ¶ 5. It is similar to
   a physical house address or an email address. Cryptocurrency wallets often contain many addresses. Id.
28 A Bitcoin address is a hash of the public key and consists of 26-35 alphanumeric characters. Id.

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 1 argument also makes no sense because Bitcoin transactions are not saved in a hard drive as separate files

 2 when they take place. Haynie Decl. ⁋ 11.

 3          C.     The Defendant Property Is Drug Money from Silk Road

 4          The Court does not have to take the government’s word for the conclusion that the Defendant
 5 Property emanated from Silk Road. Various sources confirm this without the need for discovery.

 6          First, before it was stolen and moved to 1BAD and 1BBq, the 69,370 BTC was located in wallets
 7 that were subsequently seized and forfeited by the government in the criminal prosecution of Ross

 8 Ulbricht. Haynie Decl. ¶ 25. This is confirmed by Silk Road’s own servers, which were seized and

 9 reviewed by law enforcement. Haynie Decl. ¶¶ 7, 20, 21, 24. More specifically, Individual X sent the

10 stolen bitcoin to 1BAD & 1BBq in 54 separate transactions. Each of those transactions was funded by

11 multiple bitcoin addresses associated with Silk Road. In total, 1BAD & 1BBq were funded by

12 approximately 3,056 sending addresses. Id. ¶ 24. This figure can be obtained by looking at the number

13 of sending addresses for each of those transactions in any blockchain explorer or blockchain analytics

14 software, all of which is publicly available information. Id. Of the 3,056 sending addresses, 3,014 were

15 deposit addresses for Silk Road users. The IRS determined this by comparing each of the 3,056

16 addresses with the addresses stored in the data from the seized Silk Road servers. Id. This means that 98

17 percent of the sending addresses that funded 1BAD & 1BBq, and therefore 1HQ3, were addresses used

18 by Silk Road users to purchase drugs and other illicit goods and services. Id.
19          Second, blockchain analysis provides an indisputable trail of the bitcoins from Silk Road wallets
20 to 1HQ3, where the government took possession of 69,370 BTC. Exhibits 1 and 2 to SA Haynie’s

21 declaration, which illustrate the analysis he conducted using blockchain analytics software and is based

22 on immutable transactions recorded on the blockchain, show a link between 1HQ3 and Silk Road. 6 See

23 Haynie Decl. ⁋⁋ Exhibit 16-20, Exs. 1-2. Exhibit 1 illustrates the progression of the Defendant Property

24 from Bitcoin addresses controlled by Silk Road to 1HQ3. SA Haynie used Chainalysis Reactor, an

25

26          6
            The Court can, and should, consider information from the blockchain as it forms the basis for
   the Amended Complaint and is derived from the public record. Courts are permitted to evaluate
27 materials attached to complaints and public records “without converting the motion to dismiss into a
   motion for summary judgment.” Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002 (9th Cir.
28 2018); United States v. Ritchie, 342 F.3d 903, 907-08 (9th Cir. 2003) (citations omitted).

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 1 investigative software tool that connects cryptocurrency transactions and addresses to real-world entities

 2 like Silk Road by using aggregate data. Id. ⁋⁋ 13, 15, 17. By inputting the 1HQ3 address into Reactor, its

 3 algorithms automatically created a link between that address and Silk Road, which Chainalysis has

 4 identified as a known entity based on several factors and data points. Id. ⁋ 15. From this information, SA

 5 Haynie was able to determine that the ultimate source of the funds in 1HQ3 originated from addresses

 6 managed by the same entity—the Silk Road marketplace. Id. Exhibit 2 further illustrates that

 7 Chainalysis identified and labeled the two seizures of Silk Road funds—the first in October 2013 and

 8 the second in November 3, 2020. Id. ⁋ 19.

 9          Finally, it is the consensus among blockchain analytics companies like DMG Blockchain

10 Solutions (“DMG”), that the bitcoin at issue here originated from Silk Road. Id. ⁋ 26. On or about

11 November 4, 2020, the day after the government’s seizure of the bitcoin at issue and a day before it

12 announced the seizure, Elliptic Co-Founder and Chief Scientist Dr. Tom Robinson wrote, “…through

13 blockchain analysis we can determine that these funds likely originated from the Silk Road.”

14 (https://www.elliptic.co/blog/1-billion-silk-road-bitcoins-are-on-the-move). Id. ⁋ 27. Similarly, on or

15 about November 4, 2020, blockchain analytics company CipherTrace issued a similar article that stated

16 in part, “On November 3, more than 69,370 BTC originating from the Silk Road – one of the first

17 darknet markets – moved for the first time since April 2015…” (https://ciphertrace.com/nearly-1b-from-

18 silk-road-move-for-first-time-since-2015/). Id. ⁋ 28. This further calls into question Lee’s conclusion
19 that “the blockchain transactions show that the Bitcoins came from 58 sources,” particularly given his

20 access to blockchain analytics tools and the fact that the origin of the bitcoin at issue here is clear to so

21 many major blockchain analytics companies who have conducted a similar analysis. See id. ⁋ 19.

22          D.      Claimants’ Challenge to the Source of the Defendant Property is Based on Flawed
                    Assumptions and a Misreading of the Law
23

24          Claimants’ argument that the Defendant Property came from 54 different Silk Road wallets is the

25 framework for their attempt to undermine the well-known origin of the Defendant Property. This is

26 Claimants’ only real option, however, because only by questioning the provenance of the Defendant

27 Property can they respond to the chief reasons that their claims fail, namely, that (1) Ngan’s bankruptcy

28 estate could not have contained the defendant Property because a thief does not have a legal interest in

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 1 stolen property; and (2) a criminal’s interest in stolen property does not become part of his bankruptcy

 2 estate because of the relation-back doctrine.

 3          Claimants dismiss the government’s position that Individual X stole the bitcoin in 2012,

 4 transferred it to 1HQ3 in 2013, and gave it to the government on November 3, 2020 as “farfetched,”

 5 “implausible,” and “impossible.” Opp’n at 26. If anything is farfetched, it is Claimants’ attempt to

 6 discredit the well-known origins of the Defendant Property by submitting the declaration of Jacky Lee, a

 7 data scientist with DMG, which furthers Claimants’ arguments in no meaningful way and consists of

 8 nothing more than a vehicle through which Claimants have introduced irrelevant exhibits into the

 9 record. Indeed, nothing submitted with Lee’s declaration even mentions 1HQ3 or the specific amount of

10 Bitcoin at issue here except for the online screenshot of 1HQ3 and a text message from Ngan sharing it,

11 which anybody with an Internet connection and access to a cell phone with SMS capabilities could do.

12          Lee’s analysis is incorrect, in part because it hinges on a misrepresentation of the government’s

13 statements. According to his Declaration, one of the tasks Lee had was to determine “…where the

14 69,370 [BTC] in the 1HQ3 wallet came from…” Lee Declaration, Dkt. No. 98-2 ⁋ 3. Lee determined

15 that it was “impossible for Individual X to gain these Bitcoins by hacking a single silk road wallet[],

16 because the blockchain transactions show that the Bitcoins came from 58 sources.” Id. ⁋ 17. DMG, has a

17 blockchain analytics product, called “BlockSeer” that Lee used to analyze 1HQ3. Id. ⁋ 15. It seems

18 implausible that despite its blockchain analytics capabilities, BlockSeer did not identify the 54 transfers
19 as originating from Silk Road, one of the most sophisticated and extensive criminal marketplaces of its

20 time. Haynie Decl. ⁋ 7. In fact, based on a Twitter post from @BlockSeer dated December 10, 2015,

21 BlockSeer was aware of Silk Road (see https://twitter.com/blockseer/status/674998974940508160).

22 According to DMG’s website, “Blockseer is an analytics tool that enables the tracking of cryptocurrency

23 on both the Bitcoin and Ethereum blockchains. It examines cryptocurrency flows through wallets” and

24 performs various functions, including “creating private labels and graphs . . . accessing a more extensive

25 list of labels and clusters and additional analytics tools” and “importing and exporting analytics data

26 such as addresses, transactions, and labels.” https://dmgblockchain.com/software-product/. Of the 18

27 paragraphs in Lee’s declaration, only three of them are devoted to his own blockchain analysis. See Dkt.

28 No. 98-2 ⁋⁋ 15-17. The declaration provides no information to show that any meaningful analysis was

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 1 conducted, including a description of his methodology or any graphs to illustrate any specific findings.

 2          E.      The Contents of the 1HQ3 Wallet Never Became Part of the Bankruptcy Estate

 3          Acknowledging a connection between the Defendant Property and Silk Road would eviscerate
 4 Claimants’ entire claims for a stake in the Bitcoin, which is why they have gone to such lengths to try to

 5 undercut that link. Because Claimants assert that their interest in the Defendant Property arises from

 6 their interest in Ngan’s bankruptcy estate, it is essential to determine whether the bankruptcy estate ever

 7 maintained an interest in the Defendant Property. In evaluating the interests of the bankruptcy estate, the

 8 court must consider how property came into the possession of the debtor to determine the validity of its

 9 title to it. This is precisely why Claimants have manufactured so much doubt and conjecture about the

10 source of the funds. As reiterated herein, the Defendant Property constitutes proceeds of narcotics

11 trafficking and other unlawful activities. In addition, it was stolen from Silk Road. Thus, even assuming

12 Ngan was Individual X—which he is not—the Defendant Property could not become part of the

13 bankruptcy estate because it was stolen and represents the proceeds of crime.

14          The entirety of Claimants’ rebuttal to the argument that a thief does not have a legal interest in
15 stolen property boils down to four sentences riddled with misstatements about the government’s

16 position:

17          [T]he Government does not suggest that Mr. Ngan stole 1HQ3, or even that he got it from
            Individual X, who the Government says stole it. Claimants do not yet know how Mr. Ngan
18          obtained 1HQ3, but it could certainly have been from sources unrelated to Individual X or
            Silk Road. And he could have been a bona fide purchaser of the Bitcoin even if it was
19          unlawfully acquired originally. The claims should not be dismissed based upon the
            Government’s unsupported speculation that Mr. Ngan may have stolen it or did not
20          innocently acquire it.
21 Opp’n at 27. Claimants are correct that the government does not suggest—or aver—that Ngan stole

22 1HQ3 or that he got it from Individual X. It is the government’s position that Ngan has absolutely

23 nothing to do with 1HQ3 other than invoke its mere existence for some purpose unrelated to this action.

24 Rather, because 1HQ3 consists of proceeds of illicit activity and that it was stolen, it could not have

25 become part of the bankruptcy estate and therefore Claimants have no legitimate claim to it.

26          Although Claimants also assert that the Defendant Property’s origin as stolen Silk Road proceeds
27 is “implausible, if not impossible,” Opp’n at 19, this is flatly untrue. First, as noted above, there is no

28 likelihood that Ngan had possession, let alone ownership, of the Defendant Property. Furthermore,

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 1 nothing about this theft is impossible. Bitcoin thefts of even larger proportions have taken place multiple

 2 times, including the theft of approximately 850,000 from the Mt. Gox exchange. Haynie Decl.¶ 18.

 3 These transactions are completely unrelated to the number of addresses used in a transfer of

 4 cryptocurrency, and those transactions do not generate any documents unto themselves. Id. ¶¶ 5-6.

 5 Finally, the existence of an unexecuted contract does little more but to cement Ngan’s continued

 6 attempts to scam others into believing that he could deliver billions of dollars’ worth of Bitcoin in a

 7 single sale. None of this establishes ownership or even possession.

 8          Moreover, the Defendant Property is the proceeds of drug trafficking activity. This, too, excludes

 9 the Defendant Property from the bankruptcy estate. Bankruptcy distribution plans that cannot “be

10 executed by lawful means,” including the distribution of proceeds obtained in violation of the Controlled

11 Substances Act, are generally “forbidden by law.” In re Arenas, 535 B.R. 845, 851 (B.A.P. 10th Cir.

12 2015); see also In re Burton, 610 B.R. 633, 637-38 (B.A.P. 9th Cir. 2020) (listing cases holding that

13 bankruptcy trustees cannot distribute the proceeds of violations of the Controlled Substances Act). This

14 prohibition is particularly strong in cases where “a trustee would be asked to accept proceeds of a drug-

15 related business, situations where federal law would clearly be violated.” In re Olson, 2018 WL 989263,

16 at *7 (B.A.P. 9th Cir. 2018) (Tighe, J., concurring); see also In re Rent-Rite Super Kegs West, Ltd., 484

17 B.R. 799, 805-806 (D. Colo. 2012) (concluding that federal courts cannot assist debtors with the

18 distribution of an asset held in violation of the Controlled Substances Act as a matter of principle, and
19 because of the ongoing danger that the asset in question would be subject to civil forfeiture). The

20 bankruptcy trustee and bankruptcy court were asked to do the same thing here—accept the distribution

21 and sale of an estate that included the stolen proceeds of various acts of crime.

22          In sum, Claimants never had ownership or possession of the Defendant Property because it could

23 not be distributed through Ngan’s bankruptcy estate as it was derived from drug trafficking and other

24 criminal activity, as well as theft or fraud. As Claimants never could have legally owned or possessed

25 the Defendant Property, they lack standing as a matter of law and the Court should strike their claim

26 instead of allowing them to embark on a fruitless and time-wasting fishing expedition.

27          F.      Claimants’ Challenge to the Relation Back Doctrine as it Applies to this Case is
                    Deficient and Unsupported by the Facts
28

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 1          With respect to the government’s argument that a criminal’s interest in stolen property does not

 2 become part of his bankruptcy estate because of the relation-back doctrine, Claimants’ state that “the

 3 argument assumes too much.” Opp’n at 27. What Claimants refer to is the fact that the Defendant

 4 Property came from Silk Road. An admission that it did would show that the Defendant Property vested

 5 in the United States at the time the criminal activity was complete. Because Silk Road was in operation

 6 between 2011 and 2013, this occurred long before Battle Born purchased Ngan’s bankruptcy estate.

 7          The “relation back” doctrine renders Claimants’ standing arguments fruitless. It derives from 18

 8 U.S.C. § 981(f), which provides that “[a]ll right, title, and interest in property described in subsection (a)

 9 of [18 U.S.C. § 981] shall vest in the United States upon commission of the act giving rise to forfeiture

10 under this section.” The innocent owner statute provides that the property of a “bona fide purchaser or

11 seller for value” who “did not know and was reasonably without cause to believe that the property was

12 subject to forfeiture” is not subject to forfeiture. 18 U.S.C. § 983(d)(3)(A). The essential elements of an

13 innocent owner claim require claimants to establish that they are “both innocent,” “and an owner.”

14 United States v. One 1990 Beechcraft 1900 C Twin Engine Turbo-Prop Aircraft, 619 F.3d 1275, 1277

15 (11th Cir. 2010). In this case, title to the Defendant Property vested in the government at the time that

16 the transactions on Silk Road occurred. Dkt. No. 8 ¶ 7. As noted above, all available tracing tools and

17 publications, in addition to the documents on record in this case, indicate that the contents of the 1HQ3

18 wallet are traceable to Silk Road. Accordingly, all interest in the Bitcoin obtained by and laundered
19 through Silk Road vested in the government before Ross Ulbricht’s arrest and trial.

20          Further, Claimants are not owners of the Defendant Property. An “owner” for purposes of the

21 innocent owner defense “means a person with an ownership interest in the specific property to be

22 forfeited,” and does not include general unsecured creditors; bailees; or nominees with “no dominion or

23 control over the property.” 18 U.S.C. § 983(d)(6)(A)-(B). Claimants were never owners of the property

24 because the Defendant Property never could have been a part of the bankruptcy estate.

25          Every available public record, docket entry, and brief is clear—the Defendant Property

26 represents the stolen proceeds of Silk Road, a massive organization responsible for drug trafficking and

27 other crimes. Claimants lack standing as the Defendant Property never became part of the bankruptcy

28 estate, and because the relation back doctrine vested all interests in the property in the United States.

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 1          G.     Claimants’ Discovery Plan

 2          Claimants’ discovery plan makes it clear they intend to engage in protracted discovery about

 3 issues unrelated to this case. The fact that their plan includes taking the deposition of Ngan—a man who

 4 disappeared years ago and whose whereabouts are unknown—further underscores this. According to

 5 their own lawyers, Claimants have already conducted “substantial discovery efforts into Mr. Ngan’s

 6 assets, including both domestic and international collection efforts” dating back to when “the underlying

 7 Nevada state action was filed against him in 2016” and “have incurred several hundred thousand dollars

 8 in costs alone” in those efforts. See Declaration of Joseph Gutierrez, Dkt. No 98-4 ⁋⁋ 7, 28, 29.

 9 Claimants’ intended discovery is improper and deficient for several reasons.

10          First, Claimants’ discovery plan includes at least six discovery items relating to Ngan’s

11 associates. See Declaration of Rees Morgan, Dkt. No. 98-6 ⁋ 6(c-f, h-i). Those discovery efforts belong

12 in the bankruptcy case, not in this action. Second, Claimants’ discovery plan assumes the existence of a

13 relationship between Ngan and Individual X. For instance, Claimants anticipate “Document requests and

14 deposition of Agent [] Haynie regarding . . . Ngan’s relationship both to Individual X and the 1HQ3

15 Wallet.” Id. ⁋ 6(b). The government has no evidence of any connection between Individual X and Ngan.

16 Accordingly, requesting documents or depositions on this point will yield nothing. Third, Claimants

17 intend to seek “[d]iscovery into expert reports referenced in Agent [] Haynie’s Declaration.” Id. ⁋ 6(g).

18 It is unclear what Claimants refer to here. There is no mention of experts in SA Haynie’s declaration,
19 and the word “report” appears only once, followed by a link to a publicly available news article citing to

20 that reference. See Dkt. No. 90-1 ⁋ 9. Fourth, Claimants intend to request documents and take SA

21 Haynie’s deposition on issues he has fully described under penalty of perjury. Specifically, they seek to

22 depose him “regarding any investigation conducted to verify Individual X’s claim to the wallet.”

23 Morgan Decl. ⁋ 6(b). It is unclear what Claimants expect to receive beyond Individual X’s consent and

24 SA Haynie’s analysis.

25          Finally, Morgan’s Declaration lists a series of anticipated document requests in response to what

26 they characterize as “the Government’s assertion that if Mr. Ngan was in possession of the 1HQ3 Wallet

27 then he must have stolen it . . . .” Dkt. No. 98-6 ⁋ 7. The government has made no such characterization.

28 To the contrary, the government has consistently stated that Ngan never possessed 1HQ3. To the extent

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 1 the government entertained such a theory, it was in response to Claimants’ assumptions about Ngan’s

 2 possession of 1HQ3 and only to demonstrate that even if their assertions were true, their claims would

 3 still fail. 7 Accordingly, no discovery is needed on this issue.

 4          This summarizes the extent of Claimants’ discovery plan—it forecasts protracted discovery and

 5 litigation into irrelevant matters that would undermine the purpose of the rules and eviscerate the

 6 gatekeeping functions designed to minimize the danger of false claims.

 7 III.     CONCLUSION

 8          Claimants’ claims are deficient. They offer nothing besides conclusory assertions of ownership

 9 and possession of the Defendant Property; a failure to satisfy basic rules; impossible allegations; and

10 constantly changing facts. Claimants have no right to special treatment under the rules—indeed, more so

11 than most, Claimants had the means and the motivation to keep a close eye on the Defendant Property

12 and file a timely claim. Their admitted failure to keep track of a multi-billion asset they thought was

13 theirs should foreclose their claims with respect to timeliness. Moreover, Claimants clearly lack standing

14 as a matter of law—the bankruptcy estate they claim as the font of their ownership claim never could

15 have contained the Defendant Property. The Court must thus strike Claimants’ claims. Allowing these

16 claims to proceed and permitting discovery would invite other meritless claims to these—and other—

17 forfeiture proceedings even if they lack a remote connection to property subject to forfeiture.

18 DATED: August 24, 2021                                         Respectfully submitted,

19                                                                STEPHANIE M. HINDS
                                                                  Acting United States Attorney
20
                                                                  Claudia A. Quiroz_________________
21                                                                DAVID COUNTRYMAN
                                                                  CHRIS KALTSAS
22                                                                CLAUDIA A. QUIROZ
                                                                  WILLIAM FRENTZEN
23                                                                Assistant United States Attorneys
24

25          7
            With respect paragraph 8 of Morgan’s Declaration, (a) whether the Defendant Property is
26 subject to forfeiture is a legal question that has been fully briefed in this action and not something that
   could be found in an interview report or determined by the case agents, see id. ⁋ 8(a); (b) all relevant
27 tracing has been described in detail in various declarations and filings, including SA Haynie’s
   Declaration submitted in support of this brief, id. ⁋ 8(b); and (c) there is no disconnect between the
28 government’s tracing and Silk Road tumblers, id. ⁋ 8(c). With respect to the last point, see SA Haynie’s
   Declaration ⁋⁋ 31-33 which provides additional background on this issue.
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11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                   )   CASE NO. CV 20-7811 RS
                                                 )
16           Plaintiff,                          )   DECLARATION OF JEREMIAH HAYNIE IN
                                                 )   SUPPORT OF UNITED STATES’ REPLY IN
17       v.                                      )   SUPPORT OF MOTION TO STRIKE THE CLAIMS
                                                 )   OF CLAIMANTS BATTLE BORN INVESTMENTS
18   Approximately 69,370 Bitcoin (BTC), Bitcoin )   COMPANY, LLC, FIRST 100, LLC AND 1ST ONE
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )   HUNDRED HOLDINGS, LLC
19   Cash (BCH) seized from                      )
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx )
20                                               )
                                                 )   Hearing Date:   September 9, 2021
             Defendant.                          )
21                                                   Time:           1:30 p.m.
                                                 )   Court:          Hon. Richard Seeborg
22                                               )
     First 100, LLC, 1st One Hundred Holdings,   )
23   LLC, and Battle Born Investments            )
     Company, LLC,                               )
24                                               )
             Claimants.                          )
25                                               )

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     DECLARATION OF JEREMIAH HAYNIE             1
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 1          I, JEREMIAH HAYNIE, state as follows:

 2          1.      I am a Special Agent with the Criminal Investigation Division of the Internal Revenue

 3 Service (“IRS-CI”). I am a case agent assigned to this case. I respectfully submit this declaration to

 4 provide certain relevant information in support of the United States’ Reply in Support of Motion to

 5 Strike the claims filed by Claimants Battle Born Investments Company, LLC; First 100, LLC; and 1st

 6 One Hundred Holdings, LLC (“Claimants”). I personally conducted the blockchain analysis of the

 7 bitcoin at issue in this case and was involved in the investigation from its inception to the present day. I

 8 have been a Special Agent with IRS – Criminal Investigation (IRS-CI) for approximately 19 years.

 9 Since 2015, I have been assigned to the IRS-CI Cyber Crimes Unit. I have conducted investigations

10 involving cryptocurrency since 2014 and have traced different cryptocurrencies both manually and using

11 blockchain analytics tools in dozens of cases. In addition, I hold an active Chainalysis Reactor

12 Certification.

13          2.      I have reviewed the Opposition to Motion to Strike the Claims of Claimants Battle Born

14 Investments Company, LLC, First 100, LLC, and 1st One Hundred Holdings, LLC filed on August 10,

15 2021. I have also reviewed the supporting declaration of Jacky Lee, a data scientist at DMG Blockchain

16 Solutions retained by counsel for the Claimants to conduct a forensic analysis related to the

17 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx (“1HQ3”) Bitcoin address (hereinafter “Lee

18 Declaration”). Based on my knowledge and experience, including my experience conducting
19 cryptocurrency tracing analysis in dozens of investigations, my assessment of Claimants’ analysis

20 linking the transactions executed by Individual X to files purportedly deleted from Ngan’s computer is

21 that it is flawed and incorrect.

22          3.      I personally conducted the tracing and analysis of the 1HQ3 Bitcoin address using the

23 Chainalysis Reactor blockchain analytics software. In addition, my team and I conducted a manual

24 analysis of the 54 bitcoin transactions at issue in this case and compared it against the data from the

25 seized Silk Road servers, which showed a direct link between the addresses from which Individual X

26 stole the bitcoin and Silk Road.

27          4.      Nikita Kislitsin is not Individual X.

28          5.      Ownership of a particular Bitcoin address can be shown by using the private key to sign a

     DECLARATION OF JEREMIAH HAYNIE                   2
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 1 message. Ownership is not established by a screenshot.

 2 A.       Individual X Withdrew Funds from Silk Road by Exploiting a Vulnerability

 3          6.     On approximately May 6, 2012, Individual X stole 70,411.46 BTC from addresses

 4 controlled by Silk Road and transferred it to two Bitcoin addresses—

 5 1BADznNF3W1gi47R65MQs754KB7zTaGuYZ and 1BBqjKsYuLEUE9Y5WzdbzCtYzCiQgHqtPN

 6 (hereafter “1BAD” and “1BBq”). Individual X used a vulnerability that allowed Individual X to

 7 withdraw funds from Silk Road without authorization. A vulnerability is a weakness or opening for

 8 hackers to gain unauthorized access to a website, a system that connects to a website, operating

 9 systems, web applications, software, networks, or other IT systems.

10          7.     Based on a review of the Silk Road seized servers, the transfers to 1BAD and 1BBq came

11 from the general pool of Silk Road bitcoin and not from any particular Silk Road user accounts.

12 B.       Jacky Lee’s Analysis

13          8.     According to his Declaration, one of the tasks Jacky Lee had was to determine “…where

14 the 69,370 Bitcoins in the 1HQ3 wallet came from…” Lee Declaration ⁋ 3. Lee determined that it was

15 “highly improbable for an individual to hack 58 wallets that sent Bitcoins to 1HQ3” because “the private

16 key used for accessing bitcoin wallets is very secure and cannot be easily guessed with modern

17 computers.” Id. ⁋ 17. Lee further determined that it was “impossible for Individual X to gain these

18 Bitcoins by hacking a single silk road wallet[], because the blockchain transactions show that the
19 Bitcoins came from 58 sources.” Id.

20          9.     By using the vulnerability in Silk Road’s vendor portal as described above, Individual X

21 tricked Silk Road into sending bitcoin to 1BAD and 1BBq. This is not a “far-fetched” or “improbable”

22 scenario, as Claimants characterize it. Many seemingly secure entities such as cryptocurrency

23 exchanges have had cryptocurrency stolen from them. For example, Mt. Gox, the largest cryptocurrency

24 exchange of its day experienced a continuous theft of its bitcoin from 2011 to 2014 resulting in a loss of

25 approximately 850,000 BTC, valued at approximately $480 million at the time (reuters.com/article/us-

26 bitcoin-mtgox-bankruptcy-idUSBREA1R0FX20140228). In August 2016, another exchange, Bitfinex,

27 lost 119,756 BTC, valued at approximately $72 million at the time (fortune.com/2016/08/03/bitcoin-

28 stolen-bitfinex-hack-hong-kong). In May 2019, the CEO of Binance, a large cryptocurrency exchange,

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 1 announced that hackers executed one unauthorized transaction and withdrew 7,000 BTC valued at

 2 approximately $40 million from Binance’s wallet (Binance.zendesk.com/hc/en-

 3 us/articles/360028031711-Binance-Security-Breach-Update). These are just three examples out of many

 4 instances where an individual or group has been able to gain unauthorized access to seemingly secure

 5 systems to steal cryptocurrency. These examples are offered to show that individuals are able to use

 6 unauthorized access to transfer bitcoin out of seemingly secure companies.

 7          10.     Based on my and my team’s analysis of the Bitcoin addresses associated with Silk Road,

 8 the bitcoin in 1HQ3 did not come from 58 sources and I am unable to ascertain the source of this

 9 statement based on Lee’s declaration. As described in more detail below, based on my and my team’s

10 analysis of the Bitcoin addresses associated with Silk Road, the original source of bitcoin that funded

11 1HQ3 came from 3,056 addresses, 98 percent of which were addresses assigned to specific Silk Road

12 users.

13          11.     Bitcoin transactions are not saved in a hard drive as separate files when they take place.

14          12.     Lee’s company, DMG Blockchain Solutions (hereafter “DMG”), has a blockchain

15 analytics product, called “BlockSeer” that Lee used to analyze 1HQ3. Id. ⁋ 15. It seems implausible to

16 me that despite its blockchain analytics capabilities, BlockSeer did not identify the 54 transfers as

17 originating from Silk Road, one of the most sophisticated and extensive criminal marketplaces of its

18 time. In fact, based on a Twitter post from @BlockSeer dated December 10, 2015, BlockSeer was
19 aware of Silk Road (see https://twitter.com/blockseer/status/674998974940508160). According to

20 DMG Blockchain Solutions’ website, “Blockseer is an analytics tool that enables the tracking of

21 cryptocurrency on both the Bitcoin and Ethereum blockchains. It examines cryptocurrency flows

22 through wallets” and performs various functions, including “creating private labels and graphs . . .

23 accessing a more extensive list of labels and clusters and additional analytics tools” and “importing and

24 exporting analytics data such as addresses, transactions, and labels.”

25 https://dmgblockchain.com/software-product/. Despite these purported capabilities, Lee’s Declaration

26 and supporting exhibits provide no information about his methodology or any specific findings, charts,

27 or analysis.

28 / / /

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 1 C.       Blockchain Analysis of 1HQ3 Using Chainalysis Reactor

 2          13.     The majority of cryptocurrency volume flows through services, including legal entities

 3 like cryptocurrency exchanges, or illicit ones like darknet markets such as Silk Road. While

 4 blockchains contain information on transactions between addresses, they do not provide information on

 5 the individuals or entities to which those addresses belong (i.e., who is conducting the transactions).

 6 Software analytics companies like Chainalysis conduct proprietary analysis that connect cryptocurrency

 7 addresses to real-world organizations by using aggregate data.

 8          14.     Chainalysis Reactor is an investigative software tool that connects cryptocurrency

 9 transactions and addresses to real-world entities such as dark net markets, enabling investigators like

10 myself to understand and interpret activity on the blockchain. Understanding which entities are

11 connected to which addresses requires analytical tools to extract information and methodology to do the

12 matching. Chainalysis maps blockchain transactions to real-world entities by grouping addresses into

13 clusters and identifying those clusters. In simple terms, a cluster is a collection of addresses that are

14 determined by Chainalysis to be controlled by one entity. Chainalysis looks at the history of

15 transactions and runs algorithms to group addresses in a cluster that it determines are managed by the

16 same entity. While Chainalysis generally clusters addresses and labels the cluster according to its

17 category (e.g., cryptocurrency exchange, terrorist financing, darknet website, etc.), they also perform

18 address-level identifications within clusters to name the cluster. Based on this analysis, Chainalysis has
19 identified and labeled a number of entities by name based on the transaction history and other

20 associations. This includes the Silk Road darknet marketplace as well as the two clusters of seized Silk

21 Road funds—one from October 2013 and one from November 2, 2020 (i.e., the seized funds at issue in

22 this case).

23          15.     By inputting the 1HQ3 address into Reactor, Chainalysis algorithms automatically

24 created a link between that address and Silk Road, which Chainalysis has identified as a known entity

25 based on a number of factors and data points as well as their algorithms and aggregate data. From this

26 information and my analysis, I was able to determine that the ultimate source of the funds in 1HQ3

27 originated from addresses managed by the same entity: the Silk Road marketplace.

28          16.     Attached hereto as Exhibit 1 and replicated below is a graph I created using Reactor to

     DECLARATION OF JEREMIAH HAYNIE                   5
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 1 illustrate the bitcoin transfers relevant to this matter. The series of transactions begins on the left side of

 2 Exhibit 1, when on May 6, 2012, Individual X, without authorization, transferred 70,411.46 BTC from

 3 Silk Road to two Bitcoin addresses Individual X controlled, 1BAD and 1BBq. The next relevant

 4 transaction occurred on April 9, 2013, when Individual X sent 69,471.082201 BTC from 1BAD & 1BBq

 5 to 1HQ3.

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13          17.     As explained above, the references to Silk Road on the chart are not manual inputs by me

14 but rather identifications made by Chainalysis based on the aggregate data and algorithms powering its

15 software.

16          18.     The details of these transfers can be viewed by any member of the public by entering the

17 Bitcoin addresses into a Blockchain Explorer such as Blockchair.com, one of the two websites

18 referenced in paragraph 15 of the Lee Declaration.
19          19.     Attached hereto as Exhibit 2 and replicated below is an expansion of Exhibit 1 that I

20 created using Reactor. Exhibit 2 illustrates that, through its independent analysis, Chainalysis identified

21 and labeled the two seizures of Silk Road funds: (a) the October 2013 seizure by law enforcement and

22 the United States Attorney’s Office in the Southern District of New York when the Silk Road website

23 was taken down and Ross Ulbricht was arrested; and (b) the November 3, 2020 seizure by the IRS-CI

24 and the United States Attorney’s Office in the Northern District of California following Individual X’s

25 consent to the forfeiture of the 69,370 BTC Individual X stole from Silk Road in 2012 to the United

26 States government.

27 / / /

28 / / /

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11          20.     The 173,992.92 BTC depicted in the graph above as “Silk Road Marketplace Seized

12 Funds” in October 2013 consist of 27,618.69843, Silk Road marketplace bitcoins seized during the

13 takedown of the website on October 02, 2013 and the bitcoins seized from Ulbricht’s computer

14 hardware, which were traceable to the operation of Silk Road. I know this based on two things: (1) the

15 number of bitcoins seized from the Silk Road servers on or about October 2, 2013 as detailed in the

16 Southern District of New York’s Notice of Forfeiture; and (2) the number of bitcoins seized from

17 Ulbricht’s computer hardware traceable to the operation of Silk Road with public Key

18 1FfmbHfnpaZjKFvyi1okTjJJusN455paPH which was seized on or about October 25, 2013 in San
19 Francisco, CA as detailed in the Southern District of New York’s subsequent Notice of Forfeiture.

20 D.       Analysis of Silk Road Servers Seized in October 2013

21          21.     Blockchain analytics using proprietary software is not the only source of information

22 about the origin of the Defendant Property. During the October 2013 takedown of Silk Road, law

23 enforcement seized servers that contained Silk Road transaction data. This data confirmed that the 54

24 transfers at issue here originated from Silk Road.

25          22.     Although people often use them interchangeably, there is a significant distinction

26 between a cryptocurrency wallet and an address. A wallet is a collection of private keys and

27 corresponding addresses. It is typically under the control of a single private individual or service. An

28 address is a digital destination used to send and receive cryptocurrency funds. It is similar to a physical

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 1 house address or an email address. Cryptocurrency wallets often contain many addresses. A Bitcoin

 2 address is a hash of the public key and consists of 26-35 alphanumeric characters.

 3          23.     In bitcoin transactions, multiple addresses can be used to fund a particular transaction.

 4 For example, if an item costs 5 BTC, but the buyer only had 3 BTC in one address and 2 BTC in another

 5 address, the buyer would use the funds from both addresses to make the payment. This is often referred

 6 to as a transaction having multiple “inputs” (in this example, two inputs and one output).

 7          24.     In this case, Individual X sent the stolen bitcoin to 1BAD & 1BBq in 54 separate

 8 transactions. Each of those transactions was funded by multiple bitcoin addresses associated with Silk

 9 Road. In total, 1BAD & 1BBq were funded by approximately 3,056 sending addresses. This figure can

10 be obtained by looking at the number of sending addresses for each of those transactions in any

11 blockchain explorer or blockchain analytics software, all of which is publicly available information. Of

12 the 3,056 sending addresses, 3,014 were deposit addresses for Silk Road users. I determined this by

13 having an IRS-CI analyst compare each of the 3,056 addresses with the addresses stored in the data from

14 the seized Silk Road servers. This means that 98 percent of the sending addresses that funded 1BAD &

15 1BBq and therefore 1HQ3, were addresses used by Silk Road users to purchase drugs and other illicit

16 goods and services. The remaining 42 addresses were likely “change addresses,” which is equivalent to

17 the change one would receive in a monetary transaction and from which associations can also be made

18 using Reactor.
19          25.     In short, before they were stolen and moved to 1BAD and 1BBq, the seized 69,370 BTC

20 were located in wallets that were subsequently seized and forfeited by the government in the criminal

21 prosecution of Ross Ulbricht.

22 E.       Consensus Among Blockchain Analytics Companies Regarding the Source of the Seized
            69,370 Bitcoins
23
            26.     The consensus among blockchain analytics companies like DMG was that the bitcoin at
24
     issue here originated from Silk Road.
25
            27.     On or about November 4, 2020, the day after the Government’s seizure of the bitcoin at
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     issue and a day before the Government announced the seizure, Elliptic Co-Founder and Chief Scientist
27
     Dr. Tom Robinson wrote, “…through blockchain analysis we can determine that these funds likely
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 1 originated from the Silk Road.” (https://www.elliptic.co/blog/1-billion-silk-road-bitcoins-are-on-the-

 2 move).

 3          28.     Similarly, on or about November 4, 2020, blockchain analytics company CipherTrace

 4 issued a similar article that stated in part, “On November 3, more than 69,370 BTC originating from the

 5 Silk Road – one of the first darknet markets – moved for the first time since April 2015…”

 6 (https://ciphertrace.com/nearly-1b-from-silk-road-move-for-first-time-since-2015/).

 7          29.     Lee’s conclusion that “the blockchain transactions show that the Bitcoins came from 58

 8 sources” is surprising to me in light of his access to blockchain analytics tools and the fact that the origin

 9 of the bitcoin at issue here is clear to so many major blockchain analytics companies who have

10 conducted a similar analysis.

11 F.       Silk Road’s “Bitcoin Tumbler”

12          30.     Claimants state that there is a disconnect between the tracing of the bitcoins in 1HQ3 to

13 “proceeds of criminal activity by Silk Road and Ulbricht” and that Silk Road used a tumbler to

14 obfuscate the payments it received from the sale of drugs and other illicit goods and services. See

15 Declaration of Rees Morgan, Dkt. No 98-6 ⁋ 8(c) (“Morgan Declaration”). There is no disconnect

16 between these two things. Payments going into Silk Road were tumbled so that they could not be traced

17 to a particular user when bitcoin was withdrawn from the site. This approach was not very effective,

18 however, because any bitcoin coming out of the site could still be linked to the Silk Road website, the
19 sole purpose of which was to sell illicit goods and services. For example, if a buyer wanted to purchase

20 heroin from a Silk Road vendor, the buyer would send bitcoin to a bitcoin address assigned to the

21 buyer’s account but controlled by Silk Road. The buyer’s account would be credited with the requisite

22 amount of bitcoin. The buyer would use that credit to purchase heroin from the vendor. The actual

23 bitcoin received by the vendor was not the same bitcoin the buyer used to fund his account. This is what

24 Silk Road advertised as “tumbling;” however, all of the bitcoin was tainted because it all came from

25 individuals wishing to purchase illicit goods or services.

26          31.     Attached hereto as Exhibit 3 is a Wall Street Journal article dated February 24, 2015

27 titled “Silk Road Mastermind’s Bitcoin Trail Wasn’t Complicated.” The article documented an

28 interview of Ilhwan Yum, a former FBI Special Agent who tied Ross Ulbricht to Silk Road through the

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 1 bitcoin money trail. The article references the bitcoin tumblers the Silk Road marketplace used “to

 2 mask the origin and destination of transactions conducted on the network.” In the interview, Yum stated

 3 that he did not “‘tumble’ his own transactions moving money out of the network, making it simple to

 4 establish the connection between Mr. Ulbricht and Silk Road.” According to Yum, tying Ulbricht to

 5 Silk Road through the bitcoin money trail “didn’t take any complicated analysis.” As the article notes,

 6 although Ulbricht “may have had a complicated network to hide transactions within the Silk Road

 7 marketplace, [] his extraction of funds from the network was easy to spot.”

 8          32.    Yum was also involved in the FBI seizure of servers and bitcoins that linked Ulbricht to

 9 Silk Road. Yum testified at Ulbricht’s trial that he personally transferred the bitcoin linked to Ulbricht

10 to a government bitcoin address. During the trial, Yum “tracked the transactions from Silk Road to

11 [Ulbricht’s] laptop wallet.” According to Yum, those transactions were not tumbled, likely because

12 Ulbricht thought nobody would know who was linked to the address itself. Yum added: “Among the

13 bitcoin he received to his laptop, over 88% of those transactions weren’t tumbled. They were sent

14 directly from the marketplace to his wallet.”

15          I declare under penalty of perjury that the foregoing is true and correct to the best of my

16 knowledge and belief. Executed this 24th day of August 2021 in East Lansing, Michigan.

17

18                                                        ________________________
                                                          JEREMIAH HAYNIE
19
                                                          Special Agent
20                                                        Internal Revenue Service – Criminal Investigation

21

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     DECLARATION OF JEREMIAH HAYNIE                  10
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                 Silk Road Mastermind's Bitcoin Trail Wasn't Complicated
                                                Dow Jones Institutional News
                                           February 24, 2015 Tuesday 8:39 PM GMT


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Length: 1007 words
Byline: By Samuel Rubenfeld

Body


Ross Ulbricht, the convicted administrator of darknet marketplace Silk Road, was depicted as a criminal
mastermind, but it was relatively easy for a cybercrime expert to follow his transactions.

Ilhwan Yum, a senior director in the litigation consulting group of FTI Consulting, testified in Mr. Ulbricht's trial. In his
testimony, Mr. Yum described his role in the Silk Road investigation, laying out how he, then as an agent in the New
York office of Federal Bureau of Investigation, tied Mr. Ulbricht to the network through the bitcoin money trail,
though he admitted it didn't take any complicated analysis.

Prosecutors said the Silk Road marketplace used a " bitcoin tumbler" to mask the origin and destination of
transactions conducted on the network. But Mr. Yum didn't "tumble" his own transactions moving money out of the
network, making it simple to establish the connection between Mr. Ulbricht and Silk Road, he said in an interview
following Mr. Ulbricht's conviction. In other words, Mr. Ulbricht may have had a complicated network to hide
transactions within the Silk Road marketplace, but his extraction of funds from the network was easy to spot.

Mr. Yum was also involved in the FBI seizure of servers and bitcoins that linked Mr. Ulbricht to the marketplace,
testifying at Mr. Ulbricht's trial that he personally transferred the bitcoin linked to Mr. Ulbricht to a government
bitcoin address.

Mr. Yum discussed his role in the investigation and explained the bitcoin trail in an interview with Risk &
Compliance Journal. The conversation has been lightly edited for context.

The Silk Road case involved undercover agents exposing a marketplace located on the dark Web involving a
currency not exactly recognized by the government. How does that process even begin?

The case was looked at by other agencies prior to my former FBI squad. We only specialized in computer
intrusions. There was a criminal act going on, so it wasn't much that we were targeting bitcoin. It was a criminal
enterprise, and it just so happened they chose bitcoin as their payment method.

What is a bitcoin blockchain?


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                              Silk Road Mastermind's Bitcoin Trail Wasn't Complicated

It's an open book on every transaction that occurs with bitcoin. I think most people understand that it's not truly
anonymous any more. I think a lot of people mix up bitcoin, and the concept of anonymity. Bitcoin itself is just a
string of numbers and letters; the parties behind the transactions are hard to identify. The beauty of bitcoin is the
blockchain helps every transaction seem legitimate. At the same time, you're announcing every transaction
conducted in bitcoin, which makes laundering more difficult.

A lot of people compare bitcoin to virtual cash. Cash transactions are hard to track, but imagine if every serial
number [on a bill] used in a transaction was recorded and announced to the public. Limited to that alone, you can't
track who made the transaction, but you can see a transaction happened.

What is a bitcoin tumbler and how does it exploit the bitcoin blockchain?

There are different ways to tumble things and different sites that promote their way of tumbling. What it does is it
generates additional transactions, or ancillary transactions, in order to obfuscate what's being announced to the
blockchain. It mixes your transactions with another transaction, making it hard to follow the money trail on the
blockchain.

Why would someone use a tumbler?

You would use a tumbler if you realize bitcoin transactions don't have enough anonymity, and you don't want that
address coming back to you. A [bitcoin] address is linked to an individual.

Is there a legitimate use for a tumbler?

If you truly valued your privacy, you could justify it. Regardless of the intention, the act itself can be considered
money laundering. You may value your privacy but if you're trying to hide the source or trail of money, you're
engaging in money laundering. I'm not a lawyer, though.

How did you crack the Silk Road tumbler's code?

The bitcoin transactions were supporting evidence [in the case]. We identified what he was doing on the
marketplace. Our focus wasn't trying to crack the tumbler. In general terms, his tumbling wasn't as complicated as
advertised. By that, I mean his method and logic of trying to mix the transactions. The exact detail of this, however, I
can't get into.

Another example: During the trial, FTI, myself and a colleague of mine, we tracked the transactions from Silk Road
to his laptop wallet. Those transactions weren't tumbled. If you go with the concept, you only know the transactions
if you know the real-life link to that address. I can only assume Dread Pirate Roberts didn't bother to tumble it
because he thought no one would know who was linked to the address itself.

Among the bitcoin he received to his laptop, over 88% of those transactions weren't tumbled. They were sent
directly from the marketplace to his wallet.

Do you expect to see cases like this in the future?

Yeah, I think so. As you have seen in the news, almost right after Silk Road 1 was taken down, Silk Road 2.0
sprouted up. Silk Road 2.0 was taken down several months ago.

There are plenty of other marketplaces that serve as alternatives to Silk Road. They're all still using virtual
currencies. They're getting better at the underlying technology behind bitcoins, and on how to obfuscate
transactions. If your tumblering is successful in the middle of a transaction, you might be able to figure out who is
sending and who is receiving money, but you can't really have a solid link or money trail. If you are the organization
behind the tumbler, you can see the trail. But without the back end, it's hard to track.

Write to Samuel Rubenfeld at Samuel.Rubenfeld@wsj.com Follow him on Twitter @srubenfeld.



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                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                   )   CASE NO. CV 20-7811 RS
                                                 )
16          Plaintiff,                           )   NOTICE OF MOTION AND MOTION TO
                                                 )   STRIKE THE VERIFIED CLAIM OF
17      v.                                       )   CLAIMANT ILIJA MATUSKO
                                                 )
18   Approximately 69,370 Bitcoin (BTC), Bitcoin )   Hearing Date:   September 9, 2021
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )   Time:           1:30 p.m.
19   Cash (BCH) seized from                      )   Court:          Hon. Richard Seeborg
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx )
20                                               )
                                                 )
21          Defendant.                           )
                                                 )
22   ILIJA MATUSKO,                              )
                                                 )
23          Claimant.                            )
                                                 )
24                                               )
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25

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 1 TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 2          PLEASE TAKE NOTICE that on September 9, 2021, at 1:30 p.m., or as soon thereafter as the

 3 matter may be heard, in Courtroom 3 of the above-entitled court located at 450 Golden Gate Avenue,

 4 San Francisco, California 94102, the United States of America hereby respectfully moves to strike the

 5 Verified Claim of Claimant Ilija Matusko.

 6          The Motion will be based on this Notice of Motion and Motion, the attached Memorandum of

 7 Points and Authorities, the Declaration of IRS-CI Special Agent Jeremiah Haynie, attached hereto as

 8 Exhibit “A,” the Declaration of Assistant United States Attorney Claudia A. Quiroz, attached hereto as

 9 Exhibit “B,” along with all exhibits, and all other files and pleadings in this matter.

10

11 DATED: July 28, 2021                                           STEPHANIE M. HINDS
                                                                  Acting United States Attorney
12
                                                                  _/s/ Claudia A. Quiroz_________
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 1                           MEMORANDUM OF POINTS AND AUTHORITIES

 2 I.       INTRODUCTION

 3          The United States of America hereby moves, pursuant to Supplemental Rule G(8)(c)(i)(A) and

 4 (B) of the Federal Rules of Civil Procedure (“the Supplemental Rules”), to strike the verified claim and

 5 statement of interest filed by Claimant Ilija Matusko for failure to comply with the pleading

 6 requirements of Rule G(5) and because he lacks standing to bring his claim under Rule G(8)(c)(i)(B).

 7              Matusko—the ninth claimant seeking to obtain a portion of Silk Road’s criminal proceeds in

 8 this matter—argues that in December 2011, he transferred 48 bitcoins (BTC) he lawfully purchased for

 9 €150 Euros to a Bitcoin wallet associated with his user account on the Silk Road website. Matusko

10 asserts that he never purchased anything from Silk Road and thus his 48 BTC remained idle in his

11 account until law enforcement took down the Silk Road website and seized its servers and assets in

12 October 2013. Aware of the highly publicized law enforcement action at the time but purportedly

13 unaware of any rights under U.S. law to make a claim for his 48 BTC, he did not seek to recover his

14 bitcoin until May 2021, after seeking advice from counsel (and after Bitcoin hit its all-time-highest

15 value of $64,374 USD per bitcoin on April 14, 2021). Matusko’s claim fails on two grounds:

16          First, Matusko lacks standing to bring his claim because his 48 BTC are not part of the

17 Defendant Property at issue in this case. Individual X stole the 70,411.46 BTC from Silk Road in May

18 2012, long before the government takedown of Silk Road in October 2013. Individual X did not hack

19 Matusko’s account or steal his BTC. In fact, the BTC Individual X stole came from the general pool of

20 Silk Road bitcoin and not from any particular user accounts, meaning that no user balances were

21 impacted by the hack. Indeed, database records show that Matusko’s account had a balance of 47.52

22 BTC 1 for the seventeen months between Individual X’s hack and the Silk Road takedown in October

23 2013. This means that Matusko could have withdrawn his bitcoin at any time after the theft by

24 Individual X. Matusko recognizes that he lost his bitcoin when law enforcement took down Silk Road,

25 yet somehow claims that he is entitled to recover 48 BTC from the Defendant Property. Because he

26
            1
27          Matusko has rounded up this amount to 48 BTC. For purposes of this motion and for
   simplicity’s sake, the government will similarly round up the amount (even though it accounts for a
28 difference of approximately $18,000 USD).
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 1 lacks standing to bring his claim, Matusko’s claim must be stricken.

 2          Second, Matusko’s claim fails because it is untimely. As it relates to this matter, Matusko’s

 3 claim is over five months late because the statutory deadline to file a verified claim was January 26,

 4 2021, yet he did not file his claim until July 2, 2021. In reality, however, Matusko’s claim is seven and

 5 a half years late and brought in the wrong jurisdiction. Matusko lost access to his Silk Road account

 6 and corresponding balance of 48 BTC in October 2013. He asserts that the United States never

 7 notified him of his rights in the 2013 forfeiture action via direct notice or any other publication.

 8 However, the United States Attorney’s Office for the Southern District of New York—who prosecuted

 9 Silk Road’s creator and operator Ross Ulbricht and filed a corresponding civil forfeiture action for all

10 assets of Silk Road including all bitcoins residing on its servers—did in fact give notice to all potential

11 claimants by publishing a Notice of Forfeiture in the www.forfeiture.gov website for 30 days.

12 Accordingly, the deadline to file a claim for any Silk Road assets was December 17, 2013. If Matusko

13 wanted to file a claim for 48 BTC, he should have done so by December 17, 2013 and in the Southern

14 District of New York. Even if his claim was somehow proper in this district, there is no justification

15 for filing five months late when proper notice was given. Accordingly, the Court should strike

16 Matusko’s claim pursuant to Supplemental Rule G(8)(c)(i)(A) as untimely.

17          Given the nature of Matusko’s claim, there is nothing he can do to cure these defects. Because

18 no other opportunities will change these facts, Matusko’s claim must be stricken forthwith.

19 II.      FACTUAL BACKGROUND

20          A.      Silk Road and Ross Ulbricht

21          From its inception in 2011 until October 2013, when it was seized by law enforcement, the Silk

22 Road hidden website (“Silk Road”) was the most sophisticated and extensive criminal marketplace on

23 the Internet, serving as a sprawling black-market bazaar where unlawful goods and services, including

24 illegal drugs of virtually all varieties, were bought and sold regularly by the site’s users. See Declaration

25 of IRS-CI Special Agent Jeremiah Haynie ⁋ 2 (hereinafter “Haynie Decl.”) (attached hereto as Exhibit A).

26 During its two-and-a-half years in operation, Silk Road was used by thousands of drug dealers and other

27 unlawful vendors to distribute hundreds of kilograms of illegal drugs and other illicit goods and services

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 1 to well over 100,000 buyers, and to launder hundreds of millions of dollars deriving from these unlawful

 2 transactions. Id. See also id. ⁋⁋ 3-5 (describing the types of drugs and other criminal goods and

 3 services sold on the website). Silk Road was owned and operated by its creator Ross William Ulbricht,

 4 a/k/a “Dread Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road” (hereinafter “Ulbricht”). Id. ⁋ 6.

 5          The only form of payment accepted on Silk Road was bitcoin. Haynie Decl. ⁋ 7. Upon

 6 registering an account with Silk Road, users were assigned a Bitcoin address. Id. Bitcoin sent to the

 7 user’s Bitcoin address was credited to the user’s account. Id. According to the Silk Road wiki web

 8 page, Silk Road used a “tumbler” to send “all payments through a complex‚ semi-random series of

 9 dummy transactions‚ . . . making it nearly impossible to link your payment with any coins leaving the

10 site.” Id. In other words‚ if a buyer made a payment on Silk Road, the tumbler obscured any link

11 between the buyer’s Bitcoin address and the vendor’s Bitcoin address where the bitcoin end up—making

12 it fruitless to use the Blockchain to follow the money trail involved in the transaction‚ even if the

13 buyer’s and vendor’s Bitcoin addresses are both known. Id. The only function served by Silk Road’s

14 implementation of such “tumblers” is to assist with the laundering of criminal proceeds. Id. All told,

15 Silk Road generated sales revenue totaling over 9.5 million BTC, and collected commissions from these

16 sales totaling over 600,000 BTC. Id. The figures were, at the time of Ulbricht’s initial charges by

17 complaint, equivalent to approximately $1.2 billion USD in sales and approximately $80 million USD in

18 commissions. 2 Id.

19          All of those bitcoins were subject to forfeiture as proceeds of the illegal activity conducted on

20 Silk Road. As the government noted in its sentencing memorandum for Ulbricht in the Southern District

21 in New York:

22                  Silk Road was an online black market of unprecedented scope. By the
                    time it was shuttered in October 2013, over 13,000 offerings were listed
23                  on its homepage for illegal drugs of every conceivable variety. A wide
                    variety of other illicit goods and services were sold on the site as well,
24                  including fake IDs and passports, computer-hacking tools and services,
                    counterfeit goods and pirated media, criminal guidebooks and instruction
25                  manuals, and money laundering services. In total, over 1.5 million
                    transactions were conducted over Silk Road, involving over 100,000 buyer
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            2
27         Under a current valuation of $40,058.10 USD Bitcoin as of July 28, 2021, that would be
   equivalent to approximately $380 billion USD in sales and approximately $24 billion USD in
28 commissions.
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 1                  accounts and nearly 4,000 seller accounts. Those transactions had a total
                    value of nearly $214 million in U.S. currency. Nearly 95 percent of those
 2                  sales were for illegal drugs – including at least $8.9 million in sales of
                    heroin, $17.3 million in sales of cocaine, and $8.1 million in sales of
 3                  methamphetamine. The buyers and sellers involved in these transactions
                    were spread across the world, from Argentina to Australia, from the
 4                  United States to the Ukraine.

 5                  Ulbricht specifically designed Silk Road for the purpose of facilitating
                    black-market transactions. He hosted the site on the Tor network to enable
 6                  users to conduct business anonymously. He implemented a Bitcoin-based
                    payment system to enable them to make payments and cash out proceeds
 7                  without leaving behind a traditional money trail. He provided instruction
                    on “stealth” shipping methods and other ways to evade detection by law
 8                  enforcement. And he created a slick user interface aimed at making the
                    illicit commerce on the site as simple and frictionless as ordinary online
 9                  shopping.

10 See United States v. Ross William Ulbricht, Case No. CR-14-68, Dkt. No. 256 at 2 (S.D.N.Y.) (internal

11 citations omitted) (hereinafter “SDNY Sentencing Memo”).

12          Ulbricht controlled and oversaw all aspects of Silk Road. Haynie Decl. ⁋ 6. He maintained the

13 computer infrastructure and programming code underlying the Silk Road website; he determined vendor

14 and customer policies, including deciding what could be sold on the site; he managed a small staff of

15 online administrators who assisted with the day-to-day operations of the site; and he alone controlled the

16 massive profits generated from the operation of the business. Id. The contents of the Silk Road web

17 server included Ulbricht’s own user account page, which reflected, among other things, his history of

18 Bitcoin transactions on the site. Id. Ulbricht’s transaction history reflects that he received a continuous

19 flow of Bitcoins into his Silk Road account. For example, on July 21, 2013 alone, Ulbricht received

20 approximately 3,237 separate transfers of Bitcoins into his account. Id. Virtually all of those

21 transactions were labeled “commission” in the “notes” appearing next to them, indicating that the money

22 represented commissions from Silk Road sales. Id. Ulbricht’s account page further displayed the total

23 amount of bitcoins deposited in his Silk Road account, which, as of July 23, 2013, equaled more than

24 $3.4 million. Id. Thus, it is clear that Ulbricht received a steady stream of commissions from Silk Road

25 in the form of bitcoins. The government’s investigation in that case did not uncover any legitimate

26 sources of income for Ulbricht at the time of his arrest. Id.

27

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 1          Ulbricht created an escrow system for the website, “enabling him to collect payment from his

 2 customers remotely.” SDNY Sentencing Memo at 4. He collected commissions automatically on every

 3 Silk Road sale, and prominently banned users from transacting business “out-of-escrow” in order to

 4 avoid these commissions—a prohibition that he and his support staff continually enforced. Id. at 15

 5 (citing trial transcript). Ulbricht created this “escrow service—essentially himself—to hold the Bitcoins

 6 of a customer until the drugs arrived in good condition, so the customer had some recourse if the pills or

 7 powder didn’t show up as expected.” NATHANIEL POPPER, DIGITAL GOLD 72 (HarperCollins Publishers,

 8 1st ed. 2016).

 9          B.      Theft of Bitcoin from Silk Road in 2012

10          On May 6, 2012, Individual X, whose identity is known to the government, hacked Silk Road

11 and stole 70,411.46 BTC from Bitcoin addresses controlled by the website. Specifically, Individual X

12 used a vulnerability that allowed Individual X to withdraw funds from Silk Road without authorization.

13 Haynie Decl. ⁋ 9. Individual X then sent the stolen Bitcoin to two Bitcoin wallet addresses that

14 Individual X controlled: 1BADznNF3W1gi47R65MQs754KB7zTaGuYZ (“1BAD”) and

15 1BBqjKsYuLEUE9Y5WzdbzCtYzCiQgHqtPN (“1BBq”). Id. The transfers to 1BAD and 1BBq came

16 from the general pool of Silk Road bitcoin and not from any particular user accounts. Id.

17          On approximately April 9, 2013, Individual X sent 69,471.082201 BTC to

18 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx (“1HQ3”). 3 Dkt. No. 8 (Amended Complaint) ⁋ 17.

19 Ulbricht became aware of Individual X’s online identity and threatened Individual X for return of the

20 cryptocurrency to Ulbricht. Individual X did not return the cryptocurrency, and instead kept it. Id. ⁋ 22.

21          C.      Takedown and Seizure of Silk Road Website in 2013

22          On October 1, 2013, Ulbricht was arrested in San Francisco, California and charged in the

23 Southern District of New York via a criminal Complaint with narcotics trafficking conspiracy, computer

24 hacking conspiracy, and money laundering conspiracy. 4 Haynie Decl. ⁋ 8. Having located a server

25

26
            3
             As of November 3, 2020, 1HQ3 had a balance of 69,370.22491543 BTC. See id. ⁋ 19.
           4
             Ulbricht had moved to San Francisco, within the Northern District of California, prior to his
27 arrest and was operating Silk Road from the Northern District of California. After his arrest he was
   processed through the United States District Court for the Northern District of California before being
28 removed to the Southern District of New York for prosecution. At the time of his arrest, Ulbricht was
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 1 containing the corresponding authentication key for the Silk Road website on the Tor network, law

 2 enforcement simultaneously took down the website and seized its servers, including all bitcoins

 3 contained in wallets residing within them. Id.

 4          The following day, on October 2, 2013, the United States commenced a civil action in the

 5 Southern District of New York by filing a verified complaint seeking, among other things, forfeiture of

 6 the Silk Road hidden website, any and all bitcoins contained in wallet files residing on Silk Road

 7 Servers, and all property traceable thereto (“Defendants in Rem”). See United States v. Any And All

 8 Assets of Silk Road, Including But Not Limited To The Silk Road Hidden Website And Any And All

 9 Bitcoins Contained In Wallet Files Residing On Silk Road Servers, Including The Servers Assigned The

10 Following Internet Protocol Addresses [] And All Property Traceable Thereto, Case No. CV-13-06919,

11 Dkt. No. 4 (S.D.N.Y. Oct. 2, 2013) (hereinafter “SDNY Civil Forfeiture Action”). The complaint

12 sought forfeiture of the Defendants in Rem pursuant to Title 18, United States Code, Section

13 981(a)(1)(A), on the grounds that they constituted property involved in money laundering transactions,

14 in violation of 18 U.S.C. § 1956. Id. The complaint also sought the imposition of civil money

15 laundering penalties. Id.

16          On October 1, 2013, the day of Ulbricht’s arrest and the day prior to filing the forfeiture

17 complaint, the government filed a letter with the Court requesting the unsealing of the civil complaint,

18 the protective order, and any other documents in the civil forfeiture case. SDNY Civil Forfeiture

19 Action, Dkt. No. 3. In that letter, the government stated the following: “Ulbricht has now been arrested

20 in San Francisco on the charges in the Criminal Complaint. The seizure of the Silk Road website and

21 the Bitcoins contained on Silk Road’s servers is now underway, and is anticipated to be completed by

22 6:00 a.m. on October 2, 2013.” Id. at 1. Recognizing the impact that this seizure would have on the

23 website’s users, the government added the following in its letter:

24                 The seizure of the Silk Road website will affect tens of thousands of the
                   website’s users worldwide. Upon seizing the Silk Road website, the
25                 United States will post a notice on the website, stating that the website has
                   been seized pursuant to a court order. In order to allow the many users of
26

27 using a laptop, which was seized in connection with his arrest. A subsequent search of his residence
   revealed several pieces of computer hardware belonging to him. Federal law enforcement agents
28 recovered from the computer hardware a Bitcoin wallet containing approximately 144,336 Bitcoins.
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 1                  this illegal website, and the public generally, to understand why this
                    website has been shut down, the United States wishes to make public the
 2                  Civil Complaint and Protective Order.

 3 Id. at 1-2 (emphasis added).

 4          D.      The United States Attorney’s Office for the Southern District of New York Provided
                    Notice to All Potential Claimants of Silk Road Assets Starting on October 18, 2013
 5

 6          On October 18, 2013, the United States Attorney’s Office for the Southern District of New York

 7 published a Notice of Forfeiture in the www.forfeiture.gov website for 30 days, which was attached to

 8 its Declaration of Publication filed on January 2, 2014. See Declaration of Claudia A. Quiroz

 9 (hereinafter “Quiroz Decl.”) (attached hereto as Exhibit B) at Exhibit 1 (SDNY Civil Forfeiture Action,

10 Dkt. No. 13). The notice listed the property against which the government filed a verified Complaint for

11 Forfeiture pursuant to 18 U.S.C. 981. Id. at 3. This included “[a]ny and all assets of Silk Road,

12 including but not limited to Silk Road Hidden Website,” “[a]ny and all assets of Silk Road, including

13 but not limited to any and all Bitcoins contained in wallet files residing on Silk Road servers, including

14 the servers assigned to” six different Internet Protocol Addresses; and “[a]ny and all assets of Silk Road,

15 including but not limited to 27,618.69843, Silk Road Market Place Bitcoins as of block chain Account

16 Number 262280 which was seized on or about October 02, 2013.” Id. The notice further stated that

17 “[a]ny person claiming a legal interest in the Defendant Property must file a verified Claim with the

18 court within 60 days from the first day of publication (October 18, 2013) of this Notice on this official

19 government internet web site . . . .” Id. The Notice of Publication was available on the
                                                                                                   5
20 www.forfeiture.gov website for 24 hours per day between October 18, 2013 and November 16, 2013.

21 Id. at 4. Accordingly, pursuant to Rule G(5)(a)(ii)(C), the deadline to file a claim for any of those assets

22 was December 17, 2013, more than seven years prior to the date Matusko filed his claim.

23

24
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25          The government filed a separate and subsequent Notice of Forfeiture in the www.forfeiture.gov
   website for 30 additional days starting on November 8, 2013 through December 7, 2013 for the property
26 seized from Ulbricht’s computer and residence, including “all proceeds of all Bitcoins on Ulbricht’s
   computer hardware traceable to the operation of Silk Road with public Key:
27 1FfmbHfnpaZjKFvyi1okTjJJusN455paPH which was seized on or about October 25, 2013 at 2825
   Diamond Street, San Francisco, CA.” SDNY Civil Forfeiture Action, Dkt. No. 14.
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 1          Ulbricht was the only individual to file a verified claim for the Bitcoin seized from his computer

 2 wallet. See SDNY Civil Forfeiture Action, Dkt. No. 11. No claims were filed for the bitcoin seized in

 3 connection with the Silk Road website takedown, which would have included the bitcoin in individual

 4 user and vendor accounts.

 5          On January 15, 2014, the District Court in the Southern District of New York entered a Partial

 6 Judgment by Default and Order of Forfeiture ordering the forfeiture of the Silk Road website and “any

 7 and all Bitcoins contained in the wallet files residing on Silk Road servers” (i.e., the “Silk Road Server

 8 Bitcoins”). See SDNY Civil Forfeiture Action, Dkt. No. 19.

 9          E.     Ulbricht’s Indictment and Conviction

10          Ulbricht was subsequently indicted by a federal grand jury on February 4, 2014, for narcotics

11 trafficking conspiracy (21 U.S.C. § 841(a)(1)), engaging in a continuing criminal enterprise (21 U.S.C.

12 §§ 841, 843, and 846), computer hacking conspiracy (18 U.S.C. § 1030(a)(2)), and money laundering

13 conspiracy (18 U.S.C. 1956(a)(1)) in connection with his operation of the Silk Road website. United

14 States v. Ross William Ulbricht, Case No. CR-14-68 (S.D.N.Y.). In February 2015, a federal jury

15 convicted Ulbricht on seven counts including conspiracy to distribute narcotics and money laundering

16 following a four-week trial. Dkt. Nos. 1, 8 ⁋ 14. On May 29, 2015, Ulbricht was sentenced to

17 double life imprisonment plus forty years, without the possibility of parole, in connection with his

18 ownership and operation of Silk Road. 6

19          F.     Both Individual X and Ulbricht Consented to Forfeiture of the 69,370 BTC

20          On November 3, 2020, Individual X signed a Consent and Agreement to Forfeiture with the U.S.

21 Attorney’s Office, Northern District of California. Dkt. No. 8 ⁋ 23. In that agreement, Individual X,

22 consented to the forfeiture of the Defendant Property to the United States government. Id. That same

23 day, the United States took custody of the Defendant Property from 1HQ3. Id. ⁋ 24.

24 III.     PROCEDURAL HISTORY

25          A.    Initiation of In Rem Forfeiture Action

26          On November 5, 2020, the government initiated an in rem forfeiture action against

27
            6
           See https://www.justice.gov/usao-sdny/pr/ross-ulbricht-aka-dread-pirate-roberts-sentenced-
28 manhattan-federal-court-life-prison.
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 1 approximately 69,370 BTC obtained from 1HQ3, (“Defendant Property”), by filing a Civil Complaint

 2 for Forfeiture in this district. Dkt. Nos. 1, 8 (Amended Complaint). The government has traced the

 3 Defendant Property in its entirety to proceeds of criminal activity by Silk Road and Ulbricht. Id.

 4          On January 22, 2021, Ulbricht entered into a Settlement Agreement with the government in

 5 which he admitted that the Defendant Property was subject to forfeiture pursuant to 18 U.S.C. §§

 6 981(a)(1)(A) and 981(b) (funds involved in laundering of criminal proceeds), 981(a)(1)(C) (proceeds

 7 traceable to criminal activity), and 21 U.S.C. § 881(a)(6) (property traceable to narcotics trafficking) and

 8 consented to its forfeiture to the United States. Dkt. No. 47.

 9          B.        Notice of Forfeiture Action

10          On November 5, 2020, simultaneous with the filing of its Complaint, the government filed a

11 Notice of Forfeiture Action, advising all persons asserting an interest in the Defendant Property and who

12 had received direct notice of the forfeiture action to file a verified claim with the Clerk of the Court

13 pursuant to Supplemental Rule G(5). Dkt. No. 3. The government sent direct notice to Ulbricht in

14 prison. Ulbricht is the only individual known to the government with a potential interest in the

15 Defendant Property and is therefore the only person who received direct notice.

16          On November 27, 2020, the United States posted Notice of Civil Forfeiture on an official

17 government internet site (www.forfeiture.gov), which notified potential claimants that they had 60 days

18 to file a verified claim with the Court. Dkt. No. 25 (Declaration of Publication). The Declaration of

19 Publication stated that the Notice of Civil Forfeiture was posted for at least 30 days starting on

20 November 27, 2020, as required by Supplemental Rule G(4)(a)(iv)(C). Id. Pursuant to the Supplemental

21 Rules, any potential claimants asserting a claim to the Defendant Property were thus required to file

22 claims on or before January 26, 2021.

23          C.        Matusko’s Claim

24          Matusko claims that he is the “original, rightful, and innocent owner of at least 48 bitcoins . . . of

25 the 69,370 bitcoins (BTC) seized from . . . 1HQ3.” Dkt. No. 87 ⁋ 2. Matusko argues that he “legally

26 purchased 48 BTC from a third party in Germany for approximately €150 Euros.” 7 Id. In December

27
            7
28              As of July 28, 2021, the value of that bitcoin is approximately $1.9 million USD.
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 1 2011, Matusko opened an account on Silk Road under the username “hanson5” and transferred his 48

 2 BTC to the Silk Road address associated with that user account. Id. According to Matusko, he did not

 3 purchase any items from the Silk Road website and his 48 BTC remained idle in his account thereafter.

 4 Id. Matusko acknowledges that he was aware of the Silk Road takedown in 2013 and that he “most

 5 likely” lost access to his user account and bitcoins at that time, yet he claims he was “unaware of any

 6 third-party rights under U.S. law to make a claim for his legally obtain [sic] bitcoins.” Id. ⁋ 3-5.

 7          Matusko also argues that the United States did not “ever notify [him] of his rights in the 2013

 8 forfeiture action via direct notice or any other publication of information associated with his Silk Road

 9 user account.” Id. ⁋ 5. He also argues that he did not receive direct notice from the government in the

10 present case and claims that “[a]t no time was [he] aware of this civil judicial forfeiture action,” even

11 though it was published on www.forfeiture.gov. Matusko also recognizes that he now seeks recovery of

12 his Bitcoin to take advantage of the cryptocurrency’s increased value since 2013. Id. ⁋ 6.

13 IV.      LEGAL STANDARD

14          A.      The Claim Must Comply with the Requirements in Rule G(5)(a)

15          Pleadings in civil forfeiture actions must be filed in accordance with the Supplemental Rules.

16 See 18 U.S.C. § 983(a)(4)(A). Specifically, to pursue a claim, the claimant must demonstrate, in

17 addition to the usual requirement of establishing Article III standing, see Clapper v. Amnesty Int'l USA,

18 133 S. Ct. 1138, 1146 (2013), compliance with “the jurisdictional procedural requirements” set forth

19 in Supplemental Rule G(5). United States v. $100,348.00, 354 F.3d 1110, 1126 (9th Cir. 2004). Many

20 courts refer to the latter as “statutory standing” and have held that it is established through compliance

21 with Rule G. See id. At any point before trial, “the Government may move to strike the claimant’s

22 claim on the grounds that the claim does not comply with Supplemental Rule G(5) . . . or that the

23 claimant lacks standing” pursuant to Supplemental Rule G(8)(c)(i)(A) & (B). United States v.

24 $41,471.00, No. 15-cv-00696, 2016 U.S. Dist. LEXIS 10952, *10 (C.D. Cal. Jan. 5, 2016); see also

25 United States v. $12,126.00, 337 Fed. A’ppx 818, 820 (11th Cir. 2009); United States v. $13,970.00,

26 2007 WL 1231659 (M.D. Ga. 2007).

27          As many courts have recognized, there is a substantial danger of false claims in in rem actions

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 1 where the government files an action against the property, and anyone who has notice of the action can

 2 file a claim. Requiring strict compliance with the pleading requirements minimizes the danger of such

 3 claims by forcing the claimants to assert their ownership interest under oath. For that reason, the

 4 pleading requirements are not treated as “mere procedural technicalit[ies].” United States v.

 5 $487,825.00, 484 F.3d 662, 664-65 (3d Cir. 2007).

 6          B.      The Court May Strike a Claim Where the Claimant Lacks Standing

 7          To contest a forfeiture, a claimant must demonstrate both statutory and Article III

 8 standing. United States v. $1,181,895.00, 2015 U.S. Dist. LEXIS 17448, 2015 WL 631394, at *2 (C.D.

 9 Cal. Feb. 12, 2015). Standing is a threshold jurisdictional issue in civil forfeiture cases, see United

10 States v. Cambio Exacto, S.A., 166 F.3d 522, 526-27 (2d Cir. 1999), and the government is entitled to

11 “test” the veracity of the claimant’s claim of ownership and interest any time after a claim is filed. See

12 United States v. $133,420.00, 672 F.3d 629, 642 (9th Cir. 2012). In a civil forfeiture proceeding,

13 standing is satisfied if the claimant can show “a colorable interest in the property, for example, by

14 showing actual possession, control, title, or financial stake.” United States v. 475 Martin Lane, 545 F.3d

15 1134, 1140 (9th Cir. 2008). The burden for showing standing rests on the party asserting it. Lujan v.

16 Defenders of Wildlife, 504 U.S. 555, 561 (1992).

17          If the claimant does not have a real interest in the property, there is no “case or controversy,” and

18 consequently no basis for the court to exercise jurisdiction under Article III of the Constitution. See

19 United States v. 5208 Los Franciscos Way, 385 F.3d 1187, 1191 (9th Cir. 2004). The in rem nature of

20 civil forfeiture actions creates a substantial danger that claims will be filed by persons with no real

21 interest in the property. Entirely frivolous claims may be filed by people who have no connection with

22 the forfeiture case, except that they read about it on the Internet. As the Ninth Circuit has explained,

23 because the danger of false claims in civil forfeiture proceedings is “substantial,” courts require more

24 than “conclusory or hearsay allegations of some interest in the forfeited property.” $100,348, 354 F.3d

25 at 1118-19.

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 1 V.       ARGUMENT

 2          A.     Matusko Lacks Standing to Bring His Claim Because His 48 BTC was Not Stolen by
                   Individual X and is Not Contained in the Defendant Property
 3

 4          Matusko cannot demonstrate a valid ownership or possessory interest in the Defendant Property

 5 and therefore lacks standing to bring his claim. See United States v. $133,420.00, 672 F.3d 629, 637-38

 6 (9th Cir. 2012). He asserts that his interest in the Defendant Property arises from his Silk Road account

 7 balance of 48 BTC, which was wiped out when law enforcement took down the website and seized its

 8 servers in October 2013.

 9          When Individual X stole 70,411.46 BTC from Silk Road in May 2012, Individual X withdrew

10 the funds from the general pool of Silk Road bitcoin and not from any particular user accounts. This

11 means that after these transfers were made, no user balances were impacted, including the balance of

12 hanson5, Matusko’s Silk Road moniker. Haynie Decl. ⁋ 9. Indeed, Matusko’s 48 BTC remained in his

13 hanson5 account until Silk Road was taken down and its servers seized in October 2013—almost a year

14 and a half after the Defendant Property left Silk Road. Matusko therefore does not have a colorable

15 claim to the Defendant Property, particularly because he acknowledges that he lost control over his 48

16 BTC when law enforcement took down Silk Road in October 2013, and not when Individual X hacked it

17 in May 2012. See Dkt. No. 87 ⁋ 5.

18          By way of illustration, Matusko’s situation is different from another notable theft of bitcoin from

19 Silk Road, namely that by former U.S. Secret Service Special Agent Shaun Bridges. Haynie Decl. ⁋10.

20 Bridges was involved in the investigation and arrest of a Silk Road moderator. Id. The moderator

21 provided the investigation team, including Bridges, with his Silk Road administrative login credentials.

22 Id. Bridges used these credentials to reset specific vendor passwords which allowed him to take over the

23 accounts of multiple Silk Road vendors. Id. Bridges used his access to the vendor accounts to withdraw

24 bitcoin contained within the accounts to Bitcoin addresses he controlled. Id. The difference here is that

25 Bridges stole bitcoin from specific Silk Road vendor accounts and the balances of those accounts were

26 reduced accordingly within the Silk Road database. Id. Individual X, on the other hand, stole bitcoin

27 from a pool of Silk Road bitcoin. Id. Therefore, no particular vendor or user accounts were impacted.

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 1 Id.

 2          Further, after Ulbricht realized that funds had been stolen from particular vendors during the

 3 Bridges theft, Ulbricht restored the vendors’ balance back to what it was pre-theft. Id. ⁋ 11.

 4 Conversely, after Individual X stole from Silk Road, Ulbricht did not need to restore account balances

 5 because the theft was not from any particular Silk Road account. Id. In addition, Ulbricht did not

 6 disclose the theft of bitcoin and the theft did not have an impact on the users’ ability to withdraw

 7 bitcoins for use in transactions on Silk Road. Id.

 8          The theft of bitcoin by Individual X had no impact on the hanson5 Silk Road account balance.

 9 Id. ⁋ 12. A copy of the Silk Road server when it was seized in October 2013 showed that the hanson5

10 account received 47.52 bitcoin in December 2011. Id. The hanson5 Silk Road account had the same

11 balance when the server was seized in October 2013, demonstrating that the account was unaffected

12 when Individual X stole bitcoin from Silk Road in May 2012. Id. At any time from December 2011 to

13 October 2013, the owner of the hanson5 account could have withdrawn bitcoin from the account. Id.

14          Silk Road was not a bank—it was a marketplace for narcotics and not a logical place for anyone

15 to store their bitcoin. Although the government does not question Matusko’s assertion that he did not

16 purchase any items from Silk Road using his hanson5 account, his deposit of 47.52 BTC was the

17 common first step for all purchasers of illicit goods and services on Silk Road. For illustrative purposes,

18 below is a flowchart depicting Silk Road’s payment system, which was entered into evidence at

19 Ulbricht’s trial as Exhibit 113A.

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14          Although Silk Road had over 100,000 users, nobody filed a claim to the bitcoin seized when

15 Silk Road was shut down and its servers with all of the bitcoin was seized—including all of Ulbricht’s

16 commissions, all of the bitcoin in escrow, and all funds in users’ accounts. The appropriate time for

17 anyone using Silk Road for legitimate purposes to file a claim was on or prior to December 17, 2013, the

18 last day of the Southern District’s claims period after Silk Road was shut down. Matusko accordingly

19 has no standing in this action, as none of the funds he claims ever made it to 1HQ3 and were instead

20 seized as part of the larger forfeiture action advanced by the Southern District of New York. Thus, if

21 Matusko ever had standing and a valid claim for his bitcoin, he should have brought his claim at that

22 time in the Southern District of New York.

23          In short, because the bitcoin stolen by Individual X was not stolen from hanson5/Matusko, did

24 not impact Matusko’s Silk Road account balance, and did not prevent the withdrawal of funds from

25 Matusko’s account, Matusko does not have standing to bring a claim in this action and must therefore be

26 stricken.

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 1          B.      Matusko’s Claim is Untimely

 2          Matusko filed his claim on July 2, 2021—eight months after the government filed its Complaint

 3 in this matter and five months after the deadline to file a claim expired. See Dkt. No. 87. While

 4 Matusko’s claim appears to be is untimely by five months, it is actually seven and a half years late.

 5                  1.      Relevant Law on Deadlines in Civil Forfeiture Actions

 6          In a civil forfeiture case, the government is the plaintiff and initiates the action by the filing of a

 7 verified complaint; the property is the defendant; and the claimant is an intervenor seeking to challenge

 8 the forfeiture. See United States v. One-Sixth Share, 326 F.3d 36, 40 (1st Cir. 2003). Once a complaint

 9 for forfeiture is filed, the government must provide notice to potential claimants by publication and, in

10 some cases, by direct notice. First, the government must publish notice, which is typically done by

11 posting notice on an official government forfeiture website for at least 30 consecutive days. See Supp.

12 Rule G(4)(a)(iv)(C). Second, the government “must send notice of the action and a copy of the

13 complaint to any person who reasonably appears to be a potential claimant on the facts known to the

14 government before the end of the time for filing a claim under Rule G(5)(a)(ii)(B).” Supp. Rule

15 G(4)(b)(i). The rule also states that “[a] potential claimant who had actual notice of a forfeiture action

16 may not oppose or seek relief from forfeiture because of the government’s failure to send the required

17 notice.” Supp. Rule G(4)(b)(v).

18          Supplemental Rule G(5)(a)(ii) sets the time within which any potential claimants must file

19 claims to the defendant property identified in the complaint, stating in relevant part:

20          Unless the court for good cause sets a different time, the claim must be filed:

21                  (A) by the time stated in a direct notice sent under Rule G(4)(b); [or]

22                  (B) if notice was published but direct notice was not sent to the claimant or the
                    claimant’s attorney, no later than 30 days after final publication of newspaper
23                  notice or legal notice under Rule G(4)(a) or no later than 60 days after the first
                    day of publication on an official internet government forfeiture site.
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25 Supp. Rule G(5)(a)(ii).

26          The purpose of these strict time limitations “is to force claimants to come forward as soon as
27 possible after forfeiture proceedings have been initiated so that all interested parties can be heard and the

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 1 dispute resolved without delay.” United States v. 1982 Yukon Delta Houseboat, 774 F.2d 1432, 1436

 2 (9th Cir. 1985). Supplemental Rule G(5) does grant district courts discretion to extend these claim

 3 deadlines for good cause, but that discretion “is not unbounded,” and should only be exercised where

 4 “the goals underlying the time restriction and the verification requirement are not thwarted.” 1982

 5 Yukon Delta Houseboat, 774 F.2d at 1435-

 6          The Ninth Circuit has identified certain factors that lower courts should consider in ruling on an

 7 untimely claim. 8 These factors include: (1) when claimant became aware of the currency’s seizure; (2)

 8 whether the United States Attorney may have encouraged the delay; (3) the claimant’s health; (4)

 9 whether the claimant was properly served; (5) any prejudice to the government in permitting the claims

10 to go forward; (6) whether the claimant informed the government and the court of its interest before the

11 claims deadline; (7) whether the claimant expended resources preparing for trial; (8) the claimant’s good

12 faith; (9) whether the government complied with its procedural rules; (10) whether the claimant was

13 acting pro se; (11) whether the claimant petitioned for an enlargement of time; and (12) the sufficiency

14 of the proposed claim. $100,348.00, 354 F.3d at 1118. See also United States v. $1,546,076.35 in Bank

15 Funds Seized, No. 18-cv-08420, 2021 U.S. Dist. LEXIS 70873, at *5-6 (C.D. Cal. Jan. 6, 2021); United

16 States v. $43,029, No. 06-cv-07421, 2008 U.S. Dist. LEXIS 141311, at *8 (N.D. Cal. July 3, 2008).

17          Courts are particularly strict in enforcing the timeliness requirements in forfeiture actions. As

18 one court stated, “[t]he intent of Supplemental Rule G(5) plainly is that claimants who fail to timely file

19 forfeit their claims unless they possess an adequate excuse. Allowing a late filing would subvert the

20 strict time limits established by Supplemental Rule G(5) and encourage claimants to litigate every

21 untimely filing in a forfeiture case.” United States v. $25,790, 2010 WL 2671754, *4 (D. Md. July 2,

22 2010).

23                  2.     The Factors Endorsed by the Ninth Circuit and Articulated in $100,348.00
                           Weigh in Favor of Striking Claimants’ Untimely Claims Pursuant to Rule
24                         G(8)(c)(i)(A)

25          In this case, timely claims to the Defendant Property had to be filed no later than January 26,

26 2021, yet Matusko filed his claims over five months late. To excuse this untimely filing, the Court must

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             The Ninth Circuit has also further adopted factors articulated by the Fourth and Seventh
28 Circuits, which are also discussed here.
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 1 find good cause, which it cannot do under the facts and circumstances present here. Although

 2 Matusko’s claim is actually seven-and-a-half years late and filed in the wrong jurisdiction, his claim

 3 must nonetheless be stricken as untimely even if it were appropriately brought here.

 4                          a.    In Addition to Publication by the Government, the Seizure was Well
                                  Publicized, and Matusko Should Have Filed His Claim in the
 5                                Southern District of New York by December 17, 2013 (First and Sixth
                                  Factors)
 6

 7          Matusko admits that he was aware of the seizure of his 48 BTC in 2013. In his claim, he states
 8 that he was “generally aware” of the government’s action in 2013 “as it made headlines worldwide.”

 9 Dkt. No. 87 ⁋ 5. He also applies this general awareness to the fact that he “most likely” lost access to

10 his user account and “most likely” lost access to his bitcoins at that time. Id. Matusko absolutely lost

11 access to his user account and bitcoins when the government shut down Silk Road and seized its servers

12 in 2013 and would have known this upon attempting to log on to his account. Indeed, any Silk Road

13 user who attempted to access the website would have seen this takedown notice placed by law

14 enforcement in lieu of the homepage following its seizure:

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27 Haynie Decl. ⁋ 8.

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 1          Certainly, federal prosecutors in the Southern District of New York recognized that the takedown

 2 of the Silk Road website would “affect tens of thousands of the website’s users worldwide” and asked to

 3 make public the Civil Complaint and Protective Order “[i]n order to allow the many users of this illegal

 4 website, and the public generally, to understand why this website has been shut down.” SDNY Civil

 5 Forfeiture Action, Dkt. No. 3 at 1-2. Proper notice was given. The deadline to file a claim was

 6 December 17, 2013.

 7          The Silk Road takedown and Ulbricht’s arrest were publicized worldwide. A simple Google

 8 search for “Silk Road” or “Ulbricht” reveals countless articles starting in 2013 reporting on the issue.

 9 Years later, the seizure of the Defendant Property also became well known. Given its sheer value and

10 the fact that 1HQ3 was one of the most sought-after Bitcoin addresses, its seizure was highly publicized

11 in multiple national news outlets, including the Wall Street Journal, Forbes, The Guardian, and many

12 others. The fact that the seizure was associated with Silk Road further enhanced its notoriety. Indeed,

13 the government’s seizure of the 69,370 Bitcoin on November 3, 2020 was—and still is—the largest

14 seizure of cryptocurrency in the history of the Department of Justice.

15          Despite all of this, Matusko never advised the Court or the government of his interest in the

16 Defendant Property before the claim deadline. Accordingly, the first and sixth factors weigh in favor of

17 striking Matusko’s pleadings.

18                         b.      The Government Never Encouraged Delay and Provided Proper
                                   Notice (Second, Fourth, and Ninth Factors)
19

20          The government never encouraged a delay with respect to any of the claimants participating in

21 this action. At the time of seizure, the government’s sole objective was to give notice to the public and

22 known claimants as quickly as possible. The government provided direct notice to the only individual it

23 knows to have an interest in the Defendant Property—Ross Ulbricht—because it constitutes stolen

24 proceeds of Silk Road and its associated sales of drugs and other illegal goods and services. The

25 government further adhered to the noticing requirements set forth in Rule G by issuing notice by

26 publication without delay.

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 1          Matusko states in his claim that the United States did not notify him “of his rights in the 2013

 2 forfeiture action via direct notice or any other publication of information associated with his Silk Road

 3 user account. See Dkt. No. 87 ⁋ 5. This statement is incorrect, as the United States Attorney’s Office

 4 for the Southern District of New York provided adequate notice via publication on a government

 5 website. See Quiroz Decl., Ex 1.

 6          With respect to the instant action, the government similarly provided adequate notice and

 7 followed all relevant procedural rules. For these reasons, the second, fourth, and ninth factors similarly

 8 weigh in favor of striking Matusko’s claim.

 9                          c.     Matusko’s Delay Was Not Due to Health Problems (Third Factor)

10          With respect to the third factor (physical health), Matusko’s health does not appear to be a basis

11 for the failure to file a timely claim.

12                          d.     Allowing Matusko’s Claim to Proceed Would Prejudice the
                                   Government (Fifth Factor)
13

14          The fifth factor, prejudice to the government, similarly weighs against finding good cause here.

15 The Defendant Property is cryptocurrency. The inherent and continuous change in the value of Bitcoin

16 prejudices the United States because it adds to the uncertainty of the value of the Defendant Property it

17 is seeking to forfeit. Indeed, at its highest point in mid-April, Bitcoin reached over $63,000 in value. 9

18 By June 26, 2021, the value of Bitcoin fell to under $31,000, representing a drop in value of over fifty

19 percent from its peak just two months prior. 10 Matusko’s continued participation in these proceedings

20 would not only overly complicate the matters before the Court—it would also contribute to the

21 uncertainty of the value of the Defendant Property.

22          Moreover, permitting the claims to proceed would expose the government and the Court to

23 exactly the type of time-consuming, protracted litigation over the claimant’s standing to contest the

24 forfeiture that the pleading requirements were designed to avoid. As discussed above, Matusko lacks

25 standing to bring his claims for reasons separate from timeliness, rendering his continued participation

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27          See https://www.cnbc.com/2021/04/13/bitcoin-hits-new-all-time-high-above-62000-ahead-of-
   coinbase-debut.html.
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             https://www.coindesk.com/price/bitcoin.
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 1 in this action a general a waste of government and judicial resources. In that same vein, allowing

 2 Matusko—a Silk Road account holder—to proceed in this action, would result in prejudice to the

 3 government by inviting potentially thousands of other parties with no standing to attempt to intervene,

 4 resulting in a waste of judicial resources and significantly adding to the time the government would need

 5 to effectively resolve the other timely claims to the Defendant Property. Indeed, permitting this baseless

 6 claim to move forward would further undermine one of Rule G’s central goals—to “minimize[] the

 7 danger of false claims.” United States v. $102,535.00, 499 F. App’x 134, 136 (3rd Cir. 2012) (citation

 8 omitted). For these reasons, the fifth factor weighs in favor of striking Matusko’s pleadings.

 9                         e.      Matusko Has Not Prepared for Trial (Seventh Factor)

10          Striking the claim is proper pursuant to the seventh factor, given that there is no indication that

11 Matusko has spent any time preparing for trial.

12                         f.      Claimant’s Reason for Delay is Not Made in Good Faith (Eighth
                                   Factor)
13

14          On June 1, 2021, Alexander Kugelman, Matusko’s counsel, sent an email to Assistant United

15 States Attorney (“AUSA”) David Countryman stating that his client had recently learned of the seizure,

16 that he might be making a claim, and that he was hoping to get an update on the current status of the

17 action, including any timeline for filing a claim. See Quiroz Decl., Ex. 2. AUSA Countryman

18 responded the same day, advising Mr. Kugelman that “[t]he Notice of Civil Forfeiture was posted on

19 November 27, 2020, as required by Supplemental Rule G(4)” and accordingly “pursuant to 18 U.S.C.

20 983(a)(4)(A), the deadline to file a verified Claim with the Court expired on January 26, 2021.” Id.

21 AUSA Countryman attached the Declaration of Publication to his email and added that “[a]ny claim

22 filed at this time would be untimely and subject to dismissal.” Id.

23          In his email, Kugelman acknowledged that Matusko had just found out about the seizure, which

24 is a clear statement as to why he did not make a claim sooner. Whether or not it is true that a journalist

25 who had previously published articles on Bitcoin and Silk Road 11 did not learn about the highly

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     11
27      See https://taz.de/2-Zahlen-mit-Bitcoins/!142670/ (last visited July 23, 2021). See also
     https://taz.de/Schlag-gegen-Online-Drogenhandel/!5057921/ (last visited July 23, 2021).
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 1 publicized seizure of one of the most sought-after Bitcoin addresses in history containing criminal

 2 proceeds from a dark net website with which he himself had a user account until eight months after it

 3 happened, the fact remains that the government provided adequate notice by publication in this action.

 4 Even then, it took Matusko an entire month to submit a four-page claim after his attorney reached out to

 5 government counsel, who told him that the deadline had passed and that any claim filed at that time

 6 would be untimely and subject to dismissal.

 7                         g.      Matusko is not Acting Pro Se (Tenth Factor)

 8          The tenth factor also weighs in favor of striking Matusko’s claim. Here, we are not dealing with

 9 a pro se claimant without access to legal counsel. Matusko, who seems to have some knowledge about

10 Bitcoin and Silk Road, is represented by counsel. Unlike other cases involving pro se litigants, there is

11 no excuse for counsel to have filed as late as he did, especially without warning to the government or

12 filing a motion to permit a late claim. Indeed, when counsel for Matusko reached out to the government

13 it was already too late.

14                         h.      Matusko Never Sought an Extension of Time (Eleventh Factor)

15          The eleventh factor also weighs against Matusko, as he made no request to extend his time to file

16 a claim. The burden is on Matusko to provide information on when they learned of the action. Given

17 that the government’s seizure of the 69,370 Bitcoin was highly publicized, Matusko cannot possibly

18 articulate an adequate basis for his delay, especially after alerting the government that a claim was

19 forthcoming a month before filing it.

20                        i.       The Claim is Insufficient Because Matusko Lacks Standing (Twelfth
                                   Factor)
21

22          As explained in detail above, Matusko has no standing to bring a claim in this action because the

23 bitcoin stolen by Individual X was not stolen from his Silk Road account, did not impact his account

24 balance, and did not prevent the withdrawal of funds from his account at any time prior to the October

25 2013 takedown. Along with the other factors, the twelfth factor accordingly weighs in favor of striking

26 Matusko’s claim.

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 1                  3.      Courts Regularly Strike Claims on Timeliness Grounds

 2          Courts “have emphasized that forfeiture claimants must strictly adhere to the filing requirements

 3 [of Rule G] to perfect statutory standing.” $102,535.00, 499 F. App’x at 136. 12 The Ninth Circuit has

 4 similarly stated that standing to contest a forfeiture action can be conditioned on “strict compliance with

 5 filing requirements.” United States v. Real Prop. Located at 17 Coon Creek Rd., Hawkins Bar

 6 California, Trinity Cty., 787 F.3d 968, 974 (9th Cir. 2015) (internal citations omitted). This includes

 7 making a timely filing pursuant to Supplemental Rule G(5)(ii). The timely filing of a claim is vital

 8 because it “allows the court to hear all interested parties and to resolve the dispute without delay,” and

 9 of particular importance here, “it also minimizes the danger of false claims.” $102,535.00, 499 F. App’x

10 at 136. Rule G(8)(c)(1) provides that the government may move to strike a claim because a claimant

11 lacks standing. Id. at 973.

12          Several courts have strictly enforced the mandate set forth in Rule G. For example, in United

13 States v. Vehicle 2007 Mack 600 Dump Truck, the court concluded that a claimant’s filing of a claim

14 forty days after the expiration of the claims period merited striking the claim. 680 F. Supp. 2d 618, 824-

15 825 (E.D. Mich. 2010). Although the government attempted direct notice and notice by publication in

16 that case, the court’s reasoning is instructive. Specifically, the court relied on the putative claimant’s

17 failure to present any “mitigating factors,” or “evidence of a good faith attempt to file a timely claim,” as

18 well as the lack of evidence indicating the claimants’ reliance on “some misinformation provided by the

19 Government.” Id. at 824. The court further cited “[t]he policies favoring timely disposition of assets,

20 judicial economy, and finality of judgements” which “support application of a rule of strict compliance.”

21 Id. (quoting United States v. $11,918.00, 2007 WL 3037307, at *7 (E.D. Cal. Oct. 17, 2007). 13

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23          12
                See also United States v. $12,126.00, 337 F. App’x 818, 820 (11th Cir. 2009) (“We have
     emphasized that claimants must strictly adhere to the procedural requirements of the Supplemental rules
24   to achieve statutory standing to contest a forfeiture action.”); United States v. Thirty-Five Firearms, 123
     F. App’x 204, 206 (6th Cir. 2005); United States v. Real Prop. Known as the Lido Motel, 135 F.3d 1312,
25   1317 (9th Cir. 1998).
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26              See also United States v. 323 Forrest Park Dr., 521 F. App’x 379, 384-85 (6th Cir. 2013)
     (striking pro se claim filed 2 days late); United States v. $140,000, 2010 WL 1704966 (D.N.J. Apr. 26,
27   2010) (two days late); United States v. $7,000, 583 F. Supp. 2d 725, 735 (M.D.N.C. 2008) (three months
     late). United States v. $144,650, 2013 WL 6384646 (D.N.J. Dec. 6, 2013) (one month late).
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 1                  4.     Only Extraordinary Circumstances Warrant an Extension

 2          In United States v. 2840 S. Ocean Blvd., Apt. No. 209, a claimant failed to file a claim or an

 3 answer within the requisite time after provision of notice. 2017 WL 1533538 at *2 (E.D.N.Y. Apr. 21,

 4 2017). The Court noted that it had “discretion from the strict compliance ordinarily required by the

 5 Supplemental Rules,” but that “such leniency [was] not warranted under [those] circumstances.” Id.

 6 Notwithstanding that claimant’s pro se status, the court explained that “departing from the strict

 7 compliance standard is appropriate when, for example, ‘claimants have timely placed the court and

 8 government on notice of their interest in the property and intent to contest the forfeiture, recognizing

 9 both the good-faith effort put forth and the lack of prejudice to the government under such

10 circumstances.’” Id. (quoting United States v. $175,918, 755 F. Supp. 630, 633 (S.D.N.Y. 1991)). No

11 such circumstances are present here.

12          In $43,029, a court in this district similarly declined to extend its discretion to permit a forfeiture

13 case to proceed after the late filing of a complaint. There, the claimant filed an answer to a forfeiture

14 complaint over fifteen months late. 2008 U.S. Dist. LEXIS 141311, at *4. The court concluded that the

15 exercise of discretion to permit a late filing under the factors set forth in $100,348 was inappropriate in

16 light of the claimant’s knowledge of the seizure of the property; his good health; the lack of evidence as

17 to the government’s contributions to the delay; the claimant’s failure to request an extension; and the

18 claimant’s failure to notify the government of his interest in the defendant property until well after the

19 claims deadline had passed. Id. at *4-5. The court so held notwithstanding the claimant’s purported

20 lack of ability with the English language; difficulty in accessing resources in prison; and his pro se

21 status. Id.

22          The Court should strike Matusko’s claim forthwith—the facts present here do not warrant the

23 Court’s exercise of discretion to allow the claims to proceed and doing so may thwart the goals

24 underlying the limitation on filing claims. See $100,348.00, 354 F.3d at 1117-18. Because Matusko

25 cannot possibly demonstrate good cause for his late filing, the Court should follow the cases strictly

26 applying Rule G and strike his claim. If the Court elects to exercise its discretion and permits Matusko’s

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28
     U.S. MOTION TO STRIKE CLAIM OF ILIJA MATUSKO
     CV 20-7811 RS
                                                ER-720
                                                    24
           Case:
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 1 claim to proceed notwithstanding his failure to follow the pleading requirements, other defects in his

 2 claim prove fatal to his cause.

 3 VI.      CONCLUSION

 4          Approximately eight months after the government filed the instant complaint seeking to forfeit

 5 69,370 BTC constituting proceeds of thousands of illegal drug sales and property involved in money

 6 laundering transactions, and over five months after the deadline to file a claim expired, individuals and

 7 corporate entities continue to come forward filing untimely claims for these tainted funds. Although

 8 Matusko argues that he purchased his 48 BTC legitimately and used it for no illegal purpose, he

 9 nonetheless deposited it in a criminal marketplace. While he is but one individual, it is important to

10 note that Silk Road had over 100,000 buyer accounts and nearly 4,000 seller accounts. Over 1.5

11 million illegal transactions were conducted over Silk Road. The government recognized in 2013 that

12 the seizure of Silk Road would affect tens of thousands of the website’s users worldwide. It did.

13 Matusko is one of those individuals. If the Court allows the claim of someone like Matusko—a Silk

14 Road account holder—to proceed, it will signal to each and every individual who had an account with

15 Silk Road that the Defendant Property is fair game and that claims for seized Bitcoin are welcome.

16 For this reason, the Court should grant the government’s motion to strike Matusko’s claim before

17 exposing the government and the Court to time-consuming, protracted litigation over Matusko’s

18 standing to contest the forfeiture, and before additional parties flood the Court with baseless claims.

19
     DATED: July 29, 2021                                        Respectfully submitted,
20
                                                                 STEPHANIE M. HINDS
21
                                                                 Acting United States Attorney
22
                                                                 /s/ Claudia A. Quiroz________
23                                                               DAVID COUNTRYMAN
                                                                 CHRIS KALTSAS
24                                                               CLAUDIA A. QUIROZ
                                                                 WILLIAM FRENTZEN
25                                                               Assistant United States Attorneys
26

27

28
     U.S. MOTION TO STRIKE CLAIM OF ILIJA MATUSKO
     CV 20-7811 RS
                                               ER-721
                                                   25
          Case:
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 2
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 3 Chief, Criminal Division

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11
                                   UNITED STATES DISTRICT COURT
12
                                 NORTHERN DISTRICT OF CALIFORNIA
13
                                       SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                   )   CASE NO. CV 20-7811 RS
                                                 )
16          Plaintiff,                           )   DECLARATION OF JEREMIAH HAYNIE IN
                                                 )   SUPPORT OF UNITED STATES’ MOTION TO
17      v.                                       )   STRIKE THE VERIFIED CLAIM OF
                                                 )   CLAIMANT ILIJA MATUSKO
18   Approximately 69,370 Bitcoin (BTC), Bitcoin )
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )
19                                               )   Hearing Date:   September 9, 2021
     Cash (BCH) seized from                          Time:           1:30 p.m.
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx )            Court:          Hon. Richard Seeborg
20                                               )
                                                 )
21          Defendant.                           )
                                                 )
22   ILIJA MATUSKO,                              )
                                                 )
23          Claimant.                            )
                                                 )
24                                               )
                                                 )
25

26

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28

     DECLARATION OF JEREMIAH HAYNIE             1
     CASE NO. CV 20-7811 RS
                                           ER-722
           Case:
             Case22-15514, 11/09/2022,Document
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 1          I, JEREMIAH HANYIE, state as follows:

 2          1.      I am a Special Agent with the Criminal Investigation Division of the Internal Revenue

 3 Service (“IRS-CI”). I am a case agent assigned to this case. I respectfully submit this declaration to

 4 provide certain relevant information in support of the United States’ Motion to Strike the Verified Claim

 5 of Ilija Matusko. I personally conducted the blockchain analysis of the bitcoin at issue in this case and

 6 was involved in the investigation from its inception to the present day.

 7          2.      From its inception in 2011 until October 2013, when it was seized by law enforcement,

 8 Silk Road was the most sophisticated and extensive criminal marketplace on the Internet, serving as a

 9 sprawling black-market bazaar where unlawful goods and services, including illegal drugs of virtually

10 all varieties, were bought and sold regularly by the site’s users. During its two-and-a-half years in

11 operation, Silk Road was used by thousands of drug dealers and other unlawful vendors to distribute

12 hundreds of kilograms of illegal drugs and other unlawful goods and services to well over 100,000

13 buyers, and to launder hundreds of millions of dollars derived from these unlawful transactions.

14          3.      For example, contemporaneous with its seizure, there were nearly 13,000 listings for

15 controlled substances on the website‚ listed under the categories “Cannabis‚” “Dissociatives,”

16 “Ecstasy‚” “Intoxicants,” “Opioids‚” “Precursors‚” “Prescription,” “Psychedelics‚" and “Stimulants‚”

17 among others. Clicking on the link for a particular listing brings up a picture and description of the drugs

18 being offered for sale, such as “HIGH QUALITY #4 HEROIN ALL ROCK” or “5gr UNCUT Crystal
19 Cocaine!!”. Nearly 95% of all sales on Silk Road were for illegal drugs.

20          4.      During its operation, law enforcement agents made over 100 individual undercover

21 purchases of controlled substances from Silk Road vendors. The substances purchased in these

22 undercover transactions have been various Schedule I and II drugs, including ecstasy‚ cocaine, heroin‚

23 LSD, and others. Samples of these purchases were laboratory-tested and have typically shown high

24 purity levels of the items that were advertised by Silk Road. Based on the postal markings of the

25 packages in which the drugs arrived, these purchases appear to have been filled by vendors located in

26 over ten different countries‚ including the United States. Law enforcement agents also made undercover

27 purchases of hacking services on Silk Road, including purchases of malicious software such as password

28 stealers and remote access tools.

     DECLARATION OF JEREMIAH HAYNIE                  2
     CASE NO. CV 20-7811 RS
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 1          5.     Contemporaneous with the seizure of Silk Road, there were 159 listings on the site under

 2 the category “Services.” Most concerned computer services: for example, one listing was by a vendor to

 3 hack into Facebook‚ Twitter, and other social networking accounts of the customer's choosing‚ offering

 4 that “You can Read, Write‚ Upload‚ Delete‚ View All Personal Info”; another offered tutorials teaching

 5 “22 different methods” for hacking ATM machines. Other listings offered services that were likewise

 6 criminal in nature. For example‚ one listing was for “HUGE Blackmarket Contact List,” which

 7 described lists of “connects” for “Services” such as “Anonymous Bank Accounts,” “Counterfeit Bills

 8 (CAD/GBP/EUR/USD),” “Firearms + Ammunition‚” “Stolen Info (CC [credit card], Paypal)‚” and

 9 “Hitmen (10+ countries).”

10          6.     Silk Road was owned and operated by its creator Ross William Ulbricht, a/k/a “Dread

11 Pirate Roberts,” a/k/a “DPR,” a/k/a “Silk Road” (hereinafter “Ulbricht”). Ulbricht controlled and

12 oversaw all aspects of Silk Road. He maintained the computer infrastructure and programming code

13 underlying the Silk Road website; he determined vendor and customer policies, including deciding what

14 could be sold on the site; he managed a small staff of online administrators who assisted with the day-to-

15 day operations of the site; and he alone controlled the massive profits generated from the operation of

16 the business. The contents of the Silk road web server included Ulbricht’s own user account page,

17 which reflected, among other things, his history of Bitcoin transactions on the site. Ulbricht’s

18 transaction history reflects that he received a continuous flow of Bitcoins into his Silk Road account.
19 For example, on July 21, 2013 alone, Ulbricht received approximately 3,237 separate transfers of

20 Bitcoins into his account. Virtually all of those transactions were labeled “commission” in the “notes”

21 appearing next to them, indicating that the money represented commissions from Silk Road sales.

22 Ulbricht’s account page further displayed the total amount of Bitcoins deposited in his Silk Road

23 account, which, as of July 23, 2013, equaled more than $3.4 million. Thus, Ulbricht received a steady

24 stream of commissions from Silk Road in the form of Bitcoins. The government’s investigation in that

25 case did not uncover any legitimate sources of income for Ulbricht at the time of his arrest.

26          7.     The only form of payment accepted on Silk Road was bitcoin. Upon registering an

27 account with Silk Road, users were assigned a Bitcoin address. Bitcoin sent to the user’s Bitcoin

28 address was credited to the user’s account. According to the Silk Road wiki web page, Silk Road used a

     DECLARATION OF JEREMIAH HAYNIE                  3
     CASE NO. CV 20-7811 RS
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 1 “tumbler” to send “all payments through a complex‚ semi-random series of dummy transactions‚ . . .

 2 making it nearly impossible to link your payment with any coins leaving the site.” In other words‚ if a

 3 buyer makes a payment on Silk Road, the tumbler obscures any link between the buyer’s Bitcoin

 4 address and the vendor’s Bitcoin address where the bitcoin end up—making it fruitless to use the

 5 Blockchain to follow the money trail involved in the transaction‚ even if the buyer’s and vendor’s

 6 Bitcoin addresses are both known. The only function served by Silk Road’s implementation of such

 7 “tumblers” is to assist with the laundering of criminal proceeds. All told, Silk Road generated sales

 8 revenue totaling over 9.5 million bitcoin, and collected commissions from these sales totaling over

 9 600,000 bitcoin. The figures were, at the time of Ulbricht’s initial charges by complaint, equivalent to

10 approximately $1.2 billion in sales and approximately $80 million in commissions. 1

11          8.     On October 1, 2013, Ulbricht was arrested in San Francisco, California and charged in

12 the Southern District of New York via a criminal Complaint with narcotics trafficking conspiracy,

13 computer hacking conspiracy, and money laundering conspiracy. 2 Having located a server containing

14 the corresponding authentication key for the Silk Road website on the Tor network, law enforcement

15 simultaneously took down the website and seized its servers, including all bitcoins contained in wallets

16 residing within them. Below is an image of the takedown notice placed on the Silk Road website:

17 / / /

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23
          1
            Under today’s valuation, with a price per Bitcoin of $31,774.20 USD, that would be equivalent
24 to $302 billion in sales and approximately $19 billion in commissions.

25          2
            Ulbricht had moved to San Francisco, within the Northern District of California, prior to his
   arrest and was operating Silk Road from the Northern District of California. After his arrest he was
26 processed through the United States District Court for the Northern District of California before being
   removed to the Southern District of New York for prosecution. At the time of his arrest, Ulbricht was
27 using a laptop, which was seized in connection with his arrest. A subsequent search of his residence
   revealed several pieces of computer hardware belonging to him. Federal law enforcement agents
28 recovered from the computer hardware a Bitcoin wallet containing approximately 144,336 Bitcoins.

     DECLARATION OF JEREMIAH HAYNIE                 4
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14          9.     On approximately May 6, 2012, Individual X stole 70,411.46 BTC from addresses

15 controlled by Silk Road and transferred it to two Bitcoin addresses—

16 1BADznNF3W1gi47R65MQs754KB7zTaGuYZ (hereafter “1BAD”) and

17 1BBqjKsYuLEUE9Y5WzdbzCtYzCiQgHqtPN (hereafter “1BBq”). Individual X used a vulnerability

18 that allowed him to withdraw funds from Silk Road without authorization. The transfers to 1BAD and
19 1BBq came from the general pool of Silk Road bitcoin and not from any particular user accounts.

20 Meaning after these transfers were made, no user balances were impacted including the balance of

21 hanson5.

22          10.    This is different from another notable theft of bitcoin from Silk Road, namely that by

23 former U.S. Secret Service Special Agent Shaun Bridges. Bridges was involved in the investigation and

24 arrest of a Silk Road moderator. The moderator provided the investigation team, including Bridges,

25 with his Silk Road administrative login credentials. Bridges used these credentials to reset specific

26 vendor passwords which allowed him to take over the accounts of multiple Silk Road vendors. Bridges

27 used his access to the vendor accounts to withdraw bitcoin contained within the accounts to Bitcoin

28 addresses he controlled. The difference here is that Bridges stole bitcoin from specific Silk Road vendor

     DECLARATION OF JEREMIAH HAYNIE                  5
     CASE NO. CV 20-7811 RS
                                              ER-726
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 1 accounts and the balances of those accounts were reduced accordingly within the Silk Road database.

 2 Individual X, on the other hand, stole bitcoin from a pool of Silk Road bitcoin. Therefore, no particular

 3 vendor or user accounts were impacted.

 4          11.     Further, after Ulbricht realized that funds had been stolen from particular vendors during

 5 the Bridges theft, Ulbricht restored the vendors’ balance back to what it was pre-theft. Contrarily, after

 6 Individual X stole from Silk Road, Ulbricht did not need to restore account balances because the theft

 7 was not from any particular Silk Road account. In addition, Ulbricht did not disclose the theft of bitcoin

 8 and the theft did not have an impact on the users’ ability to withdraw.

 9          12.     The theft of bitcoin by Individual X had no impact on the hanson5 Silk Road account

10 balance. A copy of the Silk Road server when it was seized in October 2013 showed that the hanson5

11 account received 47.52 bitcoin in December 2011. The hanson5 Silk Road account had the same

12 balance when the server was seized in October 2013. Notedly, the account was unaffected when

13 Individual X stole bitcoin from Silk Road in May 2012. At any time from December 2011 to October

14 2013, the owner of the hanson5 account could have withdrawn bitcoin from the account.

15                                           BITCOIN OVERVIEW

16          13.     Through my training and experience, and through reference to open-source information

17 available via the Internet, I know the following:

18          14.     Bitcoin is a type of virtual currency. 3 Virtual currency (also known as cryptocurrency or

19 digital currency) is a digital representation of value that can function as a medium of exchange, a unit of

20 account, and/or a store of value. 4 Virtual currency is not issued by any government or bank. It is

21 generated and controlled through computer software operating on a decentralized, peer-to-peer network.

22 Virtual currency is not illegal in the United States and may be used for legitimate financial transactions.

23 However, virtual currency is frequently used in conjunction with illegal or restricted activities,

24

25          3
             Bitcoin is both a cryptocurrency and a protocol; because of this, capitalization differs. Accepted
   practice is to use "Bitcoin" (singular with an uppercase letter B) to label the protocol, software, and
26 community, and "bitcoin" (with a lowercase letter b) to label units of the currency. That practice is adopted
   here.
27
           4
             For the purposes of this affidavit, “digital currency,” “cryptocurrency,” and “virtual currency”
28 address the same concept.

     DECLARATION OF JEREMIAH HAYNIE                    6
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 1 including, for example, purchasing illegal narcotics on darknet markets.

 2          15.     To send and receive bitcoin, the parties involved in a transaction use Bitcoin “addresses.”

 3 A Bitcoin address is somewhat analogous to a bank account number and is represented as a 26-to-35-

 4 character-long case-sensitive string of letters and numbers. Each Bitcoin address is controlled through

 5 the use of a unique, private key. This key is the equivalent of a password or PIN and is necessary to

 6 access the funds associated with a Bitcoin address. Only the holder of a Bitcoin address’ private key can

 7 authorize transfers of bitcoin from that address to other Bitcoin addresses. Users can operate multiple

 8 Bitcoin addresses at any given time and can use a unique Bitcoin address for each transaction.

 9          16.     When a sender initiates a Bitcoin transaction, the sender transmits a transaction

10 announcement across the peer-to-peer Bitcoin network. To complete a transaction, a sender needs only

11 the Bitcoin address of the receiving party and the sender’s own private key. This information on its own

12 rarely reflects any identifying information about either the sender or the recipient. As a result, little-to-

13 no personally identifiable information about the sender or recipient is transmitted in a Bitcoin

14 transaction itself. Once the sender’s transaction announcement is verified by the network, the

15 transaction is added to the blockchain, a decentralized public ledger that records every Bitcoin

16 transaction. The blockchain logs every Bitcoin address that has ever received bitcoin and maintains

17 records of every transaction for each Bitcoin address.

18          17.     While a Bitcoin address owner’s identity is generally anonymous within the blockchain

19 (unless the owner chooses to make information about the owner’s Bitcoin address publicly available),

20 investigators can often use the blockchain to identify the owner of a particular Bitcoin address. Because

21 the blockchain serves as a searchable public ledger of every Bitcoin transaction, investigators can trace

22 transactions to, among other recipients, virtual currency exchanges.

23                             REVIEWING THE BITCOIN PUBLIC LEDGER

24          18.     The Bitcoin public ledger can be accessed from any computer connected to the internet

25 simply by searching for it in a search program like Google. As noted above, the entire Bitcoin public

26 ledger is stored on most of the computers that make up the peer-to-peer network.

27          19.     Importantly, once a Bitcoin address is used, it becomes traceable by the history of all

28 transactions that the address is involved with. Anyone can see the balance and all transactions of any

     DECLARATION OF JEREMIAH HAYNIE                   7
     CASE NO. CV 20-7811 RS
                                                ER-728
          Case:
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 1 address. This information is part of the public ledger.

 2          I declare under penalty of perjury that the foregoing is true and correct to the best of my

 3 knowledge and belief. Executed this 28th day of July, 2021 in East Lansing, Michigan.

 4
                                                          _____/s/___________________
 5                                                        JEREMIAH HAYNIE
                                                          Special Agent
 6
                                                          Internal Revenue Service – Criminal Investigation
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     DECLARATION OF JEREMIAH HAYNIE                   8
     CASE NO. CV 20-7811 RS
                                               ER-729
     Case: 22-15514,
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 4   alex@kugelmanlaw.com

 5   Attorney for Intervenor Claimant
     ILIJA MATUSKO
 6

 7                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                           Case No. CV 20-7811 RS
10
                           Plaintiff,                    Judge: Hon. Richard Seeborg
11                                                       United States District Judge

12                         v.
                                                 VERIFIED CLAIM AND STATEMENT
13   Approximately 69,370 Bitcoin (BTC), Bitcoin OF INTEREST OF ILIJA MATUSKO
     Gold (BTG), Bitcoin SV (BSV), and Bitcoin   PURSUANT TO 18 U.S.C. § 983(a)(4)(A)
14   Cash (BCH) seized from                      RULE C(6)(a) & G(5)(a),
     1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx, SUPPLEMENTAL RULES FOR
15                                               ADMIRALTY OR MARITIME CLAIMS

16                          Defendant.                   Judge: Hon. Richard Seeborg
                                                         United States District Judge
17   ______________________________________

18   ILIJA MATUSKO,
19
                            Claimant.
20

21
                                            NOTICE OF CLAIM
22
            Pursuant to 18 United States Code, sections 983(a)(4)(A) and Rules C(6) and G(5) of the
23

24   Federal Supplemental Rules for Admiralty or Maritime Claims or Forfeiture Actions, claimant

25   Ilija Matusko (“Claimant”), by and through his counsel of record, Alexander Kugelman, hereby
26   claims an interest in a portion of the defendant property that are the subject of this forfeiture
27
     action brought by the United States of America (the “United States”).
28
                                                    1
                                            Verified Claim
                                             CV 20-7811 RS
                                          ER-730
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 1                                                CLAIM
 2          1.      Claimant is a citizen of the state of Germany. At all times relevant, Claimant has
 3
     resided in Germany, he has and continues to be employed as a professional journalist, and for all
 4
     relevant periods he has continuously resided in Germany.
 5
            2.      Claimant is the original, rightful, and innocent owner of at least 48 bitcoins (not
 6

 7   including any past or future bitcoin forks, including but not limited to BTG, BSV, BCH, etc.) of

 8   the 69,370 bitcoins (BTC) seized by the United States from public key / blockchain address

 9   1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx (“1HQ3 wallet”). In December 2011, Claimant legally
10
     purchased 48 BTC from a third party in Germany for approximately €150 Euros. In December
11
     2011, Claimant opened a user account on the Silk Road website under the user identification
12
     “hanson5”. Claimant thereafter transferred these 48 BTC to the Silk Road public key /
13
     blockchain address / wallet that was associated with his user account. At no time did the Claimant
14

15   purchase any items, legal or illegal, from the Silk Road website. The 48 BTC remained idle in the

16   Claimant’s Silk Road account thereafter.
17          3.      In October 2013 the FBI and other US law enforcement agencies (“United States
18
     Law Enforcement”) seized the Silk Road’s website, servers and any tangible assets and intangible
19
     assets that may have been associated with the Silk Road website that where within reach of
20
     United States Law Enforcement and the United States.
21

22          4.      At the time of the United States Law Enforcement coordinated take down of the

23   Silk Road website, the fair market value of one bitcoin was approximately $133 per bitcoin.

24          5.      Claimant was generally aware of this 2013 United States Law Enforcement action
25   as it made headlines worldwide, that he most likely lost access to the user account and that he
26
     most likely lost access to his bitcoins. However, Claimant was unaware of any third-party rights
27
     under U.S. law to make a claim for his legally obtain bitcoins. Nor did United States ever notify
28
                                                   2
                                           Verified Claim
                                            CV 20-7811 RS
                                         ER-731
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 1   Claimant of his rights in the 2013 forfeiture action via direct notice or any other publication of
 2   information associated with his Silk Road user account.
 3
             6.       In May 2021, due to the rapid increase in value of cryptocurrency, specifically
 4
     BTC, Claimant sought advice from counsel in Germany about the possibility of recovering the 48
 5
     bitcoins from the original United States Law Enforcement take down of the Silk Road
 6

 7   marketplace. The average fair market value of BTC in May of 2021was approximately $42,450

 8   per BTC. The current fair market value of BTC is approximately $34,020.

 9           7.       On November 5, 2020, the United States Government filed a complaint for
10
     forfeiture involving the seizure of approximately 69,370 BTC, BTG, BSV and BCH from 1HQ3
11
     wallet. From this filing and related court filings it clear that the source of the 69,370 BTC, BTG,
12
     BSV, BCH was ultimately from the Silk Road market place that eluded United States Law
13
     Enforcement and United States seizure efforts in 2013.
14

15           8.       Also on November 5, 2020, the United States Government filed a notice of

16   forfeiture action seeking forfeiture pursuant to 18 U.S.C. §§ 981(a)(1)(A), 981(a)(1)(C), 981(b),
17   and 21 U.S.C. § 881(a)(6) in the United States District Court for the Northern District of California
18
     against the in rem defendant, approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG), Bitcoin SV
19
     (BSV), and Bitcoin Cash (BCH) seized from 1HQ3 wallet.
20
             9.       This filing states all persons asserting an interest in or claim against the defendant
21
     and who received direct notice of the forfeiture action must file a verified claim with the Clerk of
22
     this Court pursuant to Rule 5(g) of the Supplemental Rules for Admiralty or Maritime and Asset
23

24   Forfeiture Claims, within thirty-five (35) days after the notice is sent; or if notice was published but direct

25   notice was not sent to the claimant or the claimant’s attorney, a claim must be file not later than sixty (60)

26   days after the first day of publication on an official internet government forfeiture website

27   (www.forfeiture.gov); or within the time that the court allows (emphasis added).

28
                                                       3
                                               Verified Claim
                                                CV 20-7811 RS
                                             ER-732
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 1           10.     At no time did the Claimant receive direct notice from the government even
 2   though he may have an interest in the intangible assets seized by the government in this civil
 3
     forfeiture action.
 4
             11.     At no time was the Claimant aware of this civil judicial forfeiture action, even
 5
     though it was published on www.forfeiture.gov. The Claimant only recently became aware,
 6

 7   specifically June 8, 2021, of this civil judicial forfeiture action when advised by counsel of record

 8   of this specific pending judicial forfeiture.

 9           12.     On information and belief, Claimant believes that this seizure by the United States
10
     from 1HQ3 wallet includes at least 48 BTC (not including any past or future bitcoin forks,
11
     including but not limited to BTG, BSV, BCH, etc.), associated with the Claimant’s Silkroad user
12
     account “hanson5”.
13
             13.     Claimant contests forfeiture of the Defendants Property, as it relates to at least 48
14

15   BTC (not including any past or future bitcoin forks, including but not limited to BTG, BSV,

16   BCH, etc.), in this action and seeks the return of the Property (and any other portion of Defendant
17   property that belongs to Claimant due to past or future bitcoins forks including but not limited to
18
     BTG, BSV, BCH, etc.) to Claimant as original, rightful, and innocent owner of such property.
19
             14.     As a result a claim pursuant to Rule G(5) of the supplemental Rules for Admiralty
20
     or Maritime and Asset Forfeiture Claims is being filed.
21

22
      Dated: June 23, 2021                               Respectfully submitted,
23

24                                                       Kugelman Law, P.C.

25

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                                                     4
                                             Verified Claim
                                              CV 20-7811 RS
                                          ER-733
Case: 22-15514,
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 1                                    CERTIFICATE OF SERVICE
 2          I, Alexander H. Kugelman, hereby certify that I have electronically filed the above-
 3
     captioned document with the Clerk of the Court using the CM/ECF system, which will
 4
     automatically send an e-mail notification of such filing to all counsel of record.
 5
            I declare under penalty of perjury under the laws of the United States that the foregoing is
 6

 7   true and correct.

 8

 9
      Dated: June __,
                  30 2021                               Respectfully submitted,
10

11                                                      /s/ Alexander H. Kugelman         .
                                                        Alexander H. Kugelman (SBN 255463)
12                                                      21 Tamal Vista Blvd., Suite 202
                                                        Corte Madera, CA 94925
13                                                      Telephone: (415) 968-1780
                                                        Facsimile: (415) 534-9441
14
                                                        Email: alex@kugelmanlaw.com
15
                                                        Attorney for Intervenor Claimant
16                                                      Ilija Matusko
17

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                                                   6
                                           Verified Claim
                                            CV 20-7811 RS
                                         ER-735
Case: 22-15514,
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   2/3/21
                                         /S David Countryman




                               ER-738
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 1 DAVID L. ANDERSON (CABN 149604)
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 2
   HALLIE HOFFMAN (CABN 210020)
 3 Chief, Criminal Division

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            Facsimile: (415) 436-7234
 9          Email: david.countryman@usdoj.gov

10 Attorneys for United States of America

11                                   UNITED STATES DISTRICT COURT
12                                NORTHERN DISTRICT OF CALIFORNIA
13                                       SAN FRANCISCO DIVISION
14   UNITED STATES OF AMERICA,                   ) CASE NO: CV 20-7811 RS
                                                 )
15          Plaintiff,                           )
                                                 )
16      v.                                       ) CERTIFICATE OF SERVICE
                                                 )
17                                               )
     Approximately 69,370 Bitcoin (BTC), Bitcoin )
18   Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )
     Cash (BCH) seized from                      )
19   1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx, )
                                                 )
20                                               )
            Defendant.                           )
21
            The undersigned hereby certifies that she is an employee in the Office of the United States
22

23 Attorney for the Northern District of California and is a person of such age and discretion to be

24 competent to serve papers. The undersigned further certifies that she caused a copy of

25              •   Amended Complaint for Civil Forfeiture;
26              •   Amended Notice of Forfeiture Action;
27              •   Amended Warrant of Arrest of Property in Rem;
28

     CERTIFICATE OF SERVICE
     CV 20-7811 RS
                                              ER-739
                                                1
           Case: 22-15514,
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 1              •   Related Case Order;
 2              •   Judge Seeborg’s Standing Order re: Initial Case Management Conferences;
 3              •   Judge Seeborg’s Guidelines for Final Pretrial Conference in Jury Cases;
 4              •   Judge Seeborg’s Standing Order for Civil Bench Trial;
 5              •   Standing Order for All Judges of the Northern District of California;
 6              •   Notice of Availability of Magistrate Judge to Exercise Jurisdiction;
 7              •   Dispute Resolution Procedures in the Northern District of California; and
 8              •   ECF Registration Information
 9 to be served this date via United States Certified Mail and United States First Class mail delivery upon
10 the person(s) below at the place(s) and address(es) which is the last known address(es):

11
      Ross William Ulbricht
12    Register Number: 18870-111
      U.S. Penitentiary, USP Tucson
13    P.O. Box 24550
      Tucson, AZ 85734
14

15
            I declare under penalty of perjury under the laws of the United States of America that the
16
     foregoing is true and correct to the best of my knowledge.
17
            Executed this 25th day of November, 2020, at San Francisco, California
18

19

20                                                       /S/ Carolyn Jusay
                                                         CAROLYN JUSAY
21                                                       FSA Paralegal Asset Forfeiture Unit

22

23

24

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     CERTIFICATE OF SERVICE
     CV 20-7811 RS
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 1 DAVID L. ANDERSON (CABN 149604)
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10 Attorneys for United States of America

11
                                      UNITED STATES DISTRICT COURT
12
                                   NORTHERN DISTRICT OF CALIFORNIA
13
                                          SAN FRANCISCO DIVISION
14

15 UNITED STATES OF AMERICA,                   ) CASE NO. CV 20-7811 RS
                                               )
16        Plaintiff,                           ) AMENDED COMPLAINT FOR FORFEITURE
                                               )
17    v.                                       )
                                               )
18 Approximately 69,370 Bitcoin (BTC), Bitcoin )
   Gold (BTG), Bitcoin SV (BSV), and Bitcoin   )
19 Cash (BCH) seized from                      )
   1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx, )
20                                             )
                                               )
21        Defendant.                           )
                                               )
22

23                                         NATURE OF THE ACTION

24          1.      This is a judicial forfeiture action, as authorized by 18 U.S.C. §§ 981(a)(1)(A),

25 981(a)(1)(C), 981(b), and 21 U.S.C. § 881(a)(6), involving the seizure of the following property:

26          •    Approximately 69,370.22491543 Bitcoin (BTC), Bitcoin Gold (BTG), Bitcoin SV (BSV),

27               Bitcoin Cash (BCH), obtained from 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx;

28 (hereinafter, collectively, the “Defendant Property”), as property constituting, or derived from, any

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 1 proceeds of 18 U.S.C. § 371 (Conspiracy), 18 U.S.C. § 1030(a)(2) and (a)(4) (Computer Hacking),

 2 property furnished or intended to be furnished by a person in exchange for a controlled substance, or

 3 money traceable to such an exchange, or money used or intended to be used to facilitate such a violation

 4 (Narcotics Sales), and property involved in violations of 18 U.S.C. § 1956 and 1956(h) (Money

 5 Laundering and Conspiracy), and thereby forfeitable pursuant to 18 U.S.C. §§ 981(a)(l)(A), 981(a)(1)(C),

 6 981(b), and 21 U.S.C. § 881.

 7                                      JURISDICTION AND VENUE
 8          2.     This Court has jurisdiction under 28 U.S.C. §§ 1345 and 1355(a), and 18 U.S.C. §§

 9 981(a)(l)(A), 981(a)(1)(C), 981(b), and 21 U.S.C. § 881.
10          3.     Venue is proper because the defendant currency was seized in the Northern District of
11 California. 28 U.S.C. §§ 1355(b) and 1395.

12          4.     Intra-district venue is proper in the San Francisco Division within the Northern District of
13 California.

14                                                  PARTIES
15          5.     Plaintiff is the United States of America.
16          6.     The Defendant Property is approximately 69,370.22491543 Bitcoin (BTC),
17 69,370.10730857 Bitcoin Gold (BTG), 69,370.10710518 Bitcoin SV (BSV), and 69,370.12818037

18 Bitcoin Cash (BCH), obtained from 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx on or about

19 November 3, 2020.

20                                                   FACTS
21          7.     From 2011 until October 2013, when it was seized by law enforcement, Silk Road was the

22 most sophisticated and extensive criminal marketplace on the Internet, serving as a sprawling black

23 market bazaar where unlawful goods and services, including illegal drugs of virtually all varieties, were

24 bought and sold regularly by the site’s users. While in operation, Silk Road was used by thousands of

25 drug dealers and other unlawful vendors to distribute hundreds of kilograms of illegal drugs and other

26 unlawful goods and services to well over 100,000 buyers, and to launder hundreds of millions of dollars

27 derived from these unlawful transactions.

28

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 1          8.     For example, contemporaneous with its seizure, there were nearly 13,000 listings for

 2 controlled substances on the website‚ listed under the categories “Cannabis‚” “Dissociatives,” “Ecstasy‚”

 3 “Intoxicants,” “Opioids‚” “Precursors‚” “Prescription,” “Psychedelics‚" and “Stimulants‚” among others.

 4 Clicking on the link for a particular listing brings up a picture and description of the drugs being offered

 5 for sale, such as “HIGH QUALITY #4 HEROIN ALL ROCK” or “5gr UNCUT Crystal Cocaine!!”.

 6          9.     During its operation, law enforcement agents made over 100 individual undercover

 7 purchases of controlled substances from Silk Road vendors. The substances purchased in these

 8 undercover transactions have been various Schedule I and II drugs, including ecstasy‚ cocaine, heroin‚

 9 LSD, and others. Samples of these purchases were laboratory-tested and have typically shown high purity
10 levels of the items that were advertised by Silk Road. Based on the postal markings of the packages in

11 which the drugs arrived, these purchases appear to have been filled by vendors located in over ten

12 different countries‚ including the United States. Law enforcement agents also made undercover

13 purchases of hacking services on Silk Road, including purchases of malicious software such as password

14 stealers and remote access tools.

15          10.    Contemporaneous with the seizure of Silk Road, there were 159 listings on the site under
16 the category “Services.” Most concerned computer services: for example, one listing was by a vendor to

17 hack into Facebook‚ Twitter, and other social networking accounts of the customer's choosing‚ offering

18 that “You can Read, Write‚ Upload‚ Delete‚ View All Personal Info”; another offered tutorials teaching

19 “22 different methods” for hacking ATM machines. Other listings offered services that were likewise

20 criminal in nature. For example‚ one listing was for “HUGE Blackmarket Contact List,” which described

21 lists of “connects” for “Services” such as “Anonymous Bank Accounts,” “Counterfeit Bills

22 (CAD/GBP/EUR/USD),” “Firearms + Ammunition‚” “Stolen Info (CC [credit card], Paypal)‚” and

23 “Hitmen (10+ countries).”

24          11.    The only form of payment accepted on Silk Road was Bitcoin.

25          12.    All told, Silk Road generated sales revenue totaling over 9.5 million Bitcoin, and collected

26 commissions from these sales totaling over 600,000 Bitcoin.

27          13.    Silk Road used a so-called “tumbler” to process Bitcoin transactions in a manner designed

28 to frustrate the tracking of individual transactions through the Blockchain. According to the Silk Road

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 1 wiki web page‚ Silk Road’s tumbler “sends all payments through a complex‚ semi-random series of

 2 dummy transactions‚ . . . making it nearly impossible to link your payment with any coins leaving the

 3 site.” In other words‚ if a buyer makes a payment on Silk Road, the tumbler obscures any link between

 4 the buyer’s Bitcoin address and the vendor’s Bitcoin address where the Bitcoins end up—making it

 5 fruitless to use the Blockchain to follow the money trail involved in the transaction‚ even if the buyer’s

 6 and vendor’s Bitcoin addresses are both known. The only function served by Silk Road’s implementation

 7 of such “tumblers” is to assist with the laundering of criminal proceeds.

 8          14.    In February 2015, a federal jury convicted Silk Road creator Ross Ulbricht on seven

 9 counts including conspiracy to distribute narcotics and money laundering. Ulbricht had moved to San
10 Francisco, within the Northern District of California, prior to his arrest and was operating Silk Road from

11 the Northern District of California. He was arrested in San Francisco and processed through the United

12 States District Court for the Northern District of California before being removed to the Southern District

13 of New York for prosecution.

14          15.    In 2020, law enforcement officers used a third party bitcoin attribution company to
15 analyze Bitcoin transactions executed by Silk Road. From this review they observed 54 transactions that

16 were sent from Bitcoin addresses controlled by Silk Road, to two Bitcoin addresses:

17 1BADznNF3W1gi47R65MQs754KB7zTaGuYZ and 1BBqjKsYuLEUE9Y5WzdbzCtYzCiQgHqtPN

18 totaling 70,411.46 BTC (valued at approximately $354,000 at the time of transfer).

19          16.    The individual amounts that were transferred were mainly round Bitcoin amounts and

20 close together in time. For example, 10 of the transfers occurred at approximately 3:59 a.m. and each

21 transfer was for exactly 2,500 Bitcoin. This pattern of withdrawals and the amount that was withdrawn

22 was not typical for a Silk Road user. Specifically, a review of other withdrawals from Silk Road revealed

23 Bitcoin amounts that were mostly less than 100 Bitcoin. These 54 transactions were not noted in the Silk

24 Road database as a vendor withdrawal or a Silk Road employee withdrawal and therefore appear to

25 represent Bitcoin that was stolen from Silk Road.

26          17.    On approximately April 9, 2013, the Bitcoin addresses that received the 70,411.46 Bitcoin

27 from Silk Road sent 69,471.082201 (approximately $14 million at the time of transfer) to

28 1HQ3Go3ggs8pFnXuHVHRytPCq5fGG8Hbhx (hereafter “1HQ3”).

     AMENDED COMPLAINT FOR FORFEITURE
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 1          18.     On approximately April 23, 2015, 1HQ3 sent 101 Bitcoin (approximately $23,700) to

 2 BTC-e, a company that provided Bitcoin related services and operated as an unlicensed cryptocurrency

 3 exchange. In January 2017, BTC-e and a Russian operator of BTC-e were indicted in the Northern

 4 District of California for operating an unlicensed money transmitting business and for money laundering

 5 through the exchange.

 6          19.     Between April 2015 and November 2020, the remainder of the funds, 69,370.082201

 7 BTC, remained in 1HQ3. 1 As of November 3, 2020, 1HQ3 had a balance of 69,370.22491543 Bitcoin

 8 (valued at approximately $1 Billion as of November 4, 2020).

 9          20.     In August 2017, Bitcoin split into two cryptocurrencies, commonly known as a hard fork.
10 Hard fork coin splits are created via changes of the blockchain rules and share a transaction history with

11 Bitcoin up to the time of the split. The first hard fork split occurred on August 1, 2017, resulting in the

12 creation of Bitcoin Cash (BCH). When this split occurred, any Bitcoin address that had a Bitcoin balance

13 now had the same balance on the Bitcoin blockchain and on the Bitcoin Cash blockchain. A search for

14 1HQ3 on the Bitcoin Cash blockchain revealed a balance of approximately 69,370.12818037 BCH prior

15 to the Government’s seizure. Much like the aforementioned hard fork of Bitcoin and BCH, there were

16 subsequent hard forks of Bitcoin that resulted in the creation of Bitcoin Gold (BTG) and Bitcoin SV

17 (BSV). Review of the BTG and BSV blockchains revealed that 1HQ3 held a balance of

18 69,370.10730857 BTG and 69,370.10710518 BSV prior to the Government’s seizure.

19          21.     Individual X, whose identity is known to the government, was determined to have been

20 involved in a transaction that related to 1HQ3.

21          22.     According to an investigation conducted by the Criminal Investigation Division of the

22 Internal Revenue Service and the U.S. Attorney’s Office for the Northern District of California,

23 Individual X was the individual who moved the cryptocurrency from Silk Road. According to the

24 investigation, Individual X was able to hack into Silk Road and gain unauthorized and illegal access to

25 Silk Road and thereby steal the illicit cryptocurrency from Silk Road and move it into wallets that

26
           1 Because Bitcoin addresses are public, individuals are able to identify Bitcoin addresses with
27
   large balances. Individuals will often send minimal amounts of Bitcoin to these addresses for unknown
28 reasons. For example, on November 3, 2020, 1HQ3 received 0.00010999 bitcoin (approximately $1.51)
   from an unknown individual.
     AMENDED COMPLAINT FOR FORFEITURE
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 1 Individual X controlled. According to the investigation, Ulbricht became aware of Individual X’s online

 2 identity and threatened Individual X for return of the cryptocurrency to Ulbricht. Individual X did not

 3 return the cryptocurrency but kept it and did not spend it.

 4          23.     On November 3, 2020, Individual X signed a Consent and Agreement to Forfeiture with

 5 the U.S. Attorney’s Office, Northern District of California. In that agreement, Individual X, consented to

 6 the forfeiture of the Defendant Property to the United States government.

 7          24.     On November 3, 2020, the United States took custody of the Defendant Property from

 8 1HQ3.

 9                                                  VIOLATION
10          The United States incorporates by reference the allegations in paragraphs one through 24 as
11 though fully set forth.

12          Title 18, United States Code, Section 981(a)(1)(A) provides for civil and criminal forfeiture of
13 any property, real or personal, involved in a transaction or attempted transaction in violation of Title 18,

14 United States Code, Sections 1956, 1957, or 1960, and any property traceable to such property.

15          Title 18, United States Code, Section 981(a)(1)(C) provides for the civil forfeiture of any property,
16 real or personal, which constitutes or is derived from proceeds traceable to any offense constituting a

17 “specified unlawful activity” or a conspiracy to commit such offense. Title 18, United States Code, Sections

18 1956(c)(7) and 1961(1) define specified unlawful activity to include Computer Hacking, in violation of Title

19 18, United States Code, Section 1030, and conspiracy to commit Computer Hacking.

20          Title 21, United States Code, Section 881(a)(6) provides for the forfeiture of all moneys,

21 negotiable instruments, securities, or other things of value furnished or intended to be furnished by any

22 person in exchange for a controlled substance or listed chemical, all proceeds traceable to such an

23 exchange and all money used or intended to be used to facilitate any violation of Subchapter I, Chapter

24 13, Subchapter I of Title 21 United States Code.

25          In light of the foregoing, and considering the totality of the circumstances, there is probable cause

26 to believe that the Defendant Property represents proceeds traceable to computer hacking in violation 18

27 U.S.C. § 1030(a) and conspiracy in violation of 18 U.S.C. § 371. As such, the Defendant Property is

28 forfeitable pursuant to 18 U.S.C. § 981(a)(l)(C). Additionally, there is probable cause to believe that the

     AMENDED COMPLAINT FOR FORFEITURE
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 1 Defendant Property represents property traceable to narcotics trafficking. As such, the Defendant

 2 Property is forfeitable pursuant to 21 U.S.C. § 881(a)(6). To the extent the Defendant Property includes

 3 funds that did not originate as proceeds from the illegal activities discussed herein, those funds were

 4 “involved in” money laundering in violation of 18 U.S.C. § 1956 because they were comingled with and

 5 used to conceal and disguise the nature, location, source, ownership or control of the criminal proceeds,

 6 or were involved in a conspiracy to launder such proceeds. Accordingly, the Defendant Property is

 7 forfeitable pursuant to 18 U.S.C. §§ 981(a)(l)(A) and 981(b).

 8          WHEREFORE, plaintiff United States of America requests that due process issue to enforce the

 9 forfeiture of the Defendant Property; that notice be given to all interested parties to appear and show
10 cause why forfeiture should not be decreed; that judgment of forfeiture be entered; that the Court enter

11 judgment forfeiting the Defendant Property; and that the United States be awarded such other relief as

12 may be proper and just.

13

14 DATED: 11/20/2020
                                                         Respectfully submitted,
15                                                       DAVID L. ANDERSON
                                                         United States Attorney
16

17
                                                         __/s/ David Countryman____________
18                                                       DAVID COUNTRYMAN
                                                         CHRIS KALTSAS
19                                                       CLAUDIA QUIROZ
                                                         WILLIAM FRENTZEN
20
                                                         Assistant United States Attorneys
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     AMENDED COMPLAINT FOR FORFEITURE
     CV 20-7811 RS                              ER-747
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                         UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NORTHERN DISTRICT OF CALIFORNIA
              Form 1. Notice of Appeal from a Judgment or Order of a
                            United States District Court
U.S. District Court case number:               20-cv-07811-RS
      Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

Date case was first filed in U.S. District Court: 11/05/2020

Date of judgment or order you are appealing:                     08/16/2022

Docket entry number of judgment or order you are appealing:                               127
Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
   Yes         No           IFP was granted by U.S. District Court
List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)
  Ilija Matusko




Is this a cross-appeal?          Yes            No
If yes, what is the first appeal case number?
Was there a previous appeal in this case?                    Yes            No
If yes, what is the prior appeal case number?                     22-15514
Your mailing address (if pro se):




City:                                         State:                  Zip Code:

Prisoner Inmate or A Number (if applicable):

Signature       /s/ Alexander H. Kugelman                               Date Sep 7, 2022
     Complete and file with the attached representation statement in the U.S. District Court
                    Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 1                                          ER-749                                          Rev. 06/09/2022
     Case:
       Case22-15514, 11/09/2022, Document
             3:20-cv-07811-RS    ID: 12583990,
                                           129 DktEntry: 19-5, Page
                                                Filed 09/07/22  Page136
                                                                     2 ofof2148




                     UNITED STATES COURT OF APPEALS
                          FOR THE NINTH CIRCUIT
                        Form 6. Representation Statement
     Instructions for this form: http://www.ca9.uscourts.gov/forms/form06instructions.pdf
Appellant(s) (List each party filing the appeal, do not use “et al.” or other abbreviations.)
Name(s) of party/parties:
Ilija Matusko


Name(s) of counsel (if any):
Alexander H. Kugelman



Address: 21 Tamal Vista Blvd. Suite 202 Corte Madera, CA 94925
Telephone number(s): (415) 968-1780
Email(s): alex@kugelmanlaw.com
Is counsel registered for Electronic Filing in the 9th Circuit?                            Yes        No

Appellee(s) (List only the names of parties and counsel who will oppose you on appeal. List
separately represented parties separately.)
Name(s) of party/parties:
United States of America


Name(s) of counsel (if any):
David Countyman; Chris Kaltas; Claudia Quiroz



Address: 450 Golden Gate Avenue, Ninth Floor, San Francisco, CA 94102
Telephone number(s): (415) 436-7200
Email(s):    david.countryman@usdoj.gov; chris.kaltas2@usdoj.gov; claudia.quiroz@usdoj.gov;



To list additional parties and/or counsel, use next page.
                   Feedback or questions about this form? Email us at forms@ca9.uscourts.gov

Form 6                                           1
                                               ER-750                                          New 12/01/2018
                   Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 137 of 148
                                                                                                                           APPEAL,CLOSED,E-ProSe,ProSe

                                                             U.S. District Court
                                                 California Northern District (San Francisco)
                                               CIVIL DOCKET FOR CASE #: 3:20-cv-07811-RS


United States of America v. Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG) Bitcoin   Date Filed: 11/05/2020
SV (BSV) and Bitcoin Cash (BCH)                                                              Date Terminated: 08/16/2022
Assigned to: Judge Richard Seeborg                                                           Jury Demand: None
Relate Case Case: 3:15-cr-00319-RS-1                                                         Nature of Suit: 690 Forfeit/Penalty: Other
Case in other court: USCA, 21-15111                                                          Jurisdiction: U.S. Government Plaintiff
                    Ninth Circuit Court of Appeals, 22-15513
                    Ninth Circuit Court of Appeals, 22-15514
                    For the Ninth Circuit, 22-16085
                    For the Ninth Circuit, 22-16348
                    For the Ninth Circuit, 22-16349
Cause: 21:881 Forfeiture Property-Drugs
Plaintiff
United States of America                                                           represented by Chris Kaltsas
                                                                                                  United States Attorney's Office
                                                                                                  NDCA
                                                                                                  450 Golden Gate Avenue
                                                                                                  Room 9-544
                                                                                                  San Francisco, CA 94102
                                                                                                  415-436-6915
                                                                                                  Email: chris.kaltsas2@usdoj.gov
                                                                                                  ATTORNEY TO BE NOTICED

                                                                                                   Claudia A. Quiroz
                                                                                                   United States Attorney's Office
                                                                                                   450 Golden Gate Avenue
                                                                                                   9th Floor
                                                                                                   San Francisco, CA 94102
                                                                                                   415-436-7428
                                                                                                   Fax: 415-436-7234
                                                                                                   Email: claudia.quiroz@usdoj.gov
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   David Countryman
                                                                                                   US Attorney's Office
                                                                                                   Criminal Division, Asset Forfeiture
                                                                                                   450 Golden Gate Ave.
                                                                                                   11th Floor
                                                                                                   San Francisco, CA 94102
                                                                                                   415-436-7303
                                                                                                   Fax: 415-436-6748
                                                                                                   Email: david.countryman@usdoj.gov
                                                                                                   ATTORNEY TO BE NOTICED


V.
Intervenor Pla
Adesijuola Ogunjobi                                                                represented by Adesijuola Ogunjobi
                                                                                                  10200 Belle Rive Blvd.
                                                                                                  Bldg 6 Unit 45
                                                                                                  Jacksonville, FL 32256
                                                                                                  904-894-1466
                                                                                                  Email: adesijuolaogunjobi@gmail.com
                                                                                                  PRO SE


V.
Defendant
Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG) Bitcoin SV
(BSV) and Bitcoin Cash (BCH)


V.
Respondent
Ross William Ulbricht                                                              represented by Rebecca Louise Wilson
                                                                                                  Kutak Rock LLP
                                                                                                  5 Park Plaza, Suite 1500
                                                                   ER-751
                  Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 138 of 148
                                                                            Irvine, CA 92614
                                                                            (949) 417-0999
                                                                            Fax: (949) 417-5394
                                                                            Email: Rebecca.Wilson@KutakRock.com
                                                                            ATTORNEY TO BE NOTICED
Claimant
Caleb Bradberry                                               represented by Isaac Michael Safier
                                                                             Law Office of Rebecca Feigelson
                                                                             Law Chambers Building
                                                                             345 Franklin Street
                                                                             San Francisco, CA 94102
                                                                             (415) 967-0125
                                                                             Fax: (415) 789-4305
                                                                             Email: IsaacSafier@gmail.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                            Stephen P New
                                                                            Stephen P. New, L.C.
                                                                            430 Harper Park Drive
                                                                            PO Box 5516
                                                                            Beckley, WV 25801
                                                                            United Sta
                                                                            304-250-6017
                                                                            Fax: 304-250-6012
                                                                            Email: steve@newlawoffice.com
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED
Claimant
Mr. Roman Hossain                                             represented by Yasin Mohammad Almadani
                                                                             Almadani Law
                                                                             4695 MacArthur Ct.
                                                                             Suite 1100
                                                                             Newport Beach, CA 92660
                                                                             United Sta
                                                                             213-335-3935
                                                                             Fax: 213-296-6278
                                                                             Email: yma@lawalm.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
Claimant
Lucas E Buckley                                               represented by Kathryn Lee Boyd
as%20Trustee%20of%20the%20Gox%20Victim%20Bitcoin%20Trust%20                  Hecht Partners LLP
                                                                             125 Park Avenue, 25th Floor
                                                                             New York, NY 10017
                                                                             (213) 291-9169
                                                                             Email: lboyd@hechtpartners.com
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED

                                                                            Maxim Price
                                                                            125 Park Avenue, 25th Floor
                                                                            New York, NY 10017
                                                                            212-852-6821
                                                                            Email: mprice@hechtpartners.com
                                                                            LEAD ATTORNEY
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED

                                                                            Alan M Alvela
                                                                            Hecht Partners LLP
                                                                            125 Park Avenue, 25th Floor
                                                                            New York, NY 10017
                                                                            212-851-6821
                                                                            Email: aalvela@hechtpartners.com
                                                                            PRO HAC VICE
                                                                            ATTORNEY TO BE NOTICED

                                                                            David Lawrence Hecht
                                                                            125 Park Avenue, 25th Floor
                                                                            New York, NY 10017
                                                                            212-852-6821
                                                                            Email: dhecht@hechtpartners.com

                                                         ER-752
                Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 139 of 148
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED
Claimant
First 100 LLC                                           represented by Jaemin Chang
                                                                       Fox Rothschild LLP
                                                                       345 California Street
                                                                       Suite 2200
                                                                       San Francisco, CA 94104-2670
                                                                       (415) 364-5540
                                                                       Fax: (415) 391-4436
                                                                       Email: jchang@foxrothschild.com
                                                                       TERMINATED: 06/07/2021
                                                                       LEAD ATTORNEY

                                                                      Jonathan R. Bass
                                                                      Coblentz Patch Duffy & Bass, LLP
                                                                      One Montgomery Street, Suite 3000
                                                                      San Francisco, CA 94104-5500
                                                                      (415) 391-4800
                                                                      Fax: (415) 989-1663
                                                                      Email: EfilingJRB@cpdb.com
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Rees Ferriter Morgan
                                                                      Coblentz, Patch, Duffy & Bass LLP
                                                                      One Montgomery Street
                                                                      Suite 3000
                                                                      San Francisco, CA 94104
                                                                      415-772-5754
                                                                      Fax: 415-989-1663
                                                                      Email: EfilingRFM@cpdb.com
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Dwight Craig Donovan
                                                                      Fox Rothschild LLP
                                                                      345 California Street, Suite 2200
                                                                      San Francisco, CA 94104
                                                                      415-364-5540
                                                                      Fax: 415-391-4436
                                                                      Email: ddonovan@foxrothschild.com
                                                                      ATTORNEY TO BE NOTICED

                                                                      Mari Sahakyan Clifford
                                                                      Coblentz Patch Duffy & Bass LLP
                                                                      One Montgomery Street
                                                                      Suite 3000
                                                                      San Francisco, CA 94104
                                                                      415-391-4800
                                                                      Email: mclifford@coblentzlaw.com
                                                                      ATTORNEY TO BE NOTICED

                                                                      Ryan A Andersen ,
                                                                      Andersen Law Firm
                                                                      3199 E Warm Springs Rd
                                                                      STE 400
                                                                      Las Vegas, NV 89120
                                                                      United Sta
                                                                      702-522-1992
                                                                      Fax:
                                                                      Email: ryan@vegaslawfirm.legal
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED

                                                                      Sarah Elizabeth Peterson
                                                                      Coblentz Patch Duffy & Bass
                                                                      One Montgomery Street
                                                                      Suite 3000
                                                                      San Francisco, CA 94104
                                                                      415-391-4800
                                                                      Email: ef-sep@cpdb.com
                                                                      ATTORNEY TO BE NOTICED

                                                                      Stanley Gracey Roman
                                                                      Coblentz Patch Duffy & Bass LLP

                                              ER-753
                 Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 140 of 148
                                                                      One Montgomery Street, #3000
                                                                      San Francisco, CA 94104
                                                                      415-772-5752
                                                                      Fax: 415-989-1663
                                                                      Email: ef-sgr@cpdb.com
                                                                      ATTORNEY TO BE NOTICED

                                                                      William Inkyoo Abramovitz
                                                                      Coblentz Patch Duffy & Bass LLP
                                                                      One Montgomery Street
                                                                      Suite 3000
                                                                      San Francisco, CA 94104
                                                                      415-391-4800
                                                                      Fax: 415-989-1663
                                                                      Email: Wabramovitz@coblentzlaw.com
                                                                      ATTORNEY TO BE NOTICED
Claimant
Battle Born Investments Company, LLC                     represented by Jaemin Chang
                                                                        (See above for address)
                                                                        TERMINATED: 06/07/2021
                                                                        LEAD ATTORNEY

                                                                      Jonathan R. Bass
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Rees Ferriter Morgan
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Dwight Craig Donovan
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Mari Sahakyan Clifford
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Ryan A Andersen ,
                                                                      (See above for address)
                                                                      PRO HAC VICE
                                                                      ATTORNEY TO BE NOTICED

                                                                      Sarah Elizabeth Peterson
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      Stanley Gracey Roman
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED

                                                                      William Inkyoo Abramovitz
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED
Claimant
1st One Hundred Holdings LLC                             represented by Jaemin Chang
                                                                        (See above for address)
                                                                        TERMINATED: 06/07/2021
                                                                        LEAD ATTORNEY

                                                                      Jonathan R. Bass
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Rees Ferriter Morgan
                                                                      (See above for address)
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                      Dwight Craig Donovan
                                                                      (See above for address)
                                                                      ATTORNEY TO BE NOTICED
                                               ER-754
                      Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 141 of 148
                                                                                                   Mari Sahakyan Clifford
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Ryan A Andersen ,
                                                                                                   (See above for address)
                                                                                                   PRO HAC VICE
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Sarah Elizabeth Peterson
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Stanley Gracey Roman
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   William Inkyoo Abramovitz
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED
Claimant
Ilija Matukso                                                                       represented by Alexander Hughes Kugelman
                                                                                                   Kugelman Law, P.C.
                                                                                                   21 Tamal Vista Boulevard, Suite 202
                                                                                                   Corte Madera, CA 94925
                                                                                                   (415) 968-1780
                                                                                                   Fax: (415) 534-9441
                                                                                                   Email: alex@kugelmanlaw.com
                                                                                                   ATTORNEY TO BE NOTICED
Intervenor
Nobuaki Kobayashi                                                                   represented by Stephen R. Cook
In his capacity as the Civil Rehabilitation Trustee and Foreign                                    Brown Rudnick LLP
Representative of MtGox Co., Ltd., a/k/a MtGox KK                                                  2211 Michelson Drive
                                                                                                   Seventh Floor
                                                                                                   Irvine, CA 92612
                                                                                                   949-752-7100
                                                                                                   Fax: 949-252-1514
                                                                                                   Email: scook@brownrudnick.com
                                                                                                   LEAD ATTORNEY
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Daniel Fisher Kerns
                                                                                                   Brown Rudnick LLP
                                                                                                   Seven Times Square
                                                                                                   New York, NY 10036
                                                                                                   212-209-4800
                                                                                                   PRO HAC VICE
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   David J. Molton
                                                                                                   Brown Rudnick LLP
                                                                                                   Seven Times Square
                                                                                                   New York, NY 10036
                                                                                                   (212) 209-4822
                                                                                                   Email: dmolton@brownrudnick.com
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Gerard Thomas Cicero
                                                                                                   Brown Rudnick LLP
                                                                                                   Seven Times Square
                                                                                                   New York, NY 10036
                                                                                                   212-209-4800
                                                                                                   PRO HAC VICE
                                                                                                   ATTORNEY TO BE NOTICED


Date Filed        #    Docket Text
11/05/2020         1 COMPLAINT (Complaint for Forfeiture) against Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG) Bitcoin SV (BSV) and
                     Bitcoin Cash (BCH). Filed byUnited States of America. (Attachments: # 1 Civil Cover Sheet)(Countryman, David) (Filed on 11/5/2020)
                     (Entered: 11/05/2020)
11/05/2020         2 Case assigned to Judge Vince Chhabria.


                                                                    ER-755
               Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 142 of 148
                 Counsel for plaintiff or the removing party is responsible for serving the Complaint or Notice of Removal, Summons and the assigned
                 judge's standing orders and all other new case documents upon the opposing parties. For information, visit E-Filing A New Civil Case at
                 http://cand.uscourts.gov/ecf/caseopening.

                 Standing orders can be downloaded from the court's web page at www.cand.uscourts.gov/judges. Upon receipt, the summons will be
                 issued and returned electronically. Counsel is required to send chambers a copy of the initiating documents pursuant to L.R. 5-1(e)(7). A
                 scheduling order will be sent by Notice of Electronic Filing (NEF) within two business days. (anjS, COURT STAFF) (Filed on 11/5/2020)
                 (Entered: 11/05/2020)
11/05/2020    3 NOTICE by United States of America (Notice of Forfeiture Action) (Countryman, David) (Filed on 11/5/2020) (Entered: 11/05/2020)
11/05/2020    4 Proposed Warrant. (Countryman, David) (Filed on 11/5/2020) (Entered: 11/05/2020)
11/05/2020    5 Warrant Issued as to Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG) Bitcoin SV (BSV) and Bitcoin Cash (BCH). (mclS,
                COURT STAFF) (Filed on 11/5/2020) (Entered: 11/05/2020)
11/16/2020    6 NOTICE by United States of America (Related Case) (Kaltsas, Chris) (Filed on 11/16/2020) (Entered: 11/16/2020)
11/16/2020    7 ORDER RELATING CASES 3:15-cr-00319 RS and 3:20-cv-07811 VC re 6 Notice of Related Case. Signed by Judge Richard
                Seeborg on 11/16/2020. (clS, COURT STAFF) (Filed on 11/16/2020) (Entered: 11/16/2020)
11/17/2020       Case reassigned to Judge Richard Seeborg. Judge Vince Chhabria no longer assigned to the case. (haS, COURT STAFF) (Filed on
                 11/17/2020) (Entered: 11/17/2020)
11/20/2020    8 AMENDED COMPLAINT (Amended Complaint for Forfeiture) against Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG)
                Bitcoin SV (BSV) and Bitcoin Cash (BCH). Filed byUnited States of America. (Countryman, David) (Filed on 11/20/2020) (Entered:
                11/20/2020)
11/20/2020    9 NOTICE by United States of America (Amended Notice of Forfeiture Action) (Countryman, David) (Filed on 11/20/2020) (Entered:
                11/20/2020)
11/20/2020   10 Proposed Warrant. (Countryman, David) (Filed on 11/20/2020) (Entered: 11/20/2020)
11/23/2020   11 Amended Warrant Issued as to Approximately 69,370 Bitcoin (BTC), Bitcoin Gold (BTG) Bitcoin SV (BSV) and Bitcoin Cash (BCH).
                (mclS, COURT STAFF) (Filed on 11/23/2020) (Entered: 11/23/2020)
11/25/2020   12 CERTIFICATE OF SERVICE by United States of America re 11 Warrant Issued, 9 Notice (Other), 7 Order, 8 Amended Complaint
                (Countryman, David) (Filed on 11/25/2020) (Entered: 11/25/2020)
11/25/2020   13 Letter from Adesijuols O. Ogunjobi. (Attachments: # 1 Envelope) (gbaS, COURT STAFF) (Filed on 11/25/2020) (Entered: 12/01/2020)
11/25/2020   14 MOTION to Intervene filed by Adesijuola Ogunjobi. Responses due by 12/9/2020. Replies due by 12/16/2020. (gbaS, COURT STAFF)
                (Filed on 11/25/2020) (Entered: 12/01/2020)
11/25/2020   15 MEMORANDUM of Points and Authorities in Support of 14 MOTION to Intervene filed by Adesijuola Ogunjobi. (Related document(s)
                14 ) (gbaS, COURT STAFF) (Filed on 11/25/2020) (Entered: 12/01/2020)
11/25/2020   16 MOTION to Appoint Counsel filed by Adesijuola Ogunjobi. (gbaS, COURT STAFF) (Filed on 11/25/2020) (Entered: 12/01/2020)
12/01/2020   17 MOTION to Continue Hearing Date filed by United States of America. (Kaltsas, Chris) (Filed on 12/1/2020) (Entered: 12/01/2020)
12/01/2020   18 CERTIFICATE OF SERVICE by United States of America re 17 MOTION to Continue Hearing Date (Kaltsas, Chris) (Filed on
                12/1/2020) (Entered: 12/01/2020)
12/01/2020   19 ORDER Denying 14 Motion to Intervene; Denying 16 Motion to Appoint Counsel; Finding as Moot 17 Motion to Continue. Signed
                by Judge Richard Seeborg (clS, COURT STAFF) (Filed on 12/1/2020) (Entered: 12/01/2020)
12/21/2020   20 MOTION to file Motion for Intervention filed by Adesijuola Ogunjobi. Responses due by 1/4/2021. Replies due by 1/11/2021.
                (Attachments: # 1 Proposed Motion to Intervene, # 2 Envelope)(mclS, COURT STAFF) (Filed on 12/21/2020) (Entered: 12/28/2020)
12/30/2020   21 MOTION for Extension of Time to File Notice of Claim or otherwise Respond to Plaintiff's Amended Civil Complaint filed by Ross
                William Ulbricht. (Attachments: # 1 Declaration of David A. Warrington, # 2 Exhibit A to Declaration of David A. Warrington, # 3
                Proposed Order, # 4 Certificate/Proof of Service)(Wilson, Rebecca) (Filed on 12/30/2020) (Entered: 12/30/2020)
01/04/2021   22 OPPOSITION/RESPONSE (re 20 MOTION to file Motion for Intervention ) filed byUnited States of America. (Kaltsas, Chris) (Filed on
                1/4/2021) (Entered: 01/04/2021)
01/05/2021   23 CERTIFICATE OF SERVICE by United States of America re 22 Opposition/Response to Motion (Kaltsas, Chris) (Filed on 1/5/2021)
                (Entered: 01/05/2021)
01/05/2021   24 ORDER by Judge Richard Seeborg Denying 20 Second Motion Regarding Intervention. (clS, COURT STAFF) (Filed on 1/5/2021)
                Modified on 1/5/2021 (clS, COURT STAFF). Any non-CM/ECF Participants have been served by First Class Mail to the addresses
                of record listed on the Notice of Electronic Filing (NEF) (Entered: 01/05/2021)
01/06/2021   25 CERTIFICATE OF SERVICE by United States of America (Declaration of Publication) (Kaltsas, Chris) (Filed on 1/6/2021) (Entered:
                01/06/2021)
01/08/2021       Set/Reset Deadlines as to 21 MOTION for Extension of Time to File Notice of Claim or otherwise Respond to Plaintiff's Amended Civil
                 Complaint. Motion Hearing set for 2/4/2021 at 1:30 PM in San Francisco, - Videoconference Only before Judge Richard Seeborg. (clS,
                 COURT STAFF) (Filed on 1/8/2021) (Entered: 01/08/2021)
01/13/2021   26 *** ERRONEOUS ENTRY *** NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Adesijuola Ogunjobi. (Appeal fee
                FEE NOT PAID.) (Attachments: # 1 Certificate/Proof of Service, # 2 Declaration, # 3 Supplement, # 4 Exhibit, # 5 Affidavit)(Ogunjobi,
                Adesijuola) (Filed on 1/13/2021) Modified on 1/14/2021 (mclS, COURT STAFF). (Entered: 01/13/2021)
01/14/2021       Electronic filing error. The Notice of Appeal form needs to be completed with all necessary information. Appeal fee in the amount
                 of $505.00 also needs to be paid. T his filing will not be processed by the clerks office.Please re-file in its entirety. Re: 26 Notice of
                 Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi (mclS, COURT STAFF) (Filed on 1/14/2021) (Entered: 01/14/2021)
                                                                  ER-756
               Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 143 of 148
01/14/2021   31 RESPONSE re 22 Opposition/Response to Motion by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on 1/14/2021) (Entered:
                01/21/2021)
01/14/2021   32 OPPOSITION/RESPONSE (re 21 MOTION for Extension of Time to File Notice of Claim or otherwise Respond to Plaintiff's Amended
                Civil Complaint ) filed byAdesijuola Ogunjobi. (Attachments: # 1 Envelope)(mclS, COURT STAFF) (Filed on 1/14/2021) (Entered:
                01/21/2021)
01/15/2021   27 *** ERRONEOUS ENTRY *** NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Adesijuola Ogunjobi. (IFP Request
                was previously e-filed with the Court). (Attachments: # 1 Affidavit, # 2 Supplement, # 3 Supplement, # 4 Supplement, # 5 Exhibit, # 6
                Affidavit, # 7 Exhibit)(Ogunjobi, Adesijuola) (Filed on 1/15/2021) Modified on 1/19/2021 (mclS, COURT STAFF). (Entered: 01/15/2021)
01/19/2021       Electronic filing error. This is the SECOND Clerk's notice regarding incomplete appeals form. E-filer needs to complete the form
                 with all pertinent information instead of submitting a BLANK form. If e-filer wants to waive the appeals fee, a motion for leave to
                 appeal in forma pauperis also needs to be filed. This filing will not be processed by the clerks office. Re: 27 Notice of Appeal to the
                 Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on 1/19/2021) (Entered: 01/19/2021)
01/20/2021   28 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Adesijuola Ogunjobi. (IFP Request was previously e-filed with the
                Court). (Attachments: # 1 Motion for permission to proceed in forma pauperis, # 2 Motion for appointment of counsel # 3 Supplement, # 4
                Supplement, # 5 Affidavit, # 6 Exhibit, # 7 Exhibit)(Ogunjobi, Adesijuola) (Filed on 1/20/2021) Modified on 1/21/2021 (mclS, COURT
                STAFF). (Entered: 01/20/2021)
01/21/2021   29 USCA Case Number 21-15111 for 28 Notice of Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed
                on 1/21/2021) (Entered: 01/21/2021)
01/21/2021   30 Mailed request for payment of docket fee to appellant (cc to USCA) (mclS, COURT STAFF) (Filed on 1/21/2021) (Entered: 01/21/2021)
01/21/2021   33 MOTION for Leave to Appeal in forma pauperis filed by Adesijuola Ogunjobi. (Attachments: # 1 Supplement)(Ogunjobi, Adesijuola)
                (Filed on 1/21/2021) (Entered: 01/21/2021)
01/21/2021   34 ORDER by Judge Richard Seeborg Denying 33 Motion for Leave to Appeal in forma pauperis. (clS, COURT STAFF) (Filed on
                1/21/2021) (Entered: 01/21/2021)
01/21/2021   35 CLAIM Verified Claim byCaleb Bradberry. (Safier, Isaac) (Filed on 1/21/2021) (Entered: 01/21/2021)
01/22/2021   36 First MOTION for leave to appear in Pro Hac Vice Stephen P. New ( Filing fee $ 317, receipt number 0971-15476741.) filed by Caleb
                Bradberry. (New, Stephen) (Filed on 1/22/2021) (Additional attachment(s) added on 1/28/2021: # 1 certifcate of good standing) (clS,
                COURT STAFF). (Entered: 01/22/2021)
01/22/2021   37 CERTIFICATE OF SERVICE by Caleb Bradberry re 35 Claim (Safier, Isaac) (Filed on 1/22/2021) (Entered: 01/22/2021)
01/22/2021   38 OPPOSITION/RESPONSE (re 36 First MOTION for leave to appear in Pro Hac Vice Stephen P. New ( Filing fee $ 317, receipt number
                0971-15476741.) ) filed byAdesijuola Ogunjobi. (Ogunjobi, Adesijuola) (Filed on 1/22/2021) (Entered: 01/22/2021)
01/22/2021   39 Motion and Affidavit for permission to proceed in forma pauperis filed by Adesijuola Ogunjobi. (Ogunjobi, Adesijuola) (Filed on
                1/22/2021) Modified on 1/25/2021 (mclS, COURT STAFF). (Entered: 01/22/2021)
01/22/2021   40 Response to 34 Order filed byAdesijuola Ogunjobi. (Ogunjobi, Adesijuola) (Filed on 1/22/2021) Modified on 1/25/2021 (mclS, COURT
                STAFF). (Entered: 01/22/2021)
01/25/2021   41 ORDER of USCA as to 28 Notice of Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on
                1/25/2021) (Entered: 01/25/2021)
01/25/2021   42 CLAIM - VERIFIED CLAIM byRoman Hossain. (Almadani, Yasin) (Filed on 1/25/2021) (Entered: 01/25/2021)
01/25/2021   43 CLAIM - Verified Claim byLucas E Buckley. (Boyd, Kathryn) (Filed on 1/25/2021) (Entered: 01/25/2021)
01/27/2021   44 NOTICE of Appearance by Claudia A. Quiroz (Quiroz, Claudia) (Filed on 1/27/2021) (Entered: 01/27/2021)
01/28/2021   45 ORDER by Judge Richard Seeborg granting 36 Motion for Pro Hac Vice as to Stephen P. New. (clS, COURT STAFF) (Filed on
                1/28/2021) (Entered: 01/28/2021)
01/28/2021   46 ORDER by Judge Richard Seeborg granting 21 Motion for Extension of Time to File. (clS, COURT STAFF) (Filed on 1/28/2021)
                (Entered: 01/28/2021)
02/03/2021   47 STIPULATION (Settlement Agreement and Stipulated Forfeiture) filed by United States of America. (Countryman, David) (Filed on
                2/3/2021) (Entered: 02/03/2021)
02/10/2021   48 WITHDRAWAL of Claim re 35 Claim byCaleb Bradberry. (Safier, Isaac) (Filed on 2/10/2021) (Entered: 02/10/2021)
02/11/2021   49 ORDER of USCA as to 28 Notice of Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on
                2/11/2021) (Entered: 02/11/2021)
02/11/2021   50 Unopposed Ex Parte Application for Extension of Time to File Answer filed by Roman Hossain. (Almadani, Yasin) (Filed on 2/11/2021)
                Modified on 2/12/2021 (slhS, COURT STAFF). (Entered: 02/11/2021)
02/16/2021   51 ORDER by Chief Judge Richard Seeborg granting 50 Motion for Extension of Time to Answer. (clS, COURT STAFF) (Filed on
                2/16/2021) (Entered: 02/16/2021)
02/16/2021   52 Joint MOTION for Extension of Time to File Answer filed by Lucas E Buckley. (Boyd, Kathryn) (Filed on 2/16/2021) (Entered:
                02/16/2021)
02/17/2021   53 ORDER by Chief Judge Richard Seeborg granting 52 Motion for Extension of Time to Answer. (clS, COURT STAFF) (Filed on
                2/17/2021) (Entered: 02/17/2021)
02/22/2021   54 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-15602291.) filed by Lucas E Buckley. (Price,
                Maxim) (Filed on 2/22/2021) (Entered: 02/22/2021)
02/22/2021   55 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-15602310.) filed by Lucas E Buckley. (Hecht,

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                 David) (Filed on 2/22/2021) (Entered: 02/22/2021)
02/22/2021   56 MOTION for leave to appear in Pro Hac Vice ( Filing fee $ 317, receipt number 0971-15602321.) filed by Lucas E Buckley. (Alvela,
                Alan) (Filed on 2/22/2021) (Entered: 02/22/2021)
02/22/2021   57 ORDER by Chief Judge Richard Seeborg granting 54 Motion for Pro Hac Vice as to Maxim Price. (clS, COURT STAFF) (Filed on
                2/22/2021) (Entered: 02/22/2021)
02/22/2021   58 ORDER by Chief Judge Richard Seeborg granting 55 Motion for Pro Hac Vice as to David L. Hecht. (clS, COURT STAFF) (Filed
                on 2/22/2021) (Entered: 02/22/2021)
02/22/2021   59 ORDER by Chief Judge Richard Seeborg granting 56 Motion for Pro Hac Vice as to Alan Alvela. (clS, COURT STAFF) (Filed on
                2/22/2021) (Entered: 02/22/2021)
03/08/2021   60 ANSWER to 8 Amended Complaint by Roman Hossain. (Almadani, Yasin) (Filed on 3/8/2021) Modified on 3/9/2021 (mclS, COURT
                STAFF). (Entered: 03/08/2021)
03/09/2021       Electronic filing error. Document not properly linked. [err102]Corrected by Clerk's Office. No further action is necessary. Re: 60 Answer
                 to Amended Complaint filed by Roma n Hossain. (mclS, COURT STAFF) (Filed on 3/9/2021) (Entered: 03/09/2021)
03/09/2021   61 ANSWER TO COMPLAINT FOR FORFEITURE 8 Amended Complaint with Demand For Jury Trial byLucas E Buckley. (Price,
                Maxim) (Filed on 3/9/2021) (Entered: 03/09/2021)
03/16/2021   62 Administrative Motion to File Under Seal filed by First 100 LLC, Battle Born Investments Company, LLC. (Attachments: # 1 Declaration,
                # 2 Proposed Order, # 3 Redacted Version of First 100 LLC claim, # 4 Redacted version of Battle Born claim, # 5 Unredacted version of
                First 100 LLC claim, # 6 Unredacted version of Battle Born claim)(Chang, Jaemin) (Filed on 3/16/2021) (Entered: 03/16/2021)
04/01/2021   63 ORDER by Chief Judge Richard Seeborg Granting 62 Administrative Motion to File Under Seal. (clS, COURT STAFF) (Filed on
                4/1/2021) (Entered: 04/01/2021)
04/05/2021   64 Administrative Motion to File Under Seal filed by Battle Born Investments Company, LLC, First 100 LLC, 1st One Hundred Holdings
                LLC. (Attachments: # 1 Declaration, # 2 Proposed Order, # 3 Redacted Verified Verified Answer of Battle Born, # 4 Redacted Verified
                Answer of First 100 Claimants, # 5 Unredacted Verified Answer of Battle Born, # 6 Unredacted Verified Answer of First 100 Claimants)
                (Chang, Jaemin) (Filed on 4/5/2021) (Entered: 04/05/2021)
04/08/2021   65 ORDER by Judge Richard Seeborg granting 64 Administrative Motion to File Under Seal. (tlS, COURT STAFF) (Filed on
                4/8/2021) (Entered: 04/08/2021)
04/14/2021   66 ORDER of USCA as to 28 Notice of Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on
                4/14/2021) (Entered: 04/14/2021)
04/23/2021   67 MOTION to Intervene Notice of Motion and Motion for Direct Access and Intervention filed by Nobuaki Kobayashi. Motion Hearing set
                for 6/3/2021 01:30 PM in San Francisco, Courtroom 03, 17th Floor before Judge Richard Seeborg. Responses due by 5/7/2021. Replies
                due by 5/14/2021. (Attachments: # 1 Exhibit A - Verified Answer to First Amended Verified Complaint for Forfeiture in Rem, # 2 Exhibit
                B - Declaration of Stephen R. Cook in Support of Motion for Direct Access and Intervention, # 3 Exhibit C - Order Modifying
                Recognition Pursuant to Bankruptcy Code Section 1517(D) and Recognizing Foreign Main Proceeding and Granting Related Relief, # 4
                Proposed Order Granting Motion for Direct Access and Intervention)(Cook, Stephen) (Filed on 4/23/2021) (Entered: 04/23/2021)
04/30/2021   68 CLERK'S NOTICE Continuing Motion Hearing as to 67 MOTION to Intervene Notice of Motion and Motion for Direct Access and
                Intervention. Motion Hearing previously set for 6/3/2021 is continued to 6/10/2021 at 01:30 PM in San Francisco, - Videoconference Only
                before Judge Richard Seeborg. (This is a text-only entry generated by the court. There is no document associated with this entry.)(clS,
                COURT STAFF) (Filed on 4/30/2021) (Entered: 04/30/2021)
04/30/2021   69 MOTION to Strike 42 Claim (Notice of Motion and Motion to Strike Claimant Roman Hossain's Claim for Lack of Standing and Failing
                to Comply with Supplemental Rule G(5)) filed by United States of America. Motion Hearing set for 6/10/2021 01:30 PM in San Francisco,
                Courtroom 03, 17th Floor before Judge Richard Seeborg. Responses due by 5/14/2021. Replies due by 5/21/2021. (Attachments: # 1
                Declaration Special Agent Jeremiah Haynie, # 2 Declaration AUSA Claudia Quiroz, # 3 [Proposed] Order Granting Motion to Strike
                Claimant Roman Hossain's Claim)(Quiroz, Claudia) (Filed on 4/30/2021) Modified on 5/3/2021 (mclS, COURT STAFF). (Entered:
                04/30/2021)
05/06/2021   70 MOTION for leave to appear in Pro Hac Vice of Ryan A. Andersen ( Filing fee $ 317, receipt number 0971-15934121.) filed by 1st One
                Hundred Holdings LLC, Battle Born Investments Company, LLC, First 100 LLC. (Chang, Jaemin) (Filed on 5/6/2021) (Entered:
                05/06/2021)
05/06/2021   71 ORDER by Judge Richard Seeborg granting 70 Motion for Pro Hac Vice as to Ryan A. Andersen. (clS, COURT STAFF) (Filed on
                5/6/2021) (Entered: 05/06/2021)
05/07/2021   72 OPPOSITION/RESPONSE (re 67 MOTION to Intervene Notice of Motion and Motion for Direct Access and Intervention ) (United
                States' Opposition to Nobuaki Kobayashi Motion for Direct Access and Intervention) filed byUnited States of America. (Attachments: # 1
                Declaration of Michael Gronager in Support of the US' Opposition, # 2 Exhibit 1, # 3 Exhibit 2)(Quiroz, Claudia) (Filed on 5/7/2021)
                Modified on 5/7/2021 (mclS, COURT STAFF). (Entered: 05/07/2021)
05/07/2021   73 Administrative Motion to File Under Seal Exhibits Submitted in Support of its Opposition to Nobuaki Kobayashi's Motion for Direct
                Access and Intervention filed by United States of America. (Attachments: # 1 Declaration Declaration of Claudia Quiroz, # 2 Proposed
                Order, # 3 Exhibit Exhibit 1 (to be filed under seal), # 4 Exhibit Exhibit 2 (to be filed under seal))(Quiroz, Claudia) (Filed on 5/7/2021)
                (Entered: 05/07/2021)
05/10/2021   74 OPPOSITION/RESPONSE (re 67 MOTION to Intervene Notice of Motion and Motion for Direct Access and Intervention ) by Nobuaki
                Kobayashi filed by1st One Hundred Holdings LLC, Battle Born Investments Company, LLC, First 100 LLC. (Chang, Jaemin) (Filed on
                5/10/2021) (Entered: 05/10/2021)
05/12/2021   75 MOTION for leave to appear in Pro Hac Vice of G ( Filing fee $ 317, receipt number 0971-15955911.) filed by Nobuaki Kobayashi.
                (Molton, David) (Filed on 5/12/2021) (Entered: 05/12/2021)
05/12/2021   76 MOTION for leave to appear in Pro Hac Vice of Daniel Fisher Kerns ( Filing fee $ 317, receipt number 0971-15955914.) filed by
                Nobuaki Kobayashi. (Molton, David) (Filed on 5/12/2021) (Entered: 05/12/2021)
                                                                   ER-758
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05/12/2021   77 NOTICE of Appearance by David J. Molton , Stephen R. Cook, Gerard T. Cicero and Daniel F. Kerns as attorneys for Nobuaki
                Kobayashi, in his capacity as the Civil Rehabilitation Trustee and Foreign Representative of MtGox Co., Ltd., a/k/a MtGox KK (Molton,
                David) (Filed on 5/12/2021) (Entered: 05/12/2021)
05/12/2021   78 ORDER by Judge Richard Seeborg granting 75 Motion for Pro Hac Vice as to Gerard Thomas Cicero. (clS, COURT STAFF)
                (Filed on 5/12/2021) (Entered: 05/12/2021)
05/12/2021   79 ORDER by Judge Richard Seeborg granting 76 Motion for Pro Hac Vice as to Daniel Fisher Kerns. (clS, COURT STAFF) (Filed
                on 5/12/2021) (Entered: 05/12/2021)
05/14/2021   80 Brief re 67 MOTION to Intervene Notice of Motion and Motion for Direct Access and Intervention - Reply Brief in Support of Motion for
                Direct Access and Intervention filed byNobuaki Kobayashi. (Attachments: # 1 Exhibit A - Kuroda Declaration)(Related document(s) 67 )
                (Molton, David) (Filed on 5/14/2021) (Entered: 05/14/2021)
05/14/2021   81 OPPOSITION/RESPONSE (re 69 MOTION to Strike 42 Claim (Notice of Motion and Motion to Strike Claimant Roman Hossain's Claim
                for Lack of Standing and Failing to Comply with Supplemental Rule G(5)) ) filed byRoman Hossain. (Almadani, Yasin) (Filed on
                5/14/2021) (Entered: 05/14/2021)
05/21/2021   82 REPLY (re 69 MOTION to Strike 42 Claim (Notice of Motion and Motion to Strike Claimant Roman Hossain's Claim for Lack of
                Standing and Failing to Comply with Supplemental Rule G(5)) ) (Reply in Support of Motion to Strike Claimant Roman Hossain's Claim
                for Lack of Standing and Failing to Comply with Supplemental Rule G(5)) filed byUnited States of America. (Quiroz, Claudia) (Filed on
                5/21/2021) (Entered: 05/21/2021)
06/01/2021   83 CLERK'S NOTICE THE MOTIONS [#67, #69] SCHEDULED FOR HEARING ON JUNE 10, 2021 AT 1:30 P.M. SHALL BE
                SUBMITTED WITHOUT ORAL ARGUMENT PURSUANT TO CIVIL LOCAL RULE 7-1(b). ACCORDINGLY, THE MOTION
                HEARING IS VACATED. (This is a text-only entry generated by the court. There is no document associated with this entry.) (clS,
                COURT STAFF) (Filed on 6/1/2021) (Entered: 06/01/2021)
06/02/2021   84 NOTICE of Appearance by Dwight Craig Donovan (Donovan, Dwight) (Filed on 6/2/2021) (Entered: 06/02/2021)
06/07/2021   85 MANDATE of USCA as to 28 Notice of Appeal to the Ninth Circuit, filed by Adesijuola Ogunjobi. (mclS, COURT STAFF) (Filed on
                6/7/2021) (Entered: 06/07/2021)
06/07/2021   86 NOTICE by 1st One Hundred Holdings LLC, Battle Born Investments Company, LLC, First 100 LLC of Disassociation of Counsel
                Jaemin Chang (Chang, Jaemin) (Filed on 6/7/2021) (Entered: 06/07/2021)
07/02/2021   87 CLAIM Verified Claim byIlija Matukso. (Kugelman, Alexander) (Filed on 7/2/2021) (Entered: 07/02/2021)
07/13/2021   88 STIPULATION WITH PROPOSED ORDER STIPULATION TO UNSEAL THE CLAIMS AND ANSWERS OF CLAIMANTS BATTLE
                BORN INVESTMENTS COMPANY, LLC, FIRST 100, LLC AND 1ST ONE HUNDRED HOLDINGS, LLC; [PROPOSED] ORDER filed by
                United States of America. (Quiroz, Claudia) (Filed on 7/13/2021) (Entered: 07/13/2021)
07/13/2021   89 ORDER by Chief Judge Richard Seeborg GRANTING 88 STIPULATION TO UNSEAL THE CLAIMS AND ANSWERS OF
                CLAIMANTS BATTLE BORN INVESTMENTS COMPANY, LLC, FIRST 100, LLC AND 1ST ONE HUNDRED HOLDINGS,
                LLC. (clS, COURT STAFF) (Filed on 7/13/2021) (Entered: 07/13/2021)
07/13/2021   90 Notice of Motion and Motion to Strike the Claims of Claimants Battle Born Investments Company, LLC, First 100, LLC and 1st One
                Hundred Holdings, LLC filed by United States of America.

                 Motion Hearing set for 8/20/2021 at 1:30 PM in San Francisco, Courtroom 03, 17th Floor before Judge Richard Seeborg. Responses due
                 by 7/27/2021. Replies due by 8/3/2021. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 [Proposed] Order Granting Motion to Strike the
                 Claims of Claimants Battle Born Investments Company, LLC, First 100, LLC and 1st One Hundred Holdings, LLC)(Quiroz, Claudia)
                 (Filed on 7/13/2021) Modified on 7/13/2021 (jlgS, COURT STAFF). Modified on 7/14/2021 (mclS, COURT STAFF). (Entered:
                 07/13/2021)
07/14/2021   91 CLERK'S NOTICE Continuing Motion Hearing as to 90 MOTION to Strike the Claims of Claimants Battle Born Investments Company,
                LLC, First 100, LLC. Motion Hearing previously set for 8/20/2021 is Advanced to 8/19/2021 at 01:30 PM in San Francisco, -
                Videoconference Only before Judge Richard Seeborg. (This is a text-only entry generated by the court. There is no document associated
                with this entry.),(clS, COURT STAFF) (Filed on 7/14/2021) (Entered: 07/14/2021)
07/15/2021   92 NOTICE of Appearance by Rees Ferriter Morgan , Jonathan R. Bass, Stan Roman, Mari Sahakyan Clifford and William Abramovitz as
                attorneys for First 100, LLC, 1st One Hundred Holdings, LLC and Battle Born Investments Company, LLC (Morgan, Rees) (Filed on
                7/15/2021) (Entered: 07/15/2021)
07/21/2021   93 STIPULATION WITH PROPOSED ORDER re 90 MOTION to Strike 63 Order on Administrative Motion to File Under Seal, 65 Order
                on Administrative Motion to File Under Seal (Notice of Motion and Motion to Strike the Claims of Claimants Battle Born Investments
                Company, LLC, First 100, LLC ) filed by 1st One Hundred Holdings LLC, Battle Born Investments Company, LLC, First 100 LLC.
                (Attachments: # 1 Proposed Order Granting Stipulation to Extend Time to Respond to Motion to Strike, # 2 Declaration of Mari Sahakyan
                Clifford in support of Stipulation to Extend Time to Respond to Motion to Strike)(Sahakyan Clifford, Mari) (Filed on 7/21/2021) (Entered:
                07/21/2021)
07/22/2021   94 ORDER GRANTING re 93 STIPULATION TO EXTEND TIME TO RESPOND TO MOTION TO STRIKE THE CLAIMS OF
                CLAIMANTS BATTLE BORN INVESTMENTS COMPANY, LLC, FIRST 100, LLC AND 1ST ONE HUNDRED HOLDINGS,
                LLC. Signed by Chief Judge Richard Seeborg on 07/22/2021.

                 Responses due by 8/10/2021. Replies due by 8/24/2021. Motion Hearing previously set for 8/19/2021 is rescheduled to 9/9/2021
                 01:30 PM by Videoconference Only before Chief Judge Richard Seeborg.

                 (bxsS, COURTSTAFF) (Filed on 7/22/2021) (Entered: 07/22/2021)
07/29/2021   95 MOTION to Strike 87 Claim (Notice of Motion and Motion to Strike the Verified Claim of Claimant Ilija Matusko) filed by United States
                of America. Motion Hearing set for 9/9/2021 01:30 PM in San Francisco, Courtroom 03, 17th Floor before Judge Richard Seeborg.
                Responses due by 8/12/2021. Replies due by 8/19/2021. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 [Proposed] Order Granting


                                                                 ER-759
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                   Motion to Strike the Verified Claim of Claimant Ilija Matusko)(Quiroz, Claudia) (Filed on 7/29/2021) Modified on 7/29/2021 (mclS,
                   COURT STAFF). (Entered: 07/29/2021)
08/06/2021    96 STIPULATION WITH PROPOSED ORDER to Continue Hearing Date and Extend Time to Respond to Motion to Strike the Verified
                 Claim filed by Ilija Matukso. (Attachments: # 1 Proposed Order, # 2 Certificate of Service)(Kugelman, Alexander) (Filed on 8/6/2021)
                 Modified on 8/6/2021 (mclS, COURT STAFF). (Entered: 08/06/2021)
08/06/2021    97 ORDER by Judge Richard Seeborg GRANTING 96 STIPULATION TO CONTINUE HEARING DATE AND EXTEND TIME
                 TO RESPOND TO MOTION TO STRIKE THE VERIFIED CLAIM OF ILIJA MATUSKO. (clS, COURT STAFF) (Filed on
                 8/6/2021) (Entered: 08/06/2021)
08/06/2021         Set/Reset Deadlines as to 95 MOTION to Strike 87 Claim (Notice of Motion and Motion to Strike the Verified Claim of Claimant Ilija
                   Matusko). Motion Hearing previously set for 9/9/2021 is continued to 9/30/2021 at 01:30 PM in San Francisco, - Videoconference Only
                   before Judge Richard Seeborg. (clS, COURT STAFF) (Filed on 8/6/2021) (Entered: 08/06/2021)
08/10/2021    98 OPPOSITION/RESPONSE (re 90 MOTION to Strike 63 Order on Administrative Motion to File Under Seal, 65 Order on Administrative
                 Motion to File Under Seal (Notice of Motion and Motion to Strike the Claims of Claimants Battle Born Investments Company, LLC, First
                 100, LLC ) Opposition to Motion to Strike the Claims of Claimants Battle Born Investments Company, LLC, First 100, LLC and 1st One
                 Hundred Holdings, LLC filed by1st One Hundred Holdings LLC, Battle Born Investments Company, LLC, First 100 LLC. (Attachments: #
                 1 Declaration of Jeffrey Nicholas in support thereof, # 2 Declaration of Jacky Lee in support thereof, # 3 Declaration of Jay Bloom in
                 support thereof, # 4 Declaration of Joseph Gutierrez in support thereof, # 5 Declaration of Ryan Andersen in support thereof, # 6
                 Declaration of Rees Morgan in support of Claimants Opposition to Motion to Strike the Claims of Claimants Battle Born Investments
                 Company, LLC, First 100, LLC and 1st One Hundred Holdings, LLC; Or, in the Alternative, Request for Continuance Per Rule 56(d))
                 (Morgan, Rees) (Filed on 8/10/2021) (Entered: 08/10/2021)
08/24/2021    99 REPLY (re 98 OPPOSITION to MOTION to Strike (Reply in Support of Motion to Strike the Claims of Claimants Battle Born Investments
                 Company, LLC, First 100, LLC and 1st One Hundred Holdings, LLC) filed by United States of America. (Attachments: # 1 Declaration of
                 Claudia A. Quiroz, # 2 Declaration of Jeremiah Haynie)(Quiroz, Claudia) (Filed on 8/24/2021) Modified on 8/24/2021 (jlgS, COURT
                 STAFF). (Entered: 08/24/2021)
08/26/2021   100 OPPOSITION (re 95 MOTION to Strike 87 Claim (Notice of Motion and Motion to Strike the Verified Claim of Claimant Ilija Matusko) )
                 Opposition to Motion to Strike the Verified Claim of Claimant Ilija Matusko filed byIlija Matukso. (Attachments: # 1 Declaration of Tom
                 Westermann in support thereof, # 2 Declaration of Ilija Matusko in support thereof, # 3 Declaration of Alexander Kugelman in support
                 thereof, # 4 Declaration of Christopher Wajda in support thereof, # 5 Exhibit 1 to Declaration of Christopher Wajda, # 6 Exhibit 2 to
                 Declaration of Christopher Wajda, # 7 Exhibit 3 to Declaration of Christopher Wajda, # 8 Exhibit 4 to Declaration of Christopher Wajda, #
                 9 Exhibit 5 to Declaration of Christopher Wajda, # 10 Certificate of Service)(Kugelman, Alexander) (Filed on 8/26/2021) Modified on
                 8/27/2021 (mclS, COURT STAFF). Modified on 8/31/2021 (clS, COURT STAFF). (Entered: 08/26/2021)
09/02/2021   101 CLERK'S NOTICE Continuing Motion Hearing as to 90 MOTION to Strike.Motion Hearing previously set for 9/9/2021 is continued to
                 9/30/2021 01:30 PM in San Francisco, - Videoconference Only before Judge Richard Seeborg. (This is a text-only entry generated by the
                 court. There is no document associated with this entry.) (Related documents(s) 90 )(clS, COURT STAFF) (Filed on 9/2/2021) (Entered:
                 09/02/2021)
09/09/2021   102 REPLY (re 95 MOTION to Strike 87 Claim (Notice of Motion and Motion to Strike the Verified Claim of Claimant Ilija Matusko) ) United
                 States' Reply in Support of Motion to Strike the Verified Claim of Claimant Ilija Matusko filed byUnited States of America. (Attachments:
                 # 1 Declaration Declaration of Claudia Quiroz in Support of United States' Reply in Support of Motion to Strike the Verified Claim of Ilija
                 Matusko, # 2 Declaration Declaration of Jeremiah Haynie in Support of United States' Reply in Support of Motion to Strike the Verified
                 Claim of Ilija Matusko)(Quiroz, Claudia) (Filed on 9/9/2021) (Entered: 09/09/2021)
09/27/2021   103 CLERK'S NOTICE THE MOTIONS TO STRIKE [#90, #95] SCHEDULED FOR HEARING ON SEPTEMBER 30, 2021 AT 1:30 P.M.
                 SHALL BE SUBMITTED WITHOUT ORAL ARGUMENT PURSUANT TO CIVIL LOCAL RULE 7-1(b). ACCORDINGLY, THE
                 MOTION HEARING IS VACATED. (This is a text-only entry generated by the court. There is no document associated with this entry.)
                 (clS, COURT STAFF) (Filed on 9/27/2021) (Entered: 09/27/2021)
03/25/2022   104 ORDER denying 67 Motion for Direct Access and Intervention; granting 73 Administrative Motion to File Under Seal; granting
                 69 Motion to Strike Claimant Roman Hossain's Claim, granting 90 Motion to Strike the Claims of Claimants Battle Born
                 Investments Company, LLC, First 100, LLC; granting 95 MOTION to Strike Verified Claim of Claimant Ilija Matusko.(rslc1,
                 COURT STAFF) (Filed on 3/25/2022) (Entered: 03/25/2022)
04/04/2022   105 MOTION to Strike 43 Notice of Motion and Motion to Strike Claimant Lucas Buckley's and the Gox Victim Bitcoin Trust's Verified
                 Claim for Lack of Standing filed by United States of America. Motion Hearing set for 5/12/2022 01:30 PM in San Francisco, Courtroom
                 03, 17th Floor before Judge Richard Seeborg. Responses due by 4/18/2022. Replies due by 4/25/2022. (Attachments: # 1 Exhibit A, # 2
                 Proposed Order)(Kaltsas, Chris) (Filed on 4/4/2022) Modified on 4/5/2022 (cjl, COURT STAFF). (Entered: 04/04/2022)
04/05/2022   106 CLERK'S NOTICE Continuing Motion Hearing as to 105 MOTION to Strike. TO A DATE THE COURT IS AVAILABLE FOR
                 HEARING.

                   The filing party is reminded to review Judge Seeborg's Scheduling Notes section on his webpage for a list of available dates for
                   hearing.The change in hearing date does not impact the briefing schedule set at the filing of the motion.

                   Motion Hearing previously set for 5/12/2022 is continued to 5/19/2022 at 01:30 PM in San Francisco, - Videoconference Only before
                   Judge Richard Seeborg.

                   (cl, COURT STAFF) (Filed on 4/5/2022) (Entered: 04/05/2022)
04/06/2022   107 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by 1st One Hundred Holdings LLC, Battle Born Investments Company,
                 LLC, First 100 LLC. Appeal of Order on Motion to Intervene,, Order on Motion to Strike,, Order on Administrative Motion to File Under
                 Seal,,,,, 104 (Appeal fee of $505 receipt number ACANDC-17063308 paid.) (Attachments: # 1 Form 6 Representation Statement)
                 (Sahakyan Clifford, Mari) (Filed on 4/6/2022) (Entered: 04/06/2022)
04/07/2022   108 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Ilija Matukso. Appeal of Order on Motion to Intervene,, Order on
                 Motion to Strike,, Order on Administrative Motion to File Under Seal,,,,, 104 (Appeal fee of $505 receipt number ACANDC-17067412
                 paid.) (Attachments: # 1 Supplement Form 6 Representation Statement)(Johnson, Alexander) (Filed on 4/7/2022) (Entered: 04/07/2022)
                                                                   ER-760
                Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 147 of 148
04/08/2022   109 USCA Case Number 22-15514 Ninth Circuit Court of Appeals for 108 Notice of Appeal to the Ninth Circuit, filed by Ilija Matukso. (cjl,
                 COURT STAFF) (Filed on 4/8/2022) (Entered: 04/11/2022)
04/08/2022   110 USCA Case Number 22-15513 Ninth Circuit Court of Appeals for 107 Notice of Appeal to the Ninth Circuit, filed by 1st One Hundred
                 Holdings LLC, First 100 LLC, Battle Born Investments Company, LLC. (cjl, COURT STAFF) (Filed on 4/8/2022) (Entered: 04/11/2022)
04/15/2022   111 STIPULATION WITH PROPOSED ORDER re 105 MOTION to Strike 43 Notice of Motion and Motion to Strike Claimant Lucas
                 Buckley's and the Gox Victim Bitcoin Trust's Verified Claim for Lack of Standing filed by Lucas E Buckley, United States of America.
                 (Boyd, Kathryn) (Filed on 4/15/2022) Modified on 4/15/2022 (cjl, COURT STAFF). (Entered: 04/15/2022)
04/18/2022   112 ORDER by Judge Richard Seeborg GRANTING 111 STIPULATION AND ORDER TO CONTINUE HEARING DATE AND
                 EXTEND TIME TO RESPOND TO MOTION TO STRIKE THE VERIFIED CLAIM OF LUCAS E. BUCKLEY FOR LACK
                 OF STANDING. (cl, COURT STAFF) (Filed on 4/18/2022) (Entered: 04/18/2022)
04/18/2022        Reset as to 105 MOTION to Strike 43 Notice of Motion and Motion to Strike Claimant Lucas Buckley's and the Gox Victim Bitcoin
                  Trust's Verified Claim for Lack of Standing. Motion Hearing previously set for 5/19/2022 is continued to 6/9/2022 at 01:30 PM in San
                  Francisco, - Videoconference Only before Judge Richard Seeborg. (cl, COURT STAFF) (Filed on 4/18/2022) (Entered: 04/18/2022)
05/02/2022   113 MOTION for Entry of Judgment under Rule 54(b) filed by 1st One Hundred Holdings LLC, Battle Born Investments Company, LLC,
                 First 100 LLC. Motion Hearing set for 6/9/2022 01:30 PM in San Francisco, Courtroom 03, 17th Floor before Judge Richard Seeborg.
                 Responses due by 5/16/2022. Replies due by 5/23/2022. (Attachments: # 1 Proposed Order)(Sahakyan Clifford, Mari) (Filed on 5/2/2022)
                 (Entered: 05/02/2022)
05/03/2022   114 NOTICE of Appearance by Sarah Elizabeth Peterson (Peterson, Sarah) (Filed on 5/3/2022) (Entered: 05/03/2022)
05/04/2022   115 First MOTION for Entry of Judgment under Rule 54(b) filed by Ilija Matukso. Motion Hearing set for 6/9/2022 01:30 PM before Judge
                 Richard Seeborg. Responses due by 5/25/2022. Replies due by 6/1/2022. (Attachments: # 1 Proposed Order)(Kugelman, Alexander) (Filed
                 on 5/4/2022) (Entered: 05/04/2022)
05/06/2022   116 OPPOSITION/RESPONSE (re 105 MOTION to Strike 43 Notice of Motion and Motion to Strike Claimant Lucas Buckley's and the Gox
                 Victim Bitcoin Trust's Verified Claim for Lack of Standing ) filed byLucas E Buckley. (Attachments: # 1 Declaration Declaration of
                 Richard A. Sanders, # 2 Proposed Order)(Price, Maxim) (Filed on 5/6/2022) (Entered: 05/06/2022)
05/16/2022   117 OPPOSITION/RESPONSE (re 115 First MOTION for Entry of Judgment under Rule 54(b), 113 MOTION for Entry of Judgment under
                 Rule 54(b)) filed by United States of America. (Countryman, David) (Filed on 5/16/2022) Modified on 5/20/2022 (kkp, COURT STAFF).
                 (Entered: 05/16/2022)
05/23/2022   118 REPLY (re 113 MOTION for Entry of Judgment under Rule 54(b) ) filed by1st One Hundred Holdings LLC, Battle Born Investments
                 Company, LLC, First 100 LLC. (Morgan, Rees) (Filed on 5/23/2022) (Entered: 05/23/2022)
05/26/2022   119 CLERK'S NOTICE: MOTIONS [#105,#113,#115] SCHEDULED FOR HEARING ON JUNE 9, 2022 AT 1:30 P.M. SHALL BE
                 SUBMITTED WITHOUT ORAL ARGUMENT PURSUANT TO CIVIL LOCAL RULE 7-1(b). ACCORDINGLY, THE MOTION
                 HEARING IS VACATED. (This is a text-only entry generated by the court. There is no document associated with this entry.) (cl, COURT
                 STAFF) (Filed on 5/26/2022) (Entered: 05/26/2022)
06/03/2022   120 REPLY in Support of (re 105 MOTION to Strike, 43 Notice of Motion and Motion to Strike Claimant Lucas Buckley's and the Gox
                 Victim Bitcoin Trust's Verified Claim for Lack of Standing) filed by United States of America. (Attachments: # 1 Declaration)(Kaltsas,
                 Chris) (Filed on 6/3/2022) Modified on 6/3/2022 (kkp, COURT STAFF). (Entered: 06/03/2022)
06/07/2022   121 First MOTION for Leave to File Motion for Reconsideration of Order Striking Mr. Hossain's Claim filed by Roman Hossain. (Almadani,
                 Yasin) (Filed on 6/7/2022) Modified on 6/7/2022 (kkp, COURT STAFF). (Entered: 06/07/2022)
07/14/2022   122 ORDER by Judge Seeborg GRANTING 105 MOTION TO STRIKE BUCKLEY CLAIM, DENYING 121 MOTION FOR LEAVE
                 TO SEEK RECONSIDERATION OF ORDER STRIKING HOSSEIN CLAIM, AND DENYING MOTIONS 113 115 TO ENTER
                 SEPARATE JUDGMENTS. (rslc1, COURT STAFF) (Filed on 7/14/2022) (Entered: 07/14/2022)
07/20/2022   123 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Roman Hossain. Appeal of Order on Motion to Strike, Order on
                 Motion for Entry of Judgment under Rule 54(b), Order on Motion for Leave to File, 122 , Order on Motion to Intervene,, Order on Motion
                 to Strike, Order on Administrative Motion to File Under Seal, 104 (Appeal fee of $505 receipt number ACANDC-17367241 paid.)
                 (Almadani, Yasin) (Filed on 7/20/2022) Modified on 7/21/2022 (kkp, COURT STAFF). (Entered: 07/20/2022)
07/22/2022   124 USCA Case Number 22-16085 for the Ninth Circuit for 123 Notice of Appeal to the Ninth Circuit filed by Roman Hossain. (kkp, COURT
                 STAFF) (Filed on 7/22/2022) (Entered: 07/25/2022)
08/12/2022   125 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Lucas E Buckley. Appeal of Order on Motion to Strike, Order on
                 Motion for Entry of Judgment under Rule 54(b), Order on Motion for Leave to File, 122 (Appeal fee of $505 receipt number ACANDC-
                 17437042 paid.) (Price, Maxim) (Filed on 8/12/2022) Modified on 8/15/2022 (kkp, COURT STAFF). (Entered: 08/12/2022)
08/15/2022   126 Proposed Judgment and Order of Forfeiture by United States of America. (Countryman, David) (Filed on 8/15/2022) Modified on
                 8/15/2022 (kkp, COURT STAFF). (Entered: 08/15/2022)
08/16/2022   127 JUDGMENT AND ORDER OF FORFEITURE. ***Civil Case Terminated.Signed by Chief Judge Richard Seeborg on 8/16/2022.
                 (cl, COURT STAFF) (Filed on 8/16/2022) (Entered: 08/16/2022)
09/07/2022   128 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by 1st One Hundred Holdings LLC, Battle Born Investments Company,
                 LLC, First 100 LLC. Appeal of Judgment, Terminated Case 127 (Appeal fee of $505 receipt number ACANDC-17512673 paid.) (Roman,
                 Stanley) (Filed on 9/7/2022) (Entered: 09/07/2022)
09/07/2022   129 NOTICE OF APPEAL to the 9th Circuit Court of Appeals filed by Ilija Matukso. Appeal of Judgment, Terminated Case 127 (Appeal fee
                 of $505 receipt number ACANDC-17514170 paid.) (Johnson, Alexander) (Filed on 9/7/2022) (Entered: 09/07/2022)
09/08/2022   130 USCA Case Number 22-16348 For the Ninth Circuit for 128 Notice of Appeal to the Ninth Circuit, filed by 1st One Hundred Holdings
                 LLC, First 100 LLC, Battle Born Investments Company, LLC. (kkp, COURT STAFF) (Filed on 9/8/2022) (Entered: 09/08/2022)
09/08/2022   131 USCA Case Number 22-16349 For the Ninth Circuit for 129 Notice of Appeal to the Ninth Circuit filed by Ilija Matukso. (kkp, COURT
                 STAFF) (Filed on 9/8/2022) (Entered: 09/08/2022)
                                                                  ER-761
                Case: 22-15514, 11/09/2022, ID: 12583990, DktEntry: 19-5, Page 148 of 148
09/23/2022   132 STIPULATION WITH PROPOSED ORDER re 127 Judgment, Terminated Case, 128 Notice of Appeal to the Ninth Circuit, TO STAY
                 EXECUTION OF JUDGMENT PENDING APPEAL filed by 1st One Hundred Holdings LLC, Battle Born Investments Company, LLC,
                 First 100 LLC, Roman Hossain, Lucas E Buckley and Ilija Matukso. (Roman, Stanley) (Filed on 9/23/2022) Modified on 9/26/2022 (kkp,
                 COURT STAFF). (Entered: 09/23/2022)
09/26/2022   133 ORDER by Chief Judge Richard Seeborg GRANTING 132 STIPULATION TO STAY EXECUTION OF JUDGMENT PENDING
                 APPEAL. (cl, COURT STAFF) (Filed on 9/26/2022) (Entered: 09/26/2022)



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